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   12
   13                      UNITED STATES DISTRICT COURT
   14        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   15
   16 SHAWN CARTER, also known as             Case No. 2:21-cv-04848-PA-KS
      JAY-Z, an individual,
   17                                         PLAINTIFF’S MOTION IN LIMINE
                   Plaintiff,                 NO. 2 (TO EXCLUDE TESTIMONY
   18                                         FROM JEFFREY SEDLIK);
            v.                                DECLARATION OF DYLAN C.
   19                                         BONFIGLI
      JONATHAN MANNION, an
   20 individual, and JONATHAN                The Honorable Percy Anderson
      MANNION PHOTOGRAPHY LLC, a
   21 New York limited liability company,     Date:      July 11, 2022
                                              Time:      1:30 p.m.
   22              Defendants.                Courtroom: 9A
   23                                         Trial Date: July 19, 2022
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                                                                Case No. 2:21-cv-04848-PA-KS
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    1        TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD
    2        PLEASE TAKE NOTICE that on July 11, 2022, at 1:30 p.m. or as soon as the
    3 matter may be heard, in Courtroom 9A of the above-titled Court, located at 350 W.
    4 1st Street, Los Angeles, California 90012, Plaintiff Shawn Carter will, and hereby
    5 does, move in limine for an order excluding the opinions of Defendants’ expert,
    6 Jeffrey Sedlik. This motion is based on the grounds that Mr. Sedlik’s opinions are
    7 not relevant, see Fed. R. Evid. 401, 402, and, if presented, they will likely cause
    8 unfair prejudice to Plaintiff, confuse the issues, mislead the jury, and waste trial
    9 time. See Fed. R. Evid. 403. Additionally, Mr. Sedlik’s opinions do not satisfy the
   10 requirements of Rule 702 of the Federal Rules of Evidence and Daubert v. Merrell
   11 Dow Pharm., Inc., 509 U.S. 579, 589 (1993).
   12        This motion is based on this notice; the memorandum of points and
   13 authorities; the declaration of Dylan C. Bonfigli; all pleadings, records, and papers
   14 on file in this action; such other matters of which this Court may take judicial
   15 notice; and upon such other evidence and oral argument as may be considered by the
   16 Court before or at the hearing on this application.
   17        The evidence subject to this motion includes: JX-140 and JX-141.
   18        This motion is made following a conference of counsel pursuant to Local
   19 Rule 7-3 and Section II.B of this Court’s Civil Trial Scheduling Order (ECF No.
   20 52), which took place on May 20, 2022.
   21 DATED: June 17, 2022                   QUINN EMANUEL URQUHART
                                                 & SULLIVAN, LLP
   22
   23
                                             By /s/ Robert M. Schwartz
   24
                                                Alex Spiro (pro hac vice)
   25                                           Robert M. Schwartz
                                                Cory D. Struble
   26
                                                Dylan C. Bonfigli
   27                                           Attorneys for Plaintiff
   28
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    1 I.      PRELIMINARY STATEMENT
    2         Plaintiff Shawn Carter, p/k/a Jay-Z, moves to exclude Defendants’ witness,
    3 Jeffrey Sedlik, from testifying as an expert. Sedlik teaches photography. He
    4 proposes to offer testimony that “Mannion made countless subjective creative
    5 decisions” that resulted in “creative photographs.” (Report [Bonfigli Dec. Ex. B] at
    6 18-22.) True or not, any decisions that Mannion made in taking photographs, and
    7 whether they were “creative,” is irrelevant to his “transformative use” defense or
    8 any other claim or defense.
    9         In fact, Sedlik’s opinion is precisely the type of improper witness-
   10 bolstering—i.e., parroting back what a fact witness said, with the aim of putting an
   11 “expert” label on it—for which his testimony has been excluded in the past.
   12 Sedlik’s opinion simply adopts Mannion’s narrative as true and gives it the
   13 imprimatur of expert testimony without further validation or application of scientific
   14 or any other methodology. His report discloses no investigation, testing, or anything
   15 else beyond pointing out non-scientific, non-expert (irrelevant) statements about
   16 Mannion’s photographs. None of this meets the Daubert standards. The Court
   17 should exclude that testimony.
   18         The Court should also exclude Sedlik’s remaining opinions. They are
   19 irrelevant statements about industry customs that have no bearing on this case. For
   20 example, he proposes to testify that it is customary for photographers to sell copies
   21 of photographs without obtaining permission from the persons depicted in the
   22 photos. These opinions would prejudice Jay-Z by suggesting that the fact-finder
   23 decide the case on an improper basis, such as that Defendants’ actions were
   24 permissible because they were consistent with the practices of other lawbreakers.
   25 Just as it is no defense to a speeding ticket to say that others were speeding, it is no
   26 defense to infringement of name, image, and likeness rights to say that others act
   27 with the same contempt for those rights.
   28
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    1 II.     SEDLIK’S OPINION THAT MANNION MADE “CREATIVE
    2         DECISIONS” IS IRRELEVANT AND IMPROPER
    3         Only relevant evidence is admissible. Fed. R. Evid. 401, 402. Expert
    4 testimony should be excluded also when the fact-finder “is in as good a position as
    5 the expert to draw conclusions from the evidence, and is capable of drawing its own
    6 inferences.” Huawei Techs., Co. v. Samsung Elecs. Co., 340 F. Supp. 3d 934, 992
    7 (N.D. Cal. 2018).
    8         Sedlik’s primary opinion is that Mannion contributed “original authorship and
    9 expression” to the photos of Jay-Z that Mannion took. (Report [Bonfigli Dec. Ex.
   10 B] at 19.) To reach this decision, he “started with a list” of creative decisions that
   11 all photographers make and then “asked Mr. Mannion whether or not he did these
   12 things and if he had anything to add.” (Sedlik Tr. [Bonfigli Dec. Ex. A] at 149:5-17,
   13 152:10-22.)
   14         Based on Mannion’s responses, Sedlik’s report recites a boilerplate list of
   15 “examples of original authorship [Mannion] exercised,” such as that he “arranged
   16 wardrobe, props, accessories,” “creatively applied exposure,” “creatively selected
   17 the lens focal length,” and “creatively and dynamically selected the position of the
   18 camera for each scene, for desired effect.” (Report [Bonfigli Dec. Ex. B] at 18-19.)
   19 Sedlik admitted, however, that he “did not separately validate with other parties or
   20 other sources that Mr. Mannion actually did the things that he claimed to do.”
   21 (Sedlik Tr. [Bonfigli Dec. Ex. A] at 157:21-158:18.)
   22         Sedlik’s opinion that Mannion “made countless subjective creative decisions”
   23 and that “the expression embodied in the Photographs … is in great measure the
   24 result of Mr. Mannion’s creative vision” is not relevant. (Report [Bonfigli Dec. Ex.
   25 B] at 18-22.) Mannion’s transformative use defense can be resolved “simply by
   26 viewing the work in question and, if necessary, comparing it to an actual likeness of
   27 the person or persons portrayed.” Winter v. DC Comics, 30 Cal. 4th 881, 891-92
   28 (2003).
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    1          That is particularly true here given that the photographs at issue, by
    2 Mannion’s own admission, are literal depictions of Jay-Z as he appeared when he
    3 stood in front of Mannion’s camera. (Mannion Tr. [Bonfigli Dec. Ex. E] at 196:20-
    4 197:3, 197:24-198:13, 209:12-23, 215:3-18); cf. Comedy III Prods., Inc. v. Gary
    5 Saderup, Inc., 25 Cal. 4th 387, 405 (2001) (“When artistic expression takes the form
    6 of a literal depiction or imitation of a celebrity for commercial gain, directly
    7 trespassing on the right of publicity without adding significant expression beyond
    8 that trespass, the state law interest in protecting the fruits of artistic labor outweighs
    9 the expressive interests of the imitative artist.”); No Doubt v. Activision Publ’g, Inc.,
   10 192 Cal. App. 4th 1018, 1030 (2011) (rejecting transformative use defense when
   11 video game did not “transform the avatars [of band members] into anything other
   12 than exact depictions of [the band members] doing exactly what they do as
   13 celebrities”). Thus, Sedlik’s opinions about the “subjective creative decisions”
   14 made by Mannion leading up to taking photographs of Jay-Z are not relevant to his
   15 transformative use defense or any other issue.
   16          Sedlik’s opinion is doubly impermissible because it is also improper expert
   17 bolstering of witness testimony for which courts have excluded his opinion in the
   18 past.1 An expert “may not restate or summarize record evidence and then state a
   19 conclusion without applying a methodology that is reliable and which evinces
   20 his/her expertise.” Siqueiros v. General Motors LLC, 2022 WL 74182, at *9–10
   21 (N.D. Cal. Jan. 7, 2022). In other words, an expert may not merely “parrot” or
   22 “regurgitate information given to him by other sources.” Dep’t of Toxic Substances
   23
   24   1 See Brittney Gobble Photography, LLC v. Sinclair Broad. Grp., Inc., 2021 WL 5359671,
        at *9 (D. Md. Nov. 17, 2021) (excluding Sedlik’s opinions because he merely “parrot[ed]
   25   [plaintiff’s] arguments” in an attempt to “lend them the imprimatur of expert testimony”);
   26   Navarro v. Procter & Gamble Co., 2021 WL 868586, at *10 (S.D. Ohio Mar. 8, 2021)
        (excluding Sedlik’s “opinion on fraud damages” because it “amount[ed] to little more than
   27   parroting back [plaintiff’s] own estimates, coupled with his stamp of approval, with no clear
   28   basis for explaining why that stamp was warranted”).
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    1 Control v. Technichem, Inc., 2016 WL 1029463, at *1 (N.D. Cal. Mar. 15, 2016).
    2 That type of testimony “does not aid [the fact-finder’s] understanding of the facts
    3 beyond what they can glean” from the expert’s sources, and the expert’s “‘opinions’
    4 do nothing more than lend the special aura of credibility associated with expert
    5 testimony to” the person whose testimony the expert parrots. Sanchez v. Jiles, 2012
    6 WL 13005996, at *32-35 (C.D. Cal. June 14, 2012).
    7         Sedlik admitted at his deposition that he adopted Mannion’s narrative about
    8 the creative choices he made in taking the photographs and that he did nothing to
    9 validate that narrative. (Sedlik Tr. [Bonfigli Dec. Ex. A] at 152:10-22; 157:21-
   10 158:18.) Then, based solely on Mannion’s say-so, Sedlik opines that “the
   11 expression embodied in the Photographs—and the value represented in the
   12 Photographs—is in great measure the result of Mr. Mannion’s creative vision, his
   13 subjective decisions made in the course of authoring the Photographs, and his ability
   14 and intent to express his personal views and perspective on Mr. Carter and hip-hop
   15 culture.” (Report [Bonfigli Dec. Ex. B] at 23.) That is improper bolstering, and
   16 Sedlik has plainly not “appli[ed] a methodology that is reliable and which evinces
   17 his[] expertise.” Siqueiros, 2022 WL 74182, at *9–10.
   18         Relatedly, Sedlik’s opinion lacks foundation because it does not consider all
   19 the relevant facts. For instance, Sedlik opined that Mannion was the one who
   20 picked out the “wardrobe, props, accessories” (Report [Bonfigli Dec. Ex. B] at 19),
   21 ignoring testimony that it was actually Plaintiff and his team who did so (see, e.g.,
   22 Burke Tr. [Bonfigli Dec. Ex. D] at 12:15-13:6, 13:12-14:25, 16:3-24). Yet Sedlik
   23 inexplicably credits Mannion with this “creative choice” based on Mannion’s word
   24 and without any validation. Sedlik’s testimony will serve only to add an
   25 unwarranted imprimatur of an expert to Mannion’s version of events.
   26 III.    SEDLIK’S OTHER OPINIONS ARE EQUALLY IRRELEVANT
   27         Sedlik offers many other opinions that are not relevant or are impermissible
   28 legal opinions. These include opinions that: (1) “[p]hotographers typically retain
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    1 copyright ownership of the copyrights in the photographs they create” (Report
    2 [Bonfigli Dec. Ex. B] at 25); (2) “compensation derived by photographers for the
    3 creation of a photograph … is typically insufficient to operate a sustainable
    4 business” (id. at 27); (3) “Mr. Mannion generates revenue from photography
    5 assignments and secondary/derivative markets” (id. at 30); (4) “Mr. Carter exploited
    6 and continues to exploit Mr. Mannion’s Photographs and copyrights” (id. at 31); (5)
    7 “[p]hotographers leverage diverse conduits to distribute and display their
    8 photographs to the public” (id. at 33); (6) “photographers typically display, offer and
    9 sell fine art prints, and publish photographs to websites and social media platforms,
   10 without obtaining model releases from celebrities or other persons depicted in
   11 photographs” (id. at 35); (7) “[p]hotographers typically license limited rights to their
   12 clients in the music industry” (id. at 37); and “[t]he photographs would not exist
   13 without Mr. Mannion, his creative visions and original expression” (Rebuttal Report
   14 [Bonfigli Dec. Ex. C] at 8).
   15         These opinions have no bearing on any of the claims or defenses in this case.
   16 Opinions about these customs and practices in the photography industry and how
   17 photographers make money do not “tend to prove” any of Defendants’ affirmative
   18 defenses. Nor are the opinions relevant to Jay-Z’s right-of-publicity claims. Rather,
   19 these opinions would merely confuse the fact-finder by “suggest[ing] [a] decision on
   20 an improper basis,” Shuler v. City of L.A., 849 F. App’x 671, 673 (9th Cir. 2021),
   21 such as that Defendants’ actions were permissible because photographers
   22 “typically … sell fine art prints without obtaining model releases.” Whether that is
   23 true, it has nothing to do with the issues that the factfinder will decide in this case.
   24 “[I]ndustry custom is irrelevant, given that it cannot make legal that which is
   25 illegal.” ITN Flix, LLC v. Hinojosa, 686 F. App’x 441, 444 (9th Cir. 2017).
   26 IV.     CONCLUSION
   27         The Court should exclude the opinions of Jeffrey Sedlik.
   28
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    1                            DEFENDANTS’ OPPOSITION
    2 I.      INTRODUCTION
    3         Jeffrey Sedlik is a well-respected professional and instructor in the field of
    4 photography. Plaintiff’s attempts to exclude Professor Sedlik’s testimony from trial
    5 fail on all accounts.
    6         First, Plaintiff cannot exclude Professor Sedlik from testifying as to
    7 Defendant Jonathan Mannion’s creative contributions to the photographs at issue.
    8 This testimony is clearly relevant to Defendants’ First Amendment defense.
    9 Plaintiff’s argument that such testimony is irrelevant because this defense is legally
   10 defective is an improper attempt to seek a dispositive ruling by way of a motion in
   11 limine. Nor can Plaintiff demonstrate that this testimony is improper “bolstering”—
   12 Professor Sedlik is not regurgitating facts, but supplying a well-informed analysis.
   13         Second, Professor Sedlik must be permitted to testify as to photography
   14 industry customs and practices. As explained below, such testimony is relevant both
   15 as rebuttal to Plaintiff’s proffered expert testimony purportedly about photography,
   16 and also to show Plaintiff’s awareness of Defendant’s conduct in question, which
   17 goes to elements of both Plaintiff’s claims and Defendant’s affirmative defenses.
   18         Accordingly, Plaintiff’s motion should be denied in its entirety.
   19 II.     RELEVANT BACKGROUND
   20         Plaintiff asserts claims arising from Defendant Jonathan Mannion
   21 Photography LLC’s (“JMP”) use of eight photographs shot by Defendant Jonathan
   22 Mannion (“Mannion”) and featuring Plaintiff (the “Photographs”). First Amended
   23 Complaint (“FAC”) at ¶ 20-21; PTCO § VI.A.
   24         Professor Jeffrey Sedlik is an expert in the field of professional photography.
   25 Declaration of Dylan Bonfigli (“Bonfigli Decl.”) Ex. B at 2-8. On March, 14, 2022,
   26 Professor Sedlik submitted a preliminary expert report offering his opinion, inter
   27 alia, as to Defendant Mannion’s “original expression” in the Photographs and
   28 general industry practices. Id. at 18-38. On March 31, 2022, Professor Sedlik
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    1 submitted a rebuttal expert report, in which Professor Sedlik rebutted certain
    2 opinions proffered by Plaintiff’s designated expert, Meghan Mahn Miller. Id. Ex. C.
    3 Professor Sedlik has been designated to testify at the trial in this matter for both
    4 Defendants’ case-in-chief, and to rebut the testimony of Ms. Miller, if necessary.
    5 Declaration of Lika Miyake (“Miyake Decl.”) Ex. P (Witness List).
    6 III.    ARGUMENT
    7         A.    Plaintiff Does Not Dispute Professor Sedlik’s Expert Qualifications
    8         “[A] witness qualified as an expert by knowledge, skill, experience may
    9 testify as to his specialized knowledge if it will assist the trier of fact to understand
   10 the evidence or determine a fact in issue.” United States v. Rogers, 769 F.2d 1418,
   11 1425 (9th Cir. 1985). Plaintiff’s motion in limine raises no dispute whatsoever with
   12 respect to Professor Sedlik’s “knowledge, skill, [and] experience.” Professor Sedlik
   13 has been an internationally recognized advertising photographer and commercial
   14 director for more than 30 years. Bonfigli Decl. Ex B (Preliminary Expert Report) at
   15 2-8. Professor Sedlik also has more than 35 years of experience in the field of
   16 professional music photography in particular. Id.
   17         Not once in his motion does Plaintiff argue that this ample experience does
   18 not qualify Professor Sedlik to testify as an expert in this matter. Not only does
   19 Plaintiff raise no general objection to Professor Sedlik’s qualifications, he also does
   20 not object to Professor’s Sedlik qualifications to opine upon the specific topics that
   21 are the subject of his expert opinion—e.g., Defendant Mannion’s creative
   22 contributions, general industry practices, etc. Plaintiff is now foreclosed from
   23 raising any such objections in reply to this motion in limine.
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                                                   -7-                   Case No. 2:21-cv-04848-PA-KS
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    1         B.    Professor Sedlik May Properly Testify as to Mannion’s Creativity,
    2               Authorship, and Expression in the Photographs
    3               1.     Plaintiff’s Motion Improperly Seeks Determination of Legal
    4                      Claims and Defenses
    5         Plaintiff first argues that Professor Sedlik’s report is “irrelevant” because
    6 Defendants’ First Amendment transformative use defense can be resolved on the
    7 face of the Photographs. Mot. at 2:22-3:15. While thus implicitly acknowledging
    8 the logical link between Professor Sedlik’s opinion and Defendants’ First
    9 Amendment defense, Plaintiff nevertheless argues that Professor Sedlik’s testimony
   10 is still irrelevant because a factfinder can make the legal determination that the First
   11 Amendment defense does not apply—and thus, no further evidence on the issue is
   12 needed. This is wholly improper.
   13         As the Court clearly states in its Civil Trial Scheduling Order, the purpose of
   14 a motion in limine is “limited to alerting the Court to significant evidentiary issues
   15 that can be addressed and resolved prior to trial.” CTSO at 8:2-4. “Motions in
   16 limine are not to be used as disguised motions for summary judgment.” Id.; see also
   17 Bakst v. Cmty. Mem'l Health Sys., Inc., No. CV0908241MMMFFMX, 2011 WL
   18 13214315, at *3 (C.D. Cal. Mar. 7, 2011) (“A motion in limine is not a proper
   19 vehicle by which to seek summary judgment on all or a portion of a claim”).
   20 Although brought as a motion in limine, Plaintiff’s motion relies on authority
   21 establishing that a court can assess transformativeness based on the works in
   22 question alone (i.e., by examining the Photographs), as a summary matter. Mot.
   23 2:22-8 (quoting Winter). While Defendants agree that courts could rule on
   24 transformativeness at summary judgment, that is not a basis to limit the evidence
   25 that reaches whatever factfinder is tasked with resolving this issue.
   26         Further, Plaintiff contends that the Photographs are mere “literal depictions”
   27 (Mot. 3) and thus that testimony beyond the Photographs themselves is insufficient
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                                                  -8-                   Case No. 2:21-cv-04848-PA-KS
                                                                    PLAINTIFF ’S M OTION I N LIMINE NO. 2
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    1 to establish that the Photographs are transformative.2 Asking the Court to either
    2 assume or determine that the Photographs are mere “literal depictions” goes to the
    3 ultimate question of transformativeness and effectively asks the Court to rule on this
    4 issue of law. This is improper. Elliott v. Versa CIC, L.P., 349 F. Supp. 3d 1000,
    5 1002 (S.D. Cal. 2018) (a motion in limine “is not a proper vehicle for a party to ask
    6 the Court to weigh the sufficiency of the evidence to support a particular claim or
    7 defense, because [t]hat is the function of a motion for summary judgment, with its
    8 accompanying and crucial procedural safeguards”) (internal quotations omitted).
    9                 2.     Professor Sedlik’s Testimony Is Not Merely “Parroting,” But
   10                        Provides Valuable Insight for the Jury
   11          Plaintiff’s second argument is that Professor Sedlik’s testimony should be
   12 excluded because he is being used to “parrot” and improperly “bolster” Defendant
   13 Mannion’s own testimony. This argument is baseless—Professor Sedlik is applying
   14 his specialized expertise in order to assist the jury in contextualizing and
   15 understanding the significance of Defendant Mannion’s creative process.
   16          Professor Sedlik is in no way “regurgitating” facts provided to him by
   17 Defendant Mannion. Plaintiff’s blithe recitation of Professor Sedlik’s testimony
   18 completely belies the valuable analysis that Professor Sedlik has contributed. In
   19 fact, Professor Sedlik did not formulate his testimony by repeating information he
   20 learned from Mr. Mannion; his process was exactly the opposite. As Professor
   21 Sedlik explains, based upon his many years of experience in the field of professional
   22
   23   2 While the determination of Defendants’ First Amendment defense is thus not appropriate
   24   within the context this motion in limine, to be clear, Plaintiff is mistaken as to the state of
        the relevant law. Neither Comedy III Prods., Inc. v. Gary Saderup, Inc., 25 Cal. 4th 387,
   25   21 P.3d 797 (2001) (considering transformative use in the context of a charcoal drawing of
   26   the Three Stooges printed on t-shirts) nor No Doubt v. Activision Pub’g, Inc., 192 Cal.
        App. 4th 1018, 122 Cal. Rptr. 3d 397 (2011) (considering transformative use where music
   27   group No Doubt was depicted as avatars in video game) involves photography. Neither is
   28   dispositive even if Plaintiff characterizes the Photographs as “literal depictions.”
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    1 photography—which experience, again, Plaintiff has not disputed—Professor Sedlik
    2 analyzed the Photographs and was able to identify a number of “common universal
    3 steps to the process of the artistry of a photographer in adding meaning to
    4 somebody’s likeness through their creative steps.” Miyake Decl. Ex. Q at 151:4-7.
    5 Professor Sedlik then confirmed with Defendant Mannion that he followed those
    6 steps, and how. Id. at 152:19-22. Based upon this information, Professor Sedlik
    7 concluded that Defendant Mannion had made significant contributions of original
    8 authorship to the Photographs. Bonfigli Decl. Ex. B. at 18-24. Thus, Professor
    9 Sedlik is not simply a mouthpiece for Defendant Mannion. Rather, Professor
   10 Sedlik’s testimony provides valuable context for the jury to understand the
   11 significance and extent of Defendant Mannion’s creativity. The lay factfinder
   12 would likely have no awareness of the multiple creative decisions that
   13 photographers make, such as “Color Control,” “Texture Control,” “Lens Focal
   14 Length,” and “Shift Tilt,” and simply take for granted much of the authorship
   15 exercised by Defendant Mannion. Professor Sedlik has the relevant expertise to
   16 name and explain such details to the jury so that they can more fully appreciate
   17 Defendant Mannion’s contribution to the Photographs. That is precisely the purpose
   18 of an expert witness—to assist the factfinder through specialized knowledge.
   19         Further, even though Mr. Mannion can also testify about specific technical
   20 choices he made and artistic elements he incorporated into his Photographs,
   21 Defendants are presenting this information to the jury through an expert, who can
   22 provide analysis and contextualization beyond the specific photographer and
   23 Photographs. Defendants will not present duplicative testimony and Defendants, not
   24 Plaintiff, are entitled to control Defendants’ case in chief and decide which witness
   25 will provide this testimony.
   26         This case is distinguishable from the authorities cited in Plaintiff’s brief. All
   27 of Plaintiff’s cases concern circumstances in which the nominal expert did not apply
   28 any methodology whatsoever. See, e.g., Siqueiros, et al., Plaintiffs, v. General
                                             -10-                   Case No. 2:21-cv-04848-PA-KS
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    1 Motors., No. 16-CV-07244-EMC, 2022 WL 74182, at *9 (N.D. Cal. Jan. 7, 2022)
    2 (improper expert testimony simply restated factual testimony); Dep’t of Toxic
    3 Substances Control v. Technichem, Inc., No. 12-CV-05845-VC, 2016 WL 1029463,
    4 at *1 (N.D. Cal. Mar. 15, 2016) (improper expert testimony simply “repeated the
    5 contents” of source materials); Sanchez v. Jiles, No. CV1009384MMMOPX, 2012
    6 WL 13005996, at *32 (C.D. Cal. June 14, 2012) (improper expert testimony simply
    7 repeated witness’s state of mind). As explained above, here, Professor Sedlik
    8 applied his methodology, namely, an analysis of Defendant Mannion’s creative
    9 contributions to the Photographs. Equally inapposite are Plaintiff’s citations to prior
   10 unrelated cases involving Professor Sedlik’s testimony. Professor Sedlik is not here
   11 to opine upon ultimate legal questions in dispute as in Brittney Gobble Photography,
   12 LLC v. Sinclair Broad. Grp., Inc., No. CV SAG-18-03384, 2021 WL 5359671, at *9
   13 (D. Md. Nov. 17, 2021), nor is he purporting to calculate fraud damages like in
   14 Navarro v. Procter & Gamble Co., No. 1:17-CV-406, 2021 WL 868586 (S.D. Ohio
   15 Mar. 8, 2021). Here, Professor Sedlik is “utiliz[ing] expert knowledge and reliable
   16 methods to offer observations beyond the scope of average lay observers.” Karol
   17 W. Corp. v. Smith News Co., Inc., No. CV1207695BROVBKX, 2013 WL 12084485
   18 (C.D. Cal. Aug. 23, 2013) (denying motion to exclude Sedlik’s expert testimony).
   19        Finally, Plaintiff is incorrect to argue that Professor Sedlik’s testimony is
   20 inadmissible bolstering because he did not consider “all the relevant facts”—
   21 meaning, in Plaintiff’s view, that he did not consider certain testimony stating
   22 persons other than Defendant Mannion may have at times been responsible for
   23 picking out “wardrobe, props, and accessories.” Mot. at 4:19-26. Professor Sedlik’s
   24 opinion assumes only that Defendant Mannion chose location, props and wardrobe
   25 for “certain shoots.” Bonfigli Decl. Ex. B. (Sedlik Report) at 19. Thus, Professor
   26 Sedlik already accounts for the fact that Defendant Mannion wasn’t always in
   27 charge of such decisions, and still, Professor Sedlik, based upon his experience and
   28 examination of the Photographs, deemed Mannion’s contribution to be sufficiently
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    1 creative. Miyake Decl. Ex. Q (Sedlik Depo. Tr.) 182:6-15 (testifying that he did not
    2 verify Defendant Mannion’s account of the photographs’ creation with third parties,
    3 but found it consistent with the aesthetics and styling of the photographs’
    4 appearance). If there are any issues as to the veracity of any particular facts upon
    5 which Professor Sedlik relied, this is not a basis to exclude his testimony. Rather,
    6 Plaintiff is welcome to question Professor Sedlik regarding any purported
    7 discrepancies during his cross-examination. Dykzeul v. Charter Commc'ns, Inc.,
    8 No. CV185826DSFGJSX, 2021 WL 4522545, at *8 (C.D. Cal. Feb. 3, 2021)
    9 (“weaknesses in the factual basis of an expert witness’ opinion ... bear on the weight
   10 of the evidence rather than on its admissibility)” quoting United States v. L.E. Cooke
   11 Co., 991 F.2d 336, 342 (6th Cir. 1993). The jury is well capable of hearing
   12 Professor Sedlik’s opinion and drawing their own conclusions as to the reliability of
   13 his foundation. There is no reason to withhold this testimony from them.
   14         C.     Professor Sedlik’s Testimony as to Industry Custom Is Relevant
   15         Lastly, Plaintiff argues that Professor Sedlik’s testimony regarding certain
   16 photography industry customs and practices is irrelevant as he alleges it does not
   17 “tend to prove” any claims or defenses. 3 The relevancy requirement as applied to
   18 expert testimony is a “low bar,” “demanding only that the evidence logically
   19 advances a material aspect of the proposing party's case.” Messick v. Novartis
   20 Pharms. Corp., 747 F.3d 1193, 1196 (9th Cir. 2014) (internal quotations omitted);
   21 see also Benson Tower Condo. Owners Ass'n v. Victaulic Co., 702 F. App'x 537,
   22
   23
        3 Plaintiff characterizes his argument as addressing “opinions [] about customs and
        practices in the photography industry and how photographers make money.” Mot. at 5:19-
   24   20. However, not all of the specific opinions which Plaintiff identifies appear to be about
        customs and practices—including foundational testimony such as that “Mr. Mannion
   25   generates revenue from photography assignments and secondary/derivative markets,” “Mr.
   26   Carter exploited and continues to exploit Mr. Mannion’s Photographs and copyrights,” and
        “the photographs would not exist without Mr. Mannion, his creative visions, and original
   27   expression,” Mot. at 5:7-16. It is unclear what Plaintiff’s dispute is with this testimony,
   28   and Defendants herein address only those arguments which have been decipherably raised.
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    1 541 (9th Cir. 2017); Primiano v. Cook, 598 F.3d 558, 565 (9th Cir. 2010) (“Reliable
    2 expert testimony need only be relevant, and need not establish every element that
    3 the plaintiff must prove, in order to be admissible.”). Professor Sedlik’s testimony
    4 as to industry custom and practice more than meets this standard.
    5         First, this testimony is relevant to rebut the testimony proffered by Plaintiff’s
    6 designated expert in the field of celebrity memorabilia, Megan Mahn Miller. Ms.
    7 Miller based her expert opinion upon the price of Defendants’ photographic prints at
    8 auction rather than prices offered through galleries because she claimed that fine-art
    9 galleries were not “transparent” in their pricing. Miyake Decl. Ex. R (Miller Expert
   10 Report) ¶ 24. In rebuttal, Professor Sedlik testified as to industry practices and
   11 customs in saying that, in general, photography prices at auction are significantly
   12 lower than those offered through fine-art galleries. Bonfigli Decl. Ex. C (Sedlik
   13 Rebuttal Report) at 19. He also pointed out that prices of prints by Mr. Mannion
   14 and his peers were readily available through gallery websites and the photographers’
   15 own websites. This testimony is relevant and helpful to the jury in their assessment
   16 of Ms. Miller’s testimony.
   17         This testimony is also relevant as it “logically advances a material aspect of
   18 [Defendants’] case.” Messick, 747 F.3d at 1196. Specifically, Professor Sedlik’s
   19 testimony that photographers “typically display, offer and sell fine art prints and
   20 publish photographs to websites and social media platforms, without obtaining
   21 model releases from celebrities or other persons depicted in the photographs” (Mot.
   22 5:11-14) shows that Defendant Mannion’s conduct was consistent with his peers.
   23 Contrary to Plaintiff’s characterization, Defendant does not argue that this industry
   24 custom itself renders Defendant Mannion’s conduct lawful. This evidence tends to
   25 show that Plaintiff had constructive notice that photographers openly and publicly
   26 sell photographs of Plaintiff. Midwest Television, Inc. v. Scott, Lancaster, Mills &
   27 Atha, Inc., 205 Cal. App. 3d 442, 451, 252 Cal. Rptr. 573, 579 (1988) (“The
   28 prevailing industry custom binds those engaged in the business even though there is
                                              -13-                 Case No. 2:21-cv-04848-PA-KS
                                                                    PLAINTIFF ’S M OTION I N LIMINE NO. 2
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    1 no specific proof that the particular party to the litigation knew of the custom”).
    2 Indeed, Desiree Perez, CEO of Plaintiff’s Company Roc Nation, testified that she
    3 was aware of various photographers displaying and selling photographs of Plaintiff
    4 without his permission. Miyake Decl. Ex. S (Perez Depo Tr.) 86:21-111:19. These
    5 facts and testimony are relevant to show Plaintiff’s constructive and actual notice of
    6 Defendants’ uses, and his subsequent inaction manifests implied consent thereto.
    7 Jones v. Corbis Corp., 815 F. Supp. 2d 1108, 1113 (C.D. Cal. 2011), aff’d, 489 F.
    8 App’x 155 (9th Cir. 2012). In addition, this testimony is relevant to laches because
    9 it shows that, despite the fact that he knew or should have known about the sale of
   10 photographs of him, Plaintiff unreasonably delayed in bringing suit. Danjaq LLC v.
   11 Sony Corp., 263 F.3d 942, 951 (9th Cir. 2001).
   12        D.     There Is No Basis Whatsoever for Exclusion of Rebuttal Testimony
   13        Finally, none of Plaintiff’s arguments, which virtually all pertain to relevance,
   14 apply to Professor Sedlik’s testimony in rebuttal to Ms. Miller, given that rebuttal
   15 testimony is intended only to “rebut evidence on the same subject matter identified
   16 by an initial expert witness.” Fed. R. Civ. P. 26(a)(2)(D), People v. Kinder Morgan
   17 Energy Partners, L.P., 159 F. Supp. 3d 1182, 1191 (S.D. Cal. 2016). Professor
   18 Sedlik should be permitted to testify for this reason alone.
   19 IV.    CONCLUSION
   20        For the foregoing reasons, Defendants respectfully request that Plaintiff’s
   21 motion to exclude Professor Sedlick’s opinion be denied in its entirety
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                                                                     PLAINTIFF ’S M OTION I N LIMINE NO. 2
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    1 DATED: June 17, 2022               WILLENKEN LLP
    2
    3                                    By /s/ Paul J. Loh
    4                                       Paul J. Loh
                                            Lika C. Miyake
    5                                       Kenneth M. Trujillo-Jamison
    6
                                             ROCKSTONE LEGAL
    7                                        Sarah Hsia (pro hac vice)
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                                             PAUL HASTINGS LLP
    9                                        Steven A. Marenberg
   10                                        Attorneys for Defendants

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    1                                     PLAINTIFF’S REPLY
    2           A.     Sedlik’s testimony is irrelevant and improper.
    3           Plaintiff showed that Sedlik’s opinion that “Mannion made countless
    4 subjective creative decisions,” resulting in “creative photographs,” is not relevant
    5 and serves to improperly bolster Mannion’s equally irrelevant testimony on this
    6 issue with the imprimatur of expert opinion. Supra at 2. As to relevance,
    7 Defendants’ “transformative use” defense can be resolved “simply by viewing the
    8 work in question and, if necessary, comparing it to an actual likeness of the person
    9 or persons portrayed.” Winter, 30 Cal. 4th at 891-92. The factfinder can look at the
   10 Jay-Z photos and determine whether Plaintiff’s likeness was “so transformed that it
   11 has become primarily [Mannion’s] own expression rather than [Plaintiff’s]
   12 likeness.” Comedy III, 25 Cal. 4th at 406. 4 Defendants cite no right-of-publicity
   13 case in which a photographer has been allowed to offer opinions like the ones Sedlik
   14 plans to offer. See supra at 8-12.
   15           Rather than address Plaintiff’s arguments, Defendants argue that this motion
   16 is tantamount to a dispositive motion on their “transformative use” defense. Supra
   17 at 8-9. But Plaintiff’s motion does not ask this Court to resolve the defense as
   18 matter of law. Rather, the motion seeks to exclude Sedlik’s opinion that “Mannion
   19 made countless subjective creative decisions” because that opinion has no bearing
   20 on the defense. Supra at 2. If the Court excludes that opinion, Defendants can still
   21 put on a “transformative use” defense at trial, as long as it addresses the factors
   22 deemed relevant under Comedy III and the other controlling cases.
   23
   24
        4   This is true whether or not the photos are characterized as “literal depictions,” supra at
   25 9, which Mannion admitted they are, Mannion Tr. [Bonfigli Dec. Ex. E] at 209:12-23. The
   26 Court need not decide that issue to exclude Sedlik, as Defendants suggest, supra at 9,
        because the issue for the factfinder is whether the photos themselves are transformative,
   27 not whether Mannion’s contributions are deemed “sufficiently creative” by another
   28 photographer, supra at 11-12.
                                                -16-                    Case No. 2:21-cv-04848-PA-KS
                                                                          PLAINTIFF ’S M OTION I N LIMINE NO. 2
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    1        Defendants’ opposition confirms that they want Sedlik to bolster Mannion’s
    2 testimony with irrelevant opinions. They admit “Mannion can also testify about
    3 specific technical choices he made and artistic elements that he incorporated into his
    4 Photographs,” but say they would rather “present[] this information to the jury
    5 through an expert, who can provide analysis and contextualization beyond the
    6 specific photographer.” Supra at 10. That is, Defendants want Sedlik to tell the jury
    7 about the “creative decisions” Mannion supposedly made and how those decisions
    8 resulted in photos embodying “Mannion’s creative vision.” Supra at 2. Defendants
    9 are not entitled to have a photography expert do so. Sedlik’s only purpose is to
   10 regurgitate Mannion’s statements from an interview to lend them “the special aura
   11 of credibility associated with expert testimony.” Sanchez, 2012 WL 13005996, at
   12 *32.
   13        Nor do Defendants show that Sedlik applied any methodology in reaching his
   14 opinions. Indeed, Defendants admit Sedlik “did not verify … Mannion’s account …
   15 with third parties” and instead “assumes … that … Mannion chose location, props
   16 and wardrobe for ‘certain shoots.’” Supra at 11-12 (emphasis added). Sedlik’s
   17 assumptions lack foundation and are contrary to testimony that—for the photoshoots
   18 at issue—Mannion did not select the props or wardrobe. Supra at 4 (citing Burke
   19 Tr. [Bonfigli Dec. Ex. D] at 12:15-13:6, 13:12-14:25, 16:3-24). And Defendants do
   20 not say that Sedlik will opine that Mannion made those decisions at the relevant
   21 photoshoots, despite resting his opinion as to Mannion’s “creative contributions” on
   22 Mannion having allegedly made such decisions at “certain [other] photoshoots.”
   23 Supra at 11.
   24        B.      Sedlik’s “industry custom” opinions are irrelevant.
   25        Plaintiff showed that Sedlik’s opinions about “industry custom and practice”
   26 are irrelevant because “industry custom … cannot make legal that which is illegal.”
   27 ITN Flix, 686 F. App’x at 444 n.1. Defendants’ response is nonsense. They say
   28 Sedlik will show that “Mannion’s conduct was consistent with his peers,” such that
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                                                                  PLAINTIFF ’S M OTION I N LIMINE NO. 2
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    1 Plaintiff had “constructive and actual notice of Defendants’ uses” of his NIL,
    2 resulting in “implied consent.” Supra at 13-14. This “attenuated chain of reasoning”
    3 with “multiple unsubstantiated leaps in logic, without any basis” is “pure
    4 speculation [that] fail[s] to comply with Rule 702.” Sportspower Ltd. v. Crowntec
    5 Fitness Mfg. Ltd., 2020 WL 3213704, at *5 (C.D. Cal. Feb. 3, 2020). In any event,
    6 Plaintiff testified that he does not “know what photographers do” and is not an
    7 “expert to say what a photographer typically does.” Carter Tr. (Bonfigli Dec. Ex. F)
    8 58:7-21. There is no basis for imputing knowledge of “industry custom” to Plaintiff
    9 to prove that he knew of Defendants’ unlawful conduct and consented to it.
   10         Plaintiff argued that a number of Sedlik’s other opinions “are not relevant or
   11 are impermissible legal opinions.” Supra at 4-5 (listing them). Defendants make no
   12 attempt to explain how these opinions are relevant. Supra at 12 n.3. Instead, they
   13 claim it is “unclear what Plaintiff’s dispute is with the testimony.” Id. The
   14 “dispute” is that the testimony is “not relevant.” Supra at 4-5. By failing to
   15 articulate how the testimony is relevant, Defendants failed to carry their threshold
   16 burden to show relevance. And Defendants abandoned these opinions by not
   17 including them in the expert-witness offer of proof. See ECF No. 146 at 2-9.
   18         C.    Sedlik’s testimony should be limited to rebuttal.
   19         Defendants contend Sedlik should be allowed to rebut Ms. Mahn Miller’s
   20 reliance on auction prices by testifying that prices at auction are lower than at
   21 galleries and that gallery prices are publicly available. Supra at 13. If the Court
   22 permits Sedlik to testify at all, he should be limited to rebutting Ms. Mahn Miller’s
   23 opinion on these two narrow issues.
   24                                    CONCLUSION
   25         The Court should exclude the affirmative opinions of Jeffrey Sedlik and limit
   26 his testimony to rebutting Ms. Mahn Miller’s opinions.
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                                                 -18-                  Case No. 2:21-cv-04848-PA-KS
                                                                   PLAINTIFF ’S M OTION I N LIMINE NO. 2
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    1 DATED: June 17, 2022               QUINN EMANUEL URQUHART
                                             & SULLIVAN, LLP
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    3
                                         By /s/ Robert M. Schwartz
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                                            Alex Spiro (pro hac vice)
    5                                       Robert M. Schwartz
    6                                       Cory D. Struble
                                            Dylan C. Bonfigli
    7                                       Attorneys for Plaintiff
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    1                    DECLARATION OF DYLAN C. BONFIGLI
    2         I, Dylan C. Bonfigli, declare as follows:
    3         1.    I am an attorney admitted to practice before this Court. I am associated
    4 with Quinn Emanuel Urquhart & Sullivan, LLP, counsel of record for Plaintiff
    5 Shawn Carter, professionally known as Jay-Z. I make this declaration in support of
    6 Plaintiff’s Motion in Limine No. 2. I make this declaration on personal, firsthand
    7 knowledge, and if called and sworn as a witness, I could and would testify
    8 competently to the facts set forth below.
    9         2.    Plaintiff’s Motion in Limine No. 2 seeks to exclude the opinions of
   10 Defendants’ photography expert, Jeffrey Sedlik.
   11         3.    The subject matter of Plaintiff’s Motion in Limine No. 2 has been
   12 discussed with opposing counsel, and opposing counsel stated that such matter may
   13 be mentioned or displayed in the presence of the jury before it is admitted in
   14 evidence and has refused to stipulate that such matter will not be mentioned or
   15 displayed in the presence of the jury unless and until it is admitted in evidence.
   16         4.    Plaintiff will be prejudiced if Plaintiff’s Motion in Limine No. 2 is not
   17 granted because Mr. Sedlik’s opinions are not relevant and, if presented, they will
   18 likely cause unfair prejudice to Plaintiff, confuse the issues, mislead the jury, and
   19 waste trial time. As stated in Plaintiff’s Motion in Limine No. 2, Mr. Sedlik’s
   20 opinions are irrelevant and would improperly bolster Defendant Jonathan Mannion’s
   21 testimony, and Mr. Sedlik’s opinions may mislead the jury into incorrectly
   22 believing, for example, that Defendants’ actions were lawful because they
   23 purportedly adhered to industry custom.
   24      5.     Attached as Exhibit A is a true and correct copy of excerpts from the
   25 deposition of Jeffrey Sedlik taken on April 8, 2022.
   26       6.    Attached as Exhibit B is a true and correct copy of the Preliminary
   27 Expert Report of Professor Jeffrey Sedlik, dated March 14, 2022.
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                                              -20-                 Case No. 2:21-cv-04848-PA-KS
                                                                   PLAINTIFF ’S M OTION I N LIMINE NO. 2
Case 2:21-cv-04848-PA-KS Document 157 Filed 06/17/22 Page 27 of 154 Page ID #:5794




    1        7.    Attached as Exhibit C is a true and correct copy of the Rebuttal Expert
    2 Report of Professor Jeffrey Sedlik, dated March 31, 2022.
    3        8.    Attached as Exhibit D is a true and correct copy of excerpts from the
    4 deposition of Kareem Burke taken on March 7, 2022.
    5        9.    Attached as Exhibit E is a true and correct copy of excerpts from the
    6 deposition of Jonathan Mannion taken on March 13, 2022.
    7        10.   Attached as Exhibit F is a true and correct copy of excerpts from the
    8 deposition of Shawn Carter taken on March 4, 2022.
    9
   10        I declare under penalty of perjury under the laws of the United States that the
   11 foregoing is true and correct.
   12        Executed on June 17, 2022, at Los Angeles, California.
   13
   14
   15                                      By      /s/ Dylan C. Bonfigli
   16                                              Dylan C. Bonfigli

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                                                -21-                  Case No. 2:21-cv-04848-PA-KS
                                                                  PLAINTIFF ’S M OTION I N LIMINE NO. 2
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    1                           ATTESTATION STATEMENT
    2        I, Robert M. Schwartz, the filer of this Joint Motion in Limine, attest pursuant
    3 to Civil L.R. 5-4.3.4(a)(2) that all other signatories listed, and on whose behalf the
    4 filing is submitted, concur in the filing’s content and have authorized the filing.
    5
    6 DATED: June 17, 2022                   QUINN EMANUEL URQUHART
                                                 & SULLIVAN, LLP
    7
    8
                                             By /s/ Robert M. Schwartz
    9
                                                Robert M. Schwartz
   10                                           Attorneys for Plaintiff
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                                                 -22-                  Case No. 2:21-cv-04848-PA-KS
                                                                   PLAINTIFF ’S M OTION I N LIMINE NO. 2
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                         Exhibit A
     Excerpts from the April 8, 2022 Deposition of
                    Jeffrey Sedlik
Case 2:21-cv-04848-PA-KS Document 157 Filed 06/17/22 Page 30 of 154 Page ID #:5797


   1                     UNITED STATES DISTRICT COURT
   2                    CENTRAL DISTRICT OF CALIFORNIA
   3
   4      SHAWN CARTER, also known as
          JAY-Z, an individual,
   5
                              Plaintiff,
   6          vs.                                       No. 2:21-cv-04848-PA-KS
   7      JONATHAN MANNION, an individual,
          and JONATHAN MANNION, an
   8      individual, and JONATHAN MANNION
          PHOTOGRAPHY LLC, a New York
   9      limited liability company,
  10                          Defendants.
          __________ !
  11
  12
  13         VIDEOTAPED DEPOSITION OF PROFESSOR JEFFREY SEDLIK
  14                appearing remotely at Encino, California
  15                          Friday, April 8, 2022
  16
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  23      Reported by:
          Natalie Y. Botelho
  24      CSR No. 9897
  25      Job No. 5174577

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   1      you where to stop.        All right.          Stop.   Okay.
   2      Q.           We're looking at Page 19, starting at
   3      Page 19 and going for several pages in your report.
   4      We did look at this very briefly earlier in your
   5      deposition.      Do you have -- do you see that now on
   6      the screen?
   7      A.           I do.    This is a list, as I was just
   8      saying, of creative -- of the creative tools
   9      employed by a photographer, tools and techniques
  10      employed by a photographer in creating their
  11      expression, and it's common across multiple
  12      photographers.
  13                   So for one photographer, it might be the
  14      exact same list as for another photographer, but the
  15      way that they employ it might be slightly different.
  16      So my process was to discuss a list with Mr. Mannion
  17      and to get his confirmation as to what actual
  18      activity or actual tools he employed and what he did
  19      not.
  20      Q.           Okay.    So with respect to the list of
  21      steps or process for Mr. Mannion's photography of
  22      Jay-Z that you describe starting on Page 19 of your
  23      report and going for three or four pages after that,
  24      with respect to that list, you describe, for
  25      example, in each one what Mr. Mannion did.                    You see

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   1      Q.           We're wasting time.            I'll withdraw the
   2      question.     You don't have to answer the question I'm
   3      withdrawing it.       There you go.           We'll speed this up.
   4                   Where you wrote, "Mr. Mannion conducted
   5      extensive pre-planning for many of his shots -- "his
   6      shoots," rather -- I'm trying to find out, how do
   7      you know that?       And I think your answer is, "Because
   8      he told me that."        Right?
   9      A.           No, my -- I actually gave you a direct -­
  10      Q.           No, look, sir, I'm not interested in the
  11      epistemology of the writing of storytelling where
  12      these criteria or steps come from.                 I accept that
  13      you think they're valid.            I'm not quarreling with
  14      you about any of that.           I just want to know how you
  15      found out that Mr. Mannion did these things you say
  16      he did.     Real simple question.             How do you know he
  17      did these things?
  18                   MR. HSU:     Objection; argumentative.
  19                   THE WITNESS:        I started with a list of
  20      these things, and then I asked Mr. Mannion whether
  21      or not he did these things and if he had anything to
  22      add to these things.
  23                   MR. SCHWARTZ:        Q.     Thank you.
  24      A.           Or if he did not -- if he said "No, I
  25      didn't do that," then I -- then I did not state that

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   1      inconsistent with, I asked further questions so that
   2      I could get to the actual expression that he imbued
   3      and the techniques that he used to get there
   4      tools and techniques.          That's my answer.
   5      Q.           Okay.    We got on this line of questioning
   6      because I asked you if you did anything other than
   7      talking to Mr. Mannion to validate what you wrote
   8      about what he did.
   9                   So let me ask the question this way:             With
  10      reference to the second bullet point on Page 19 of
  11      your report, did you do anything, other than hearing
  12      what Mr. Mannion had to tell you, to validate the
  13      assertion in your report that, quote, "For certain
  14      shoots, Mr. Mannion personally selected, coordinated
  15      and arranged wardrobe, props, accessories,
  16      backdrops, sets, set decoration, and other scenic
  17      elements in order to achieve a desired original
  18      expression," closed quote?
  19                   MR. HSU:     Objection; argumentative, asked
  20      and answered.
  21                   MR. SCHWARTZ:        Q.     Again, the emphasis
  22      here, sir, is, other than talking to Mr. Mannion
  23      about this topic, did you do anything to validate
  24      the assertion he told you that he did these things?
  25                   MR. HSU:     Same objections.

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   1                   THE WITNESS:        My answer was that I
   2      simultaneously viewed the photographs so that I
   3      could determine whether, based on my knowledge,
   4      training, experience, and education, his -- the
   5      answers were consistent with the photographs that I
   6      was viewing.
   7                   To help this line of questioning along, so
   8      that we can move on, I did not separately validate
   9      with other parties or other sources that Mr. Mannion
  10      actually did the things that he claimed to do.                As
  11      an expert, I'm allowed to rely on an interview of
  12      the person.      I'm not parroting Mr. Mannion, but I am
  13      relying on his description of what he did.
  14                   And you'll note that it says "for certain
  15      shoots'' in this sentence, because in my experience,
  16      there would be also stylists that are involved in
  17      shoots, and Mr. Mannion would be directing those
  18      stylists who are also --
  19                   MR. SCHWARTZ:        Q.     Are you finished with
  20      your answer?      You froze.
  21                   MR. HSU:     Okay.        Yeah, I think he froze.
  22                   MR. SCHWARTZ:        Let's give him a moment to
  23      unfreeze.
  24                   THE VIDEOGRAPHER:           He looks pretty still
  25      frozen.     Would you like to go off the record,

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   1                    I, JEFFREY SEDLIK, do hereby declare under
   2      penalty of perjury that I have read the foregoing
   3      transcript; that I have made any corrections as
   4      appear noted, in ink, initialed by me, or attached
   5      hereto; that my testimony as contained herein, as
   6      corrected, is true and correct.
   7                    EXECUTED this                  day of
          ---------'

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   9                      (City)                              (State)
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  16                               Jeffrey Sedlik
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   1                        CERTIFICATE OF REPORTER
   2
   3                   I, Natalie Y. Botelho, a Certified
   4      Shorthand Reporter, hereby certify that the witness
   5      in the foregoing deposition was by me duly sworn to
   6      tell the truth, the whole truth, and nothing but the
   7      truth in the within-entitled.
   8                   The said deposition was taken down in
   9      shorthand by me, a disinterested person, at the time
  10      and place therein stated, and that the testimony of
  11      said witness was thereafter reduced to typewriting,
  12      by computer, under my direction and supervision;
  13                   That before completion of the deposition,
  14      review of the transcript [X] was I                 []   was not
  15      requested.     If requested, any changes made by the
  16      deponent (and provided to the reporter) during the
  17      period allowed are appended hereto.
  18                   I further certify that I am not of counsel
  19      or attorney for either or any of the parties to the
  20      said deposition, nor in any way interested in the
  21      event of this cause, and that I am not related to
  22      any of the parties thereto.
                       DATED:    April 13, 2022
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  25                 Natalie Y. Botelho, CSR No. 9897

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                         Exhibit B
                  March 14, 2022 Preliminary
                 Expert Report of Jeffrey Sedlik
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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
                                 WESTERN DIVISION




     SHAWN CARTER, also known
     as JAY-Z, an individual,


              Plaintiff,
                                                    Case No. 2:21-cv-04848-PA-KS
          -against-                                 Judge: Hon. Percy Anderson


    JONATHAN MANNION, an
    individual, and JONATHAN
    MANNION PHOTOGRAPHY LLC, a
    New York limited liability
    company,


             Defendants.




        PRELIMINARY EXPERT REPORT OF PROFESSOR JEFFREY SEDLIK

                                Submitted March 14, 2022




                                     CONFIDENTIAL
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   I have been engaged by defendants Jonathan Mannion (“Mr. Mannion”) and
   Jonathan Mannion Photography LLC (“JMP”) in the above-referenced matter
   (“Matter”) brought by Plaintiff Shawn Carter (“Mr. Carter”) against Mr. Mannion and
   JMP (collectively, “Defendants”) to provide expert testimony as set forth below.


   I have been asked by Defendants to provide expert opinions on the following
   topics:


      -   the creative and technical elements and choices employed by a photographer
          of Mr. Mannion’s caliber, and how Mr. Mannion’s subjective selection,
          arrangement and combination of those creative elements ultimately resulted
          in unique, original, expressive photographs; and
      -   practices, standards, and procedures in the photography industry, both in
          general and with respect to licensing, copyright, management, markets, and
          other issues that have arisen in the Matter; and
      -   if requested by Mr. Mannion, I will rebut opinions expressed by Mr. Carter’s
          experts on these and other topics.


   My opinions are based in part on more than 25 years of service in high-level
   positions in trade associations and standard-setting bodies in the photography,
   advertising, product marketing, technology, and design industries. I have been an
   internationally recognized advertising photographer and commercial director for
   more than 30 years, working with many clients, observing and interacting with
   large numbers of professional photographers, videographers, other photographers,
   advertising agencies, design firms, corporate clients, stock photography and
   footage agencies, product manufacturers, and others in the United States and
   abroad.


   I have worked in the music industry for more than 35 years, creating and licensing
   photographs for editorial and commercial uses on music packaging, advertising,
   publicity and merchandise, to music industry clients such as Arista Records; Bass
   Player; BMG/RCA Records; Capitol Records; CBS/Sony Music; CD Review; Concord
   Records; Downbeat; Geffen Records; GRP Records; Guitar Magazine; Island
Case 2:21-cv-04848-PA-KS Document 157 Filed 06/17/22 Page 40 of 154 Page ID #:5807




   Records; Jazz Times; Jazziz; JVC Musical Industries; Korg, Inc.; LaFace Records;
   MCA International; MCA Records; Membran Records; MTV Networks; Music
   Connection; Polygram Records; Pulse; Q Magazine; Rhino Records; Rolling Stone;
   Select; Spin; Sugar Hill Records; Telarc International; Universal Music Group; VH-1;
   Virgin Records; Warner Brothers Records; Windham Hill Records; Word Records;
   Yamaha; Zildjian and others. I have in addition served as a licensing agent for the
   estates of music and celebrity photographers, supplying licensed photography to
   the music industry. I have been an invited speaker at conferences organized by the
   National Academy of Recording Merchandisers, educating music industry
   professionals on topics including copyright, licensing, contractual terms, and right of
   publicity. I have also owned and operated a publishing company, producing and
   selling music photography-related products for more than 25 years.


   In addition to my personal knowledge, my opinions are based on an independent
   examination of documents and materials produced in the Matter to date. Should
   additional relevant information become available, I respectfully reserve the right to
   amend or supplement my opinions as necessary.


   This Expert Report (“Report”) has been prepared in connection with the
   above-referenced Matter. Section V of the Report outlines my opinions.


   If called upon as a witness in this Matter, I could and would provide the following
   testimony.


   I.   QUALIFICATIONS


   I currently serve as the President and CEO of the PLUS Coalition. “PLUS” is an
   acronym for “Picture Licensing Universal System.” The PLUS Coalition is a
   non-profit, international standards body and trade association representing the
   shared business interests of all industries involved in the creation, licensing, and use
   of visual art, including photographers, illustrators, videographers, advertisers,
   advertising agencies, graphic design studios, publishers, artists’ representatives,
   museums, libraries, stock image agencies, and all other image licensees and
   licensors. The PLUS Coalition develops, propagates, and maintains universal

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   standards for use by licensees and licensors in transactions involving visual art. As a
   founding member of the PLUS Board of Directors, I developed the core concept of
   the Coalition and its copyright licensing standards.


   I am the past National President of the Advertising Photographers of America
   (“APA”), the leading trade association for commercial photographers and
   videographers in the United States. I also served APA as Chief National Advisor on
   Licensing and Copyright, and provided leadership-level guidance on topics including
   copyright, photography, videography, advertising, industry standards, contract
   terms, model release terms, and business practices. I represented the APA in
   discussions with the United States Copyright Office and worked with organizations
   around the world to develop and maintain standards for licensing terms, licensing
   agreements, model releases, and other photography-related business matters. On
   a local basis, I also served on the Board of Directors and Legal Affairs Committee of
   the Los Angeles Chapter of the APA, and as Chairman of the Model Release Working
   Group, charged with developing international standards for model releases,
   communication of usage rights, and model release workflow.


   I currently serve on the Photo Metadata Working Group for the International Press
   Telecommunications Council (“IPTC”), the global standards body for photography
   metadata, with a particular focus on the news industry. In the past, I have served
   on the Digital Image Submission Guidelines Working Group for Universal Digital
   Image Guidelines (“UPDIG”), and as an “Invited Expert” on the Permissions and
   Obligations Working Group of the World Wide Web Consortium (“W3C”). Until
   November 2019, I served as a Director of the American Society for Collective
   Rights Licensing (“ASCRL”), a collective management organization for the visual
   arts. I also serve as a legal and legislative advisor to the American Society of Media
   Photographers (“ASMP”), and as a member of the ASMP Copyright Speakers
   Bureau. I authored the “Photography Licensing” chapter of ASMP Professional
   Business Practices in Photography, the predominant business operations reference
   for professional photographers.




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   I am a frequent speaker at copyright events hosted by the United States Copyright
   Office, the United States Patent Office, and the United States Department of
   Commerce. At the request of the Register of Copyrights, I served as a guest
   instructor at Stanford Law School in conjunction with a United States Copyright
   Office-sponsored Copyright Practicum. I have been engaged by the United States
   Copyright Office to train new Registration Examiners on visual art copyright
   registration issues from 2010 to present. In 2021, I was appointed by the Librarian
   of Congress to serve as an advisor to the Librarian on her efforts to modernize the
   Copyright Office.


   I have been a faculty member of the American Law Institute for Continuing Legal
   Education events, providing instruction on licensing practices and on the practical
   application of copyright law in the visual arts. I have been a guest speaker and
   guest instructor on copyright law and licensing for leading institutions and
   organizations, including Duke University School of Law, New York University School
   of Law, Oxford University School of Law, American University Washington College of
   Law, Antonin Scalia George Mason University Law School, Fordham University
   School of Law, Joint Photographic Experts Group (JPEG), International Federation
   of Reproduction Rights Organizations, the Smithsonian Institution, International
   Confederation of Societies of Authors and Composers, National Association of
   Recording Merchandisers, Digital Library Federation, the Copyright Society of the
   United States, and others.


   In addition, I have testified repeatedly before the Judiciary Committees of both the
   United States Senate and House of Representatives, summoned to advise
   Congress on copyright law issues and legislative reform. I work closely with
   legislators, stakeholder groups, and the United States Copyright Office on
   legislation, regulations, and policy issues related to copyright protections,
   registration, and remedies. I have assisted legislators and government agencies in
   drafting and revising federal copyright legislation. I am an active participant in the
   Copyright Alliance, serving on the Creators Advisory Board, Academic Advisory
   Board, and the United States Copyright Office Modernization Working Group.




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   In addition to my work in the United States, I serve on the Advisory Board of the
   Beijing Intellectual Property Expertise Center of Judicature, a governmental agency
   overseeing copyright matters before the People’s Court of China. I also serve as a
   founding Director of the Linked Content Coalition (“LCC”), a global non-profit
   organization dedicated to facilitating and expanding the legitimate use of content
   through interoperable identifiers and metadata. I have also been a partner in the
   Rights Data Integration initiative, a European Commission project focusing on the
   integration of systems that manage and trade intellectual property rights online
   across all types of content, usage, and media. I was a partner in the Copyright Hub
   initiative in the United Kingdom, and a participant in the European Commission’s
   Metadata Image Library Exploitation project. I was a partner in the Initiative for a
   Competitive Online Marketplace, based in Vienna, Austria, and have been an invited
   speaker on intellectual property law at the House of Lords of the Parliament of the
   United Kingdom.

   Adobe Systems, creator of Photoshop, Lightroom, Premiere, After Effects, and
   other digital image, video and design software, selected me to be a member of its
   “Prerelease Team” and its “Adobe Photographers’ Council,” a group of twelve
   leading artists who advise the company on trends in digital photography, video, and
   the visual arts industry at large.


   Selected honors include the 2005 Industry Leadership Award from the International
   Photography Council of the United Nations, the 2006 PhotoMedia Photographer of
   the Year award, the 2007 APA Industry Advocacy Award, and in 2008, a “Lifetime
   Achievement Award,” a Clio Award (for excellence in directing digital video) and an
   honorary Master’s Degree from the Brooks Institute of Photography, recognizing
   “Mastery of the Craft and Business of Photography.”


   I am a long-time faculty member and Professor at the Art Center College of Design
   in Los Angeles, where I sit on the Intellectual Property Committee and teach
   advanced courses on the artistic, technical, production, legal, and business aspects
   of traditional and digital photography and videography. My curriculum includes
   advanced instruction on legal topics such as copyright law, copyright registration,


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   copyright licensing, and contract interpretation. Technical topics include digital
   techniques and advanced lighting for photography and video of people, products,
   and automobiles. I also provide instruction on advertising, marketing, branding, and
   consumer behavior.


   After more than 30 years as an award-winning commercial photographer,
   videographer, cinematographer, and studio owner, I continue to operate an
   advertising and entertainment photography and production company in California,
   creating photography, video, commercials, and design, with a client list that includes
   such companies as Nike, Federal Express, Farmers Insurance, SBC, GTE, NBC,
   Sony, AT&T, Blue Cross, Epson, IKEA, United Airlines, Warner Brothers, Toyota,
   Nestlé, Disney, Bank of America, and others. My publishing company, Mason
   Editions, produces and distributes fine photographic reproductions.


   I frequently provide forensic image analysis in civil and criminal matters, and provide
   consulting services to organizations and individuals on issues related to copyright,
   licensing, negotiating, and business practices and procedures related to
   photography, videography, other visual artworks, advertising, and modeling. I have
   testified as an expert witness during the period 2002 to present, in litigation
   involving visual arts, copyright, metadata, advertising, branding, graphic design,
   right of publicity/privacy, model releases, breach of contract, criminal matters, and
   other topics. Matters in which I have provided testimony within the last four years
   are:


   Laspata Decaro Studio Corporation v. Rimowa GmbH et al.
   United States District Court, Southern District of New York
   Case # 16-cv-00934-LGS


   Glen Craig v. UMG Recordings, Inc. et al.
   United States District Court, Southern District of New York
   Case # 16 Civ. 5439 (JPO)


   Brittney Gobble Photography, LLC v. WENN Limited et al.


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   United States District Court, Eastern District of Tennessee, Knoxville Division
   Case # 3:16-cv-00306


   The Andy Warhol Foundation for the Visual Arts, Inc. v. Goldsmith et al.
   United States District Court, Southern District of New York
   Case # 1:17cv2532


   Jason Putsche v. Alley Cat Allies, Inc.
   United States District Court, Southern District of Maryland
   Case # 8:17-cv-00255-PWG


   Yves Michel Fontaine v. MMLery LLC, 61-73 Ellwood, LLC, 533 41st Street
   Realty, LLC and Sharp Management Corp.
   Supreme Court of the State of New York, County of Kings
   Case # 6580/12


   Brittney Gobble Photography, LLC v. Sinclair Broadcast Group, Inc., et al.
   United States District Court, District of Maryland, Baltimore Division
   Case # 1:18-cv-03403-RDB


   D’Pergo Custom Guitars, Inc. v. Sweetwater Sound, Inc.
   United States District Court, District of New Hampshire
   Case # 1:17-CV-000747-LM


   Annette Navarro McCall v. The Procter and Gamble Company
   United States District Court, Southern District of Ohio, Western Division
   Case # 1:17-cv-00406-TSB


   Optimum Imaging Technologies LLC v. Canon, Inc.
   United States District Court, Eastern District of Texas, Marshall Division
   Case # 2:19-CV-246-JRG


   Intersal, Inc., v. Susi H. Hamilton, Secretary, North Carolina Department of Natural

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   and Cultural Resources, in Her Official Capacity, North Carolina Department of
   Natural and Cultural Resources, and State of North Carolina
   General Court of Justice, Superior Court Division, North Carolina, Wake County
   Case # 115 CVS 9995


   Cora Skinner et al., v. Red Tape, Inc, d/b/a Stiletto’s & Red Tape VI, Inc., d/b/a
   Stiletto’s
   United States District Court, Southern District of Texas, Brownsville Division
   Case # 1:19-cv-186


   Mireya Rios v. Fekkai Retail, LLC, Blue Mistral, LLC
   United States District Court, Central District of California
   Case # 2:20-cv-08743-PA-MRW


   Evox Productions LLC v. AOL, Inc. Oath, Inc., and Verizon Media, Inc.
   United States District Court, Central District of California, Western Division
   Case # 2:20-cv-02907-JWH-JEM


   Michael Gaffney v. Muhammad Ali Enterprises, LLC, Authentic Brands Group LLC,
   and Roots of, Inc., d/b/a “Roots of Fight”
   United States District Court, Southern District of New York
   Case # 1:18-CV-08770, 1:20-CV-07113


   Nicklen et al v. Mashable, Inc. et al
   United States District Court, Southern District of New York
   Case #1:20-CV-10300


   My publication list is included in my curriculum vitae, a copy of which is attached to
   the Report as Curriculum Vitae (Exhibit A).




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  II.     COMPENSATION


   My work on the Matter is billed at $850 per hour. My compensation is not
   contingent upon, dependent upon, or related in any way to the outcome of the
   Matter.



  III.    MATERIALS CONSIDERED


   In preparation for the Report and for the expert testimony that I may be called on
   to provide, I have considered the materials listed in Materials Considered (Exhibit
   B).



   IV.    BACKGROUND


   Plaintiff Shawn Carter, also known as “Jay-Z,” is a music artist residing in Los
   Angeles, California.1

   Defendant Jonathan Mannion is a professional photographer residing in New York,
   NY.2


   Defendant Jonathan Mannion Photography LLC is incorporated in New York County,
   NY,3 engaged in offering photography services, selling prints and other
   reproductions of photographs, and licensing photography copyrights, among other
   activities.4


   Mr. Mannion created various photographs depicting Mr. Carter’s likeness or name
   (the “Photographs”).5 Mr. Carter asserts that Defendants made unauthorized use
   of Mr. Carter’s likeness and name by producing, offering, and selling prints, slip mats
   and shirts depicting Mr. Carter or Mr. Carter’s name, and that in so doing,

   1
     First Amended Complaint (“FAC”) ¶ 7.
   2
     Id. ¶ 8, 20.
   3
     Id. ¶ 9.
   4
     Telephonic interview of Jonathan Mannion, March 10, 2022 (“Mannion Interview”).
   5
     Id. ¶ 21.
                                                9
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   Defendants violated Mr. Carter’s right of publicity.6 Mr. Carter filed suit against
   Defendants on June 15, 2021.7




   V.   DISCUSSION



   A.    The Photographer, Jonathan Mannion


         Mr. Mannion is an accomplished, well-known, and respected professional
         photographer and visual artist.8 Mr. Mannion began creating photography
         primarily focused on hip-hop culture in the mid-1990s, and continues his
         work today.9


         In or about 1993, Mr. Mannion began training under noted photographers
         Richard Avedon, Steven Klein, Marc Hom, Ben Watts, and others, while also
         creating his own photography.1 0 Mr. Mannion transitioned to full-time
         professional photography in or about 1996.1 1 Mr. Mannion has created
         photography for use on over 300 album covers,1 2 and has photographed
         "over 500 of the most important rappers, actors, athletes, artists, designers,
         and tastemakers of his era."1 3


         Like other leading celebrity portrait photographers, Mr. Mannion’s
         photographs shape the public personas of his subjects, and serve to define
         those artists — and their music — in the public eye.




   6
      See generally FAC.
   7
      See generally Complaint.
   8
       See, e.g., https://www.jonathanmannion.com/about, last accessed Mar. 17, 2022.
   9
       Id.
   10
       Id.
   11
      Deposition of Jonathan Mannion (“Mannion Depo.”) at 56:1-5.
   12
        https://www.jonathanmannion.com/about, last accessed Mar. 17, 2022.
   13
       Id.
                                               10
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            Representative examples of artists photographed by Mr. Mannion include:1 4


            40, 2Chainz, 50 Cent, A$AP Rocky, Aaliyah, Afeni Shakur, AKA, Akon,
            Anthony Hamilton, ASAP MOB, Ashanti, AZ, Baby G, Beanie Sigel, Beatnutz,
            Beenie Man, Big Boi, Big Daddy Kane, Big Krit, Big Pun, Big Star, Big Tymers,
            Biggie, Birdman, Biz Markie, Bobbito Garcia, Bone Thugs-N-Harmony, Boyz In
            Da Hood, Brandy, Buju Banton, Bun B, Bunji Garlin, Busta Rhymes,
            Camoflage, Cannibis, Capleton, Capone-N-Noreaga, Carl Thomas, Case,
            Cash Money, Cassidy, Cassie, Cassper Nyovest, Chamillionaire, Charlie
            Baltimore, Chingy, Chris Brown, Chris Lighty, Chris Paul, Christina Milian,
            Ciara, Clark Kent, Clipse, Common, Craig Mack, Cuban Link, Cypress Hill, D'
            Angelo, D.O.C., D12, Damon Dash, Dave Chappelle, David Beckham, Dem
            Franchize Boyz, Devin The Dude, Diddy, Diplomats, Dirty Boys, Disturbing Tha
            Peace, DJ Clue, DJ Khaled, DJ Quik, DMC, DMX, Dom Kennedy, Doug E Fresh,
            Dr. Dre, Drake, DUBB, Dungeon Family, Dunk Ryders, Dwyane Wade, E-40,
            Elephant Man, Ella Mai, Eminem, Erick Sermon, Erykah Badu, Estelle, Eve,
            Fabolous, Faith Evans, Fat Joe, Fat Man Scoop, Firm, The, Foxy Brown,
            Frankie J, Fredro Starr, Freeway, Fugees, Funkmaster Flex, Future, G
            Malone, Game, The, Gang Starr, Gary Clark Jr., Genius, Ginuwine, Gotti,
            Gucci Mane, G-Unit, Heavy D, Henchman, Horace Brown, Hot Karl, Ice Cube,
            Ice T, India Aire, Insanity, J. Holiday, Ja Rule, Jadakiss, Jah Cure, Jaheim,
            Jasmin Sullivan, Jay Z, Jayo Felony, Jaz O, Jazze Pha, Jermaine Dupri, Jill
            Scott, Joe, Joey Badass, Juvenile, Kane & Able, Kanye West, Kareem Black,
            Keith Sweat, Kelis, Kes, Keyshia Cole, Killer Mike, KMC, Kool G Rap, Kool
            Keith, Krayzie Bone, Kurtis Blow, Kurupt, L. Boogie, Lady Luck, Lady May,
            Lalah Hathaway, Lamar Odom, Lance Armstrong, Lauriana Mae, Lauryn Hill,
            Lil Boosie, Lil Mama, Lil Wayne, Lil’ Bow Wow, Lisa Lopez, LL Cool J, Logic,
            Loon, Lords Of The Underground, LOX, Ludacris, Luniz, The, Lupe Fiasco,
            Maceo, Machel Montano, Mack 10, Mack Wilds, Mad Lion, Magic Johnson,
            Malik Yoba, Manny Fresh, Mario Winans, Mary J Blige, Mase, MC Hammer, MC
            Janik, MC Serch, McGruff, Meek Mill, Memphis Bleek, Method Man, Missy
            Elliot, Mo’ Thugs, Mobb Deep, Montell Jordan, Mos Def, Murder Inc., Murder

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        MANNION005943.
                                                11
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           Mill, Murphy Lee, Mystikal, Nas, Nasty C, Nelly, Neptunes, The, Ne-Yo, Nia
           Long, Nick Cannon, Nigel Sylvester, Nikki Minaj, Nipsey Hussle, Nivea,
           Noreaga, N'SYNC, NTM, Obie Trice, Ol’ Dirty Bastard, Olivia, Omar Epps,
           Omarion, Organized Konfusion, Outkast, Pastor Troy, Paul Pierce, Pele, Penny
           Hardaway, Pimp C, Playa, Playaz Circle, Play-N-Skillz, PNB, Pretty Ricky,
           Problem Child, Prodigy, Profyle, Purple Ribbon All-Stars, Q-Tip, Quincy Jones,
           Raekwon, Rah Digga, Rakim, Rashad, Ray Allen, Ray Cash, Ray J, Redman,
           Retna, Richie Rich, Rick Ross, Riky Rick, Rock Steady Crew, Rosario Dawson,
           Rouge, Roy Jones Jr., RUN DMC, Rupee, Salt N Pepa, Scarface, Sean Paul,
           Shabba Ranks, Shaggy, Shaquille O’Neal, Shyne, Sleepy Brown, Slick Rick,
           Snoop Dogg, Sole, Soul 4 Reel, St. Lunatics , Stack$, Stevie J, Stomy Bugsy,
           Strokes, The, Styles P, Suge Knight, Sum 41, Swizz Beatz, SZA, T.I., Tamba
           Hali, Tank, Tech N9ne, Teddy Pendergrass, Tego Calderon, Terror Squad,
           Theophilus London, Timbaland & Magoo, Tish Hyman, TLC, Toni Braxton,
           Tony Yayo, Too Short, Tracy McGrady, Trae The Truth, Travie McCoy, Travis
           Scott, Trick Daddy, Tricky, Trina, Trombone Shorty, Twista, Tyra Banks, Tyson
           Beckford, Usher, Victor Cruz, Vince Carter, Warren G, Wayne Wonder,
           Westside Connection, Wu-Tang, Wyclef Jean, X-Men, Xzibit, Yao Ming, Yo
           Gotti, Young Buck, Young Jeezy, Young Money, and Youngbloodz.


           Representative examples of Mr. Mannion’s clients include:1 5


           Record/music companies: Sony BMG, Universal Music Group, Virgin Records,
           Arista Records, Motown Records, Interscope Records, Columbia Records,
           Epic Records, Roc-a-fella, Island Def Jam, Ruff Ryders, Shady Records, Bad
           Boy Records, Blackground Records, Atlantic Records, Tommy Boy Records,
           Jive Records, Penalty Records, Elektra, Bungalo Records, Mercury Records,
           Relativity Records, Hollywood Records, Geffen Records, Concorde Records,
           Loud Records, Priority Records, Roadrunner Records, Delabel, DreamWorks
           Records; Magazines/media: Rolling Stone, Billboard, Essence, Slam
           Magazine, The Source, Scratch Magazine, Complex Magazine, Men's Fitness,
           Men's Health, People, Trace, XXL, Vibe, The Fader, Dime, Honey Magazine,

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        MANNION009676
                                              12
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         Dime, Jane Magazine, Game Magazine, Inked Magazine, Untold Magazine,
         Touch Magazine, Pride Magazine, Teen People, Rap Pages, Mix Magazine,
         Drop Magazine, TV Guide, CNN, ESPN, BET, Showtime, Warner Brothers,
         SoBe Entertainment, Vice TV, Viacom; Other: Apple, Beats By Dre, Sirius
         Radio, Reebok, Nike, Adidas, Diagio, Hennessy, Moët & Chandon, Courvoisier,
         Johnnie Walker, FRS, 24 Hour Fitness, PepsiCo, Coca-Cola, Bushmills,
         Cadillac, BMW, Sputnik Creative, Guitar World, Apple Bottoms, Rocawear, J.
         Crew, Sony Playstation, 3 Vodka, Vokal, and Makaveli Clothing.


         Mr. Mannion’s photography is offered and sold by art galleries, and has been
         included in exhibitions such as at the Marlborough Gallery, Milk Gallery,
         Annenberg Space for Photography, La Belleviloise Gallery, Worchester Art
         Museum, International Center for Photography, London’s Saatchi Gallery, the
         Houston Contemporary Arts Museum, Lagos Photo Festival, and Morrison
         Hotel Gallery, among others.1 6


         Below I provide representative examples of Mr. Mannion’s photography, and
         licensed reproductions.




   16
     E.g., https://www.vanityfair.com/style/2020/01/contact-high-hip-hop-exhibit;
   http://adcglobal.org/jonathan-mannion-show-at-milk-gallery-in-nyc/;
   https://www.saatchigallery.com/press/release/right_here_right_now;
   https://camh.org/event/dirty-south/;
   https://www.filmsnotdead.com/back-in-the-days-x-jonathan-mannion/;
   http://www.lagosphotofestival.com/exhibit/jonathan-mannion; all accessed Mar. 17, 2022.
                                              13
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   Figure A-01: Examples of Mr. Mannion’s photography.




                                               14
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   Figure A-02: Examples of licensed reproduction of Mr. Mannion’s photographs.




                                               15
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   B.       Mr. Mannion’s Photographs of Mr. Carter


            Mr. Mannion was first engaged to photograph Mr. Carter in 1996, for the
            cover art for Mr. Carter’s “Reasonable Doubt” debut album.1 7 During the
            period 1996 through 2006, Mr. Mannion photographed Mr. Carter on multiple
            occasions at the request of Mr. Carter, Mr. Carter’s associated companies, or
            third-party music labels, magazines, or other companies.1 8


            Below are representative examples of Mr. Mannion’s Photographs of Mr.
            Carter. Each such Photograph is unique, but each evidences a common
            thread of authorship: Mr. Mannion’s distinct creative vision and expressive
            intent.




   17
        Mannion Depo. at 175:12-14.
   18
        Mannion Depo. at 242:18-243:2 & Ex. 106.
                                                   16
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   Figure B-01: Examples of Mr. Mannion’s Photographs of Mr. Carter.




                                                17
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   C.       Mr. Mannion’s Original Expression in the Photographs19


            Mr. Mannion produces creative photographs, carefully selecting, arranging,
            and coordinating visual elements within his compositions. Before creating a
            photograph, Mr. Mannion conducts research into the history and background
            of his subjects. Mr. Mannion then develops concepts intended by Mr. Mannion
            to communicate Mr. Mannion’s desired expression to the public. Mr. Mannion
            gathers props, creates backdrops, instructs or collaborates with stylists
            about wardrobe, and discusses his concepts with his subjects. Mr. Mannion
            then creates photographs based on those previsualized concepts, and also
            based on concepts that Mr. Mannion develops dynamically during a photo
            session.


            Mr. Mannion made countless subjective creative decisions in the course of
            authoring each Photograph of Mr. Carter. These decisions were guided by Mr.
            Mannion’s unique combination of training, experience, personality, aesthetic
            sensibility, memories, and other factors. Mr. Mannion planned for each shoot,
            researching and choosing the locations for their light, textures, storytelling
            potential and use as backgrounds, and selecting equipment necessary to
            achieve the Photographs he previsualized. Mr. Mannion anticipated and
            responded dynamically to the subject matter and shooting environment;
            exercised control over the visual rendition of the scene; decided which
            elements to include or exclude, and where to place those elements within the
            frame; determined how to juxtapose people, objects, and other
            compositional elements for desired effect; controlled the placement and
            interplay of color, tone, contrast, light, and shade; controlled perspective,
            distortion, and selective focus to guide the viewer’s eye through the
            Photograph; and selected the precise moment at which to capture the
            ultimate Photograph.


            Based on my examination of the Photographs, I find that Mr. Mannion
            endeavored to create Photographs of the highest quality, effect, and value.


   19
        Mannion Interview.
                                                18
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        The creation of each Photograph involved a series of subjective creative
        decisions, all aimed at achieving Mr. Mannion’s desired expression in the
        ultimate result. Importantly, the unique expression resulting from the
        combination of subjective decisions made by Mr. Mannion is embodied in the
        Photographs. An appreciation of those creative decisions will provide a more
        informed understanding of Mr. Mannion’s original authorship and expression in
        the Photographs. Below, I describe examples of the original authorship
        exercised by Mr. Mannion, as is evident in the Photographs:


           ●   Storytelling/concept: Mr. Mannion conducted extensive pre-planning
               for many of his shoots, including conducting research to identify visual
               and artistic inspiration in pursuit of his creative goals, selecting
               locations, props, and wardrobe to fit his preconceived themes and
               creative ideas.
           ●   Styling, Sets, and Set Decoration: For certain shoots, Mr. Mannion
               personally selected, coordinated, and arranged wardrobe, props,
               accessories, backdrops, sets, set decoration, and other scenic
               elements in order to achieve a desired original expression.
           ●   Locations: For certain shoots, Mr. Mannion selected the locations or
               studios to achieve his desired original expression, and to identify and
               take advantage of the best available natural or artificial light.
           ●   Subject Direction: Mr. Mannion determined the positions, actions, and
               poses of Mr. Carter and other subjects in the Photographs, interacting
               with and directing all of his subjects to craft his desired creative
               expression. By encouraging and motivating his subject/s, Mr. Mannion
               guided them into the poses and expressions that enabled Mr. Mannion
               to achieve his artistic vision.
           ●   Exposure: Mr. Mannion creatively applied exposure to selectively
               render highlights, shadows, and tones throughout each scene for
               desired effect, guiding the viewer’s eye through the scene.
           ●   Depth of Field: Mr. Mannion creatively applied depth of field (also
               known as “depth of focus”) to selectively render areas of the scene at
               various levels of focus, to guide the viewer’s eye through the scene.

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           ●   Focal Point: Mr. Mannion creatively selected a focal point for each
               scene, to render a specific point in sharpest focus, so as to emphasize
               that point in the Photograph.
           ●   Camera Choice: Mr. Mannion selected the camera best suited to
               achieve his desired creative expression, including selecting between
               digital and film cameras and selecting the exact model and format of
               camera (large format, panoramic, medium format, 35mm, 16mm,
               Polaroid cameras, etc.) for the purposes of achieving Mr. Mannion’s
               desired artistic effects. Mr. Mannion’s digital photography demonstrates
               a high level of competence with professional digital equipment and with
               employing advanced photographic techniques to achieve a desired
               creative result.
           ●   Film Choice: For film-based projects, Mr. Mannion selected and
               controlled film type, exposure and development to allow him to
               control color, contrast, and other elements for a desired creative
               result.
           ●   Camera Position: Mr. Mannion creatively and dynamically selected the
               position of the camera for each scene, for desired effect. Mr. Mannion
               selected camera positions to affect the appearance of perspective, the
               juxtaposition of elements in the frame, the relative size of the various
               elements, distortion of those elements, the overall composition, and
               to assert artistic control over other creative aspects of each
               Photograph for desired effect. Even a slight variation in camera
               position can achieve dramatically different creative results.
           ●   Camera Angle: Mr. Mannion creatively selected a camera angle
               (relative to the subject/s) for each photograph, to control perspective,
               shape, composition, and juxtaposition of objects depicted in the
               scene, and to assert artistic control over other creative aspects of the
               Photographs for desired effect.
           ●   Camera Height: Mr. Mannion creatively selected a camera height for
               each Photograph to control perspective, shape, composition, depth,
               and juxtaposition of objects, and to assert artistic control over other
               creative aspects of the Photographs for desired effect.

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           ●   Lens Focal Length: Mr. Mannion creatively selected the lens focal
               length for each Photograph to control perspective, composition, and
               distortion, and to assert artistic control over other creative aspects of
               the Photographs for desired effect.
           ●   Shift/Tilt: In using large-format cameras, Mr. Mannion manipulated the
               shift and tilt of the camera to affect the focus and perspective in
               particular areas of the Photographs, for desired creative effect.
           ●   Composition: Mr. Mannion creatively selected a composition for each
               Photograph. Mr. Mannion enjoyed infinite options for the composition
               of each of the Photographs, and from those, subjectively and precisely
               selected a single composition or sequence of compositions for desired
               effect.
           ●   Foreground, Midground, Background: Mr. Mannion creatively selected
               a foreground, midground, and background for each of the
               Photographs, to emphasize or deemphasize each area, and to achieve
               a desired creative effect.
           ●   Artificial Lighting: Where Mr. Mannion elected to employ artificial
               lighting in the creation of a Photograph, Mr. Mannion selected and
               controlled the light-to-subject distance, light height, light angle, light
               modifiers, light position relative to the camera, fill lighting, and the
               relative intensity of light in various areas of the frame, for desired
               creative effect.
           ●   Natural Lighting: Where Mr. Mannion elected to employ natural light in
               the creation of a photograph, Mr. Mannion exercised control over the
               effect of the natural light within each scene, by determining subject
               position, camera position, the use of open sun, natural open shade,
               artificial open shade, reflector material, reflector position, reflector
               angle, reflector distance, the size, position, material, distance and
               angle of light diffusing panels (a.k.a. “silks”), the use of natural fill
               (open sky, buildings, floors, pavement, etc.).
           ●   Mixed Lighting: Where Mr. Mannion employed mixed lighting, Mr.
               Mannion used both artificial and natural lighting to achieve a desired
               creative result. By combining flash and daylight, and by controlling

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               shutter speed in combination with the intensity of the flash lighting
               falling on the subject, Mr. Mannion controlled the rendering of the
               foreground, subject, and background.
           ●   Color Control: Mr. Mannion creatively selected his compositions to
               control the rendition of colors, for desired creative effect.
           ●   Texture Control: Mr. Mannion selectively controlled the appearance of
               texture in the Photographs, for desired creative effect.
           ●   Decisive Moment: Mr. Mannion carefully selected the precise moment
               at which Mr. Mannion captured each Photograph, for desired creative
               effect. Mr. Mannion’s selection of the moment of capture determined
               the ultimate creative expression in the Photographs. The Photographs
               evidence Mr. Mannion’s sensitivity to the decisive moment. Mr.
               Mannion dynamically repositioned the camera, identifying artistically
               pleasing compositions, and selecting moments that achieved ideal
               creative interpretations of each scene. Selecting the decisive moment
               when using film cameras requires particular expertise, as the
               photographer is unable to preview the photographs in real time to
               determine if the desired photograph has been captured.
           ●   Post-Processing: After capturing the Photographs, Mr. Mannion applied
               or directed additional creative expression in the photographic
               darkroom and post-processing software to achieve desired effects,
               making global and local adjustments to the Photographs, controlling
               the rendering of contrast, color, density, noise, and other factors,
               controlling light and shade through burning and dodging, removing
               objects to clean up the frame, eliminating imperfections, and
               enhancing the appearance of skin, hair, and facial details.


        The above subjective creative decisions are only a subset of the original
        authorship exercised by Mr. Mannion in creating the Photographs.


        Mr. Mannion enjoyed infinite creative options for depicting each scene. His
        subjective creative vision and decisions, original authorship, and capabilities in
        visual storytelling and portraiture resulted in the ultimate expression


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        embodied in the Photographs. When Mr. Mannion created the Photographs,
        there were an infinite number of possible photographic outcomes, each
        dependent on subjective creative decisions made by Mr. Mannion. When
        independently creating the Photographs, Mr. Mannion made a series of
        subjective creative decisions to achieve the precise expression and unique
        interpretation desired by Mr. Mannion. As discussed above, the Photographs
        each demonstrate substantial, subjective, original creative expression by Mr.
        Mannion.

        By selecting a photographer of Mr. Mannion’s caliber to create photographs
        of a music artist of Mr. Carter’s caliber for packaging, advertising, publicity or
        editorial projects, a client typically seeks and relies on the photographer’s
        experience, expertise, creative talents, and capabilities, with the expectation
        that the photographer will exercise his unique creative vision to independently
        author photographs of a quality suitable to advance the subject’s business
        interests.


        Mr. Carter repeatedly selected Mr. Mannion to create Photographs for use in
        Mr. Carter’s business projects, demonstrating that Mr. Carter appreciated Mr.
        Mannion’s creative vision, technical skills, and ability to create visually
        interesting, dynamic, and successful Photographs.


        While the Photographs depict Mr. Carter’s likeness, the expression embodied
        in the Photographs — and the value represented in the Photographs — is in
        great measure the result of Mr. Mannion’s creative vision, his subjective
        decisions made in the course of authoring the Photographs, and his ability
        and intent to express his personal views and perspective on Mr. Carter and
        hip-hop culture.


        With countless creative variables at play, if one hundred photographers are
        each assigned to make one photograph of a particular subject, one hundred
        unique photographs will invariably result, despite the fact that the same
        person is featured in each photograph. Each such portrait is the result of the
        individual photographer’s desired expression of the subject’s likeness. Below I

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          provide examples of Mr. Carter’s likeness in various photographs created by
          various photographers. While each such photograph depicts the same person
          (Mr. Carter), there is wide variance in Mr. Carter’s appearance in each
          photograph, reflecting the significant impact of the creative skills and vision of
          each photographer.


   Figure C-01: Examples of depictions of Mr. Carter’s likeness in photographs created by various
   photographers.20




   20
     gavinbond.com; claypatrickmcbridge.com; dannyclinch.com; armendjerrahian.com;
   arthurelgort.com; hamishbrown.com; supervisionnewyork.com (Jake Chessum);
   arimarcopoulos.com; martinschoeller.com; leannmueller.com; philknott.com;
   matthewrolston.com; rankinphoto.uk.co; ravenbvarona.com; danwintersphoto.com
                                                24
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   D.   The Business Model for Photographers Relies on Secondary Licensing
        and Exploitation of Derivatives and Derivative Markets


        Based on my knowledge, training and experience, photographers, like other
        creators, typically rely on both primary and derivative markets for their
        works. Photographers typically retain copyright ownership of the copyrights
        in the photographs they create, so as to permit monetization of those
        photographs throughout the lifetime of the copyrights.


        The creation of a photograph is often only the first event in a long series of
        events throughout the copyright life of that work. Revenue (if any) initially
        generated by the photographer on creation of a photograph is often
        insufficient to provide an incentive for the photographer to create new
        works. Instead, photographers and their heirs expect, plan for, and depend
        upon myriad opportunities to monetize their works in the diverse, global
        derivative markets for photographs.


        As a result, the purpose for which a photograph is initially created is rarely
        representative of the many purposes for which the photograph may serve
        during its copyright life when repeatedly licensed and sold in the derivative
        markets. For example, a photograph initially created for an editorial feature in
        a particular magazine article may, at any point during the copyright life of the
        work, be licensed by the photographer to the original client, to the subject,
        or other clients, for all manner of uses, both commercial and editorial. At any
        point during the copyright life of the work, the photographer who created the
        photograph may elect to exhibit the photograph in fine art galleries, offer and
        sell fine art prints of the photograph to collectors, and pursue other
        derivative uses.


        A photograph that has seldom or never been monetized may be monetized
        at any time at the discretion of the photographer. A photographer may elect
        against the licensing or sale of the work for any period of time — determined




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        by the artist — in an effort to protect, maintain, or enhance the value of the
        work in the derivative marketplace.


        A photographer may focus on a particular derivative market for a period of
        time, and then shift to another derivative market. The photographer may at
        any time adopt a new or different strategy for monetizing the work in the
        derivative marketplace, and in so doing, significantly increase (or decrease)
        the revenue stream generated by the photograph. For example, a
        photographer may at any time submit the photograph to an agent or other
        representative or party and authorize that party to develop and exploit new
        or different derivative markets for the photograph. Examples include
        submission of the photograph to a stock photography agency, gallerist, or
        licensing agent.


        The monetization opportunities for a photograph are dynamic, in that the
        perceived value of the photograph may vary with time. For example,
        licensing revenue generated by a photograph of a public figure may
        temporarily increase exponentially if that person is involved in a scandal or
        passes away. The value of a photographer’s works on the fine art market
        may increase significantly as the result of a new project, positive review,
        effective promotional campaign, high-dollar auction sale, significant exhibition,
        or other event. Of course, the photographer may assign or transfer
        copyright ownership to another party, who may then monetize the
        photograph in the same or different derivative markets, in the same or
        different manners.


        The photographer may, at any time during the copyright life of the work,
        elect to create and monetize variations of the photograph, such as new
        derivative works in the same or different media. The photographer may
        colorize a previously black and white photograph, or create a black and white
        version of a color photograph. The photographer may add or remove visual
        elements to or from the photograph using paint, pencil, pen, digital tools,
        video editing or other techniques. The photographer may create derivatives


                                           26
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          at different sizes, or may recompose the photograph by cropping, editing or
          otherwise manipulating the photograph. The photographer may elect to
          render the photograph or portions of the photograph as a charcoal sketch,
          pencil sketch, painting, woodcut, line drawing, mosaic, embroidered work,
          sculpture, engraving, screened print, lithograph, or in any other medium. The
          photographer, as the copyright owner, has the discretion to create derivative
          works in any, all, or none of the above manners, and has the discretion to
          determine the point in time at which derivatives will be made, at any time
          during the copyright life of the photograph.


          When the photographer eventually dies, the photographer’s heirs may, at any
          point during the remaining 70 years of the copyright life of the work,2 1 elect
          to make derivatives or to monetize the photograph in the same or different
          markets.


          For the aforementioned reasons, the history of a photograph — its past
          licenses, sales, derivative markets, and the quantity and character of the
          variations derived — may be an inaccurate, misleading, and otherwise
          unreliable indicator in determining the future purposes for (or methods by
          which) that photograph may be exploited throughout its copyright life, in any
          and all derivative versions, in any and all derivative markets, by the
          photographer and the photographer’s heirs, successors, and assigns. The
          history of revenues generated from the exploitation of a photograph may
          not be a reliable indicator of the potential future revenues from that
          photograph, as there are many variables in play (including the discretion of
          the photographer and the photographer’s heirs) in determining when — and
          when not — to exploit the photograph.


   E.     Practices and Models Employed in Licensing Photography Copyrights


          As discussed above, compensation derived by photographers for the creation
          of a photograph (often expressed as a “Creative Fee” or “Photographer’s

   21
     In general, copyright endures for a term consisting of the life of the author plus 70 years
   after the author’s death. 17 U.S.C.§ 302.
                                                 27
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          Fee”) is typically insufficient to operate a sustainable business. Leveraging
          their exclusive rights under copyright law, photographers typically earn
          compensation not only for the creation of photographs, but also require a
          “Usage Fee” or “License Fee” in exchange for granting a licensee the right to
          exploit the artist’s copyrights in the photographs.2 2 A photographer may
          elect to combine a Creative/Photographer’s Fee with a Usage/License Fee
          and present a single fee contemplating both the creation and the scope of
          use of the photographs.


          When photographers accept assignments to create photographs, they
          typically grant their clients limited rights at first with the expectation and
          intention that those clients will later return to purchase licenses for additional
          uses and for additional periods of use. These “Rights Managed” (“RM”)
          licenses require a license fee based primarily on the scope of the rights
          granted. In RM licensing, the greater the scope of usage desired, the greater
          the licensing fee required of the client. The scope of use permitted under RM
          licenses spans the full spectrum, from very narrow to very broad.


          The license scope is defined generally by the media in which the photographs
          may be reproduced, distributed, and displayed, subject to temporal and
          geographic limitations. The license is often more specifically defined by
          limitations on versions, placements, size, quantity, languages, and industries
          in which the photographs may be reproduced, distributed, displayed, and
          transformed.


          After creating photographs, many photographers monetize their copyrights
          by licensing additional rights to the initial client, such as by granting license
          renewals and extensions, and by granting licenses for use of additional

   22
     While some photographers may elect to only specify a “Photographer’s Fee” or “Creative
   Fee” on their estimates and invoices, such estimates and invoices typically include or
   contemplate the client’s scope of use of the photographs in that single fee, which combines
   compensation both for the creation and use of the photographs. Similarly, some
   photographers employ a “Day Rate” as a fee compensating the artist for the artist’s time
   dedicated to creating photographs. While a “Day Rate” typically excludes the fee applicable
   to licensed use of the resulting photographs, some artists may incorporate a License Fee into
   a Day Rate, by adjusting the Day Rate to contemplate the scope of the license granted.
                                                28
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        images, or in additional media or regions. Clients benefit from this model, at
        first paying only for the rights they need, and then later acquiring additional
        rights from the photographer on an ad hoc basis, spreading licensing
        expenditures across multiple budget periods, and avoiding expenditure on the
        advance purchase of rights they may never need. Photographers often also
        license photographs to parties other than the commissioning client,
        throughout the copyright life of the photographs. A long-standing rights
        model, RM licensing is the most common form of licensing in the assignment
        marketplace.


        In the alternative, photographers may agree to assign copyright ownership
        to their clients through an express, written assignment of copyright. Or,
        under limited circumstances, photographers may agree in writing in advance
        to create photographs under work-made-for-hire terms, whereby copyright
        ownership vests with the commissioning client upon creation.


        In addition to commissioning photographs under the RM model for
        assignment work as discussed above, individuals or entities interested in
        using existing photographs may acquire rights to those existing photographs.


        Any existing photograph, whether created by a photographer on commission
        or created by a photographer independently and speculatively, is a “Stock
        Image” that may be offered for licensed usage by clients. This offering is
        either made directly by the photographer (either affirmatively or upon
        inquiry), or by an intermediary “stock agency” acting as an authorized
        licensor.


        Clients may acquire rights to Stock Images under various licensing models.
        While photographers typically offer photographs only under the RM model,
        stock agencies may offer photographs under one or more models, including
        (1) Rights Managed Licensing, described above; (2) Royalty Free Licensing;




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          (3) Microstock Licensing; (4) Subscription Licensing; and other new and
          evolving models. Exceptions exist.2 3


          Based on my review of the documents, materials, and testimony available to
          me in this Matter, and with a reasonable degree of certainty, Defendants offer
          photography licenses only under the RM model, under which the license fee is
          determined in greatest measure by the proposed scope of use of a
          photograph by a prospective licensee. Defendants do not currently offer
          licenses through stock agencies or automated licensing websites.2 4


          My opinions on photography licensing models are based on my personal
          knowledge and experience as a professional photographer and trade
          association leader charged with establishing and developing industry
          standards and associated photography licensing terms and agreements.


   F.     Mr. Mannion’s Business Model


          Mr. Mannion generates revenue from photography assignments and
          secondary/derivative markets, such as stock licensing and fine art print sales,
          to sustain his business and to support himself.2 5


          As the sole copyright owner of his photographs, Mr. Mannion may offer and
          sell copyright licenses to clients throughout the world, and may also elect to
          withhold or deny licenses to anyone (including the subjects depicted in the
          photographs), for any reason, and at any time. For example, Mr. Mannion, at
          his sole discretion, may decline to offer or remove any of Mr. Mannion’s
          photographs from the licensing marketplace in order to preserve the value of
          the copyrights, to mitigate infringement issues, or simply because he
          determines, at his discretion, that he does not wish to license or publish a




   23
      This is not intended to serve as a comprehensive description of all practices related to
   copyright licensing in the photography industry.
   24
      Mannion Interview.
   25
      Id.
                                                 30
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            photograph. Defendants only offer photography licenses through direct
            negotiations, on a case-by-case basis.2 6


            Mr. Mannion intends to continue to monetize his copyrights throughout the
            copyright life his photographs by offering licenses for all manner of usages, in
            all manner of media, potentially including usages for which Mr. Mannion has
            not yet sold licenses.2 7 Mr. Mannion may further monetize his photographs
            (and derivatives thereof) in prospective and developing derivative markets,
            including derivative markets in which he has not yet participated.


            Mr. Mannion also relies on revenue generated by sales of prints and other
            reproductions of his photographs. Mr. Mannion intends to continue to create
            and sell fine art prints of his photographs. Mr. Mannion may at his discretion
            create and sell derivative works of his photographs.2 8

   G.       Mr. Carter’s Exploitation of Mr. Mannion’s Photographs


            Mr. Carter exploited and continues to exploit Mr. Mannion’s Photographs and
            copyrights on Mr. Carter’s products, and in Mr. Carter’s advertising, branding
            and publicity campaigns. Mr. Carter and Mr. Carter’s related companies and
            record labels relied on and continue to rely on Mr. Mannion’s Photographs to
            create, build, maintain, and promote Mr. Carter’s public persona and brand,
            and to generate revenue and profits for Mr. Carter and Mr. Carter’s affiliates.
            Below are examples of Mr. Carter’s exploitation of Mr. Mannion’s Photographs
            and copyrights.




   26
        Mannion Interview.
   27
        Id.
   28
        Id.
                                               31
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   Figure G-01: Examples of the commercial exploitation of Mr. Mannion’s Photographs and
   copyrights by Mr. Carter and his record labels.




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   H.   Mr. Mannion’s Publication and Sale of Reproductions of Mr. Mannion’s
        Photographs is Consistent with Standard Practice and Leverages
        Customary Conduits for Creative Expression in Photography


        Photographers leverage diverse conduits to distribute and display their
        photographs to the public, as the visual embodiment of their views and ideas.
        By custom and practice in the photography industry, photographers express
        their views and ideas by publishing their photographs in media such as
        websites, social media platforms, blogs, vlogs, books, magazines, brochures,
        other editorials, videos, films, posters, presentations, interviews, and prints.


        Photographers may use any and all of these channels (and more) to
        promote and draw attention to their creative works, in an effort to achieve
        the broadest possible public exposure of the visual expression of their ideas,
        and to contribute to public debate on the broadest possible scale. By custom
        and practice in the photography industry, photographers may elect to
        distribute and display individual photographs, groups of photographs, or
        entire bodies of work for this purpose. Photographers often elect to most
        prominently feature their best works, in order to draw maximum attention to
        their expression, and to secure additional opportunities to create new works
        and thus further their expressive intent.


        In particular, the distribution, offering, and sale of fine art prints is a critical
        conduit for the expression of a photographer’s ideas to the public, for a
        contribution to the public debate on the view and ideas embodied in the
        photographs, and as one of the primary means by which a photographer
        exploits the rights enjoyed by the photographer during the copyright life of a
        photograph.


        Mr. Mannion’s reproduction, distribution and display of Mr. Mannion’s
        Photographs of Mr. Carter is a typical and customary effort by Mr. Mannion to
        achieve broad public exposure of his views and ideas. Below I provide
        representative examples of the publication of photographs of Mr. Carter by


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          other photographers, in the same manner as Mr. Mannion’s publication of his
          Photographs of Mr. Carter on Mr. Mannion’s websites.


   Figure H-01: Examples of the public display of photographs of Mr. Carter’s likeness by
   photographers.29




   29
      gavinbond.com; claypatrickmcbridge.com; dannyclinch.com; armendjerrahian.com;
   arthurelgort.com; hamishbrown.com; supervisionnewyork.com (Jake Chessum);
   arimarcopoulos.com; martinschoeller.com; leannmueller.com; philknott.com;
   matthewrolston.com; rankinphoto.uk.co; ravenbvarona.com; danwintersphoto.com
                                                 34
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   I.   Model Releases for Print Sales, Websites and Social Media


        By custom and practice in the photography industry, photographers typically
        display, offer and sell fine art prints, and publish photographs to websites and
        social media platforms, without obtaining model releases from celebrities or
        other persons depicted in photographs. As described above, these are
        examples of conduits for photographers’ expression of views and ideas.


        Mr. Mannion’s publication of Photographs of Mr. Carter on Mr. Mannion’s
        websites and social media accounts, together with Mr. Mannion’s offering and
        sale of fine art prints of Mr. Mannion’s Photographs of Mr. Carter, is consistent
        with the custom and practice in the photography industry.


        Below I provide examples of various photographers’ websites featuring
        photographs of celebrities.




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   Figure I-01: Examples of the display of photographs of celebrities on photographers’
   websites.30




   30
     philknott.com; matthewrolston.com; leannmueller.com; hamishbrown.com;
   ravenbvarona.com; martinschoeller.com; gavinbond.com; armendjerrahian.com;
   danwintersphoto.com; arthurelgort.com; arimarcopoulos.com; dannyclinch.com;
   rankinphoto.uk.co; claypatrickmcbridge.com; supervisionnewyork.com (Jake Chessum);
                                                36
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   J.   Photographic Licensing in the Music Industry


        Photographers typically license limited rights to their clients in the music
        industry, granting the licensees rights that may include the right to reproduce
        and distribute photographs on product packaging, in advertising, in publicity,
        and (or) on merchandise. In the 21st century, as in the 20th century, the
        license fee paid to photographers by their clients is typically based on the
        scope of rights requested by the licensee, with a greater fee applying to
        broad uses, and a lesser fee applying to lesser uses. Where a photographer
        agrees to assign copyright ownership to a client, or to create works on a
        “work made for hire” basis, the applicable fees are typically substantially
        greater than fees applicable to a limited license. As these fees are often cost
        prohibitive to licensees, Photographers typically retain copyright ownership
        and license limited rights to their clients, providing license renewals and
        extensions as needed. This licensing model suits both photographers and
        their clients, as under this model, clients need not risk unnecessary excess
        investment in photographs for which clients may not later require additional
        usages.


        Examples of licenses issued by Defendants to Mr. Carter or his affiliated
        companies are typical of licenses issued by photographers to their clients in
        the music industry, providing limited rights in exchange for a reasonable
        license fee, permitting Mr. Carter to make limited exploitation of Mr.
        Mannion’s Photographs in the manner described in the license documents.
        Such examples include:


              On August 3, 2009, JMP granted a limited usage license to S. Carter
              Enterprises authorizing it to make limited use of a Photograph created
              during a photo shoot related to Mr. Carter’s Blueprint album, which
              Photograph was ultimately used for the cover of The Black Album,




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               which Photograph was previously created by Mr. Mannion, depicting Mr.
               Carter’s likeness.3 1


               On August 3, 2009, JMP granted a limited usage license to S. Carter
               Enterprises authorizing S. Carter Enterprises and/or Rocawear to
               make limited use of a Photograph created in relation to the cover of
               the album entitled “Vol. 3… Life and Times of S. Carter,” previously
               created by Mr. Mannion, depicting Mr. Carter’s likeness.3 2


               In an agreement dated as of August 4, 2009, Mr. Mannion granted a
               limited usage license to Mr. Carter authorizing Mr. Carter to make
               limited use of seven (7) Photographs (the Photographs embodied on
               the covers of the albums entitled “Reasonable Doubt,” “In My Lifetime,
               Vol. 1,” “Vol. 2... Hard Knock Life,” “Vol. 3… Life and Times of S.
               Carter,” “The Dynasty: Roc La Familia,” “The Blueprint” and “The Black
               Album”) previously created by Mr. Mannion, depicting Mr. Carter’s
               likeness.3 3


               On August 23, 2010, JMP granted a limited usage license to Random
               House Publishing Group authorizing it to make limited use of one
               Photograph created during the photo shoot for Mr. Carter’s album
               entitled “In My Lifetime, Vol. 1,” which Photograph was previously
               created by Mr. Mannion, depicting Mr. Carter’s likeness.3 4


         By custom and practice in the music photography industry, a photographer’s
         invoices typically describe the rights granted to the licensee, and may specify
         other terms and conditions, reflecting the parties’ mutual understanding.




   31
      MANNION001771.
   32
      MANNION000866.
   33
      CARTER0004466.
   34
      MANNION000940.
                                            38
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   VI.   RIGHT TO SUPPLEMENT


   My opinions hereinabove are to a reasonable degree of certainty for a photography
   licensing and copyright expert, based on my training, education, knowledge
   experience, and review of the materials listed in Materials Considered (Exhibit B). I
   understand that Mr. Carter may offer expert testimony to support Mr. Carter’s
   claims in the Matter, and I expect that additional information and documents may
   come to light subsequent to my submission of the Report. If requested by
   Defendants, I may offer supplemental reports and/or rebuttal testimony to the
   opinions expressed by Mr. Carter and Mr. Carter’s experts, in accordance with the
   Court’s scheduling order.


   Respectfully Submitted,




   _______________________________                March 18, 2022
   Professor Jeffrey Sedlik




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                                        Index to Exhibits




A    Professor Jeffrey Sedlik Curriculum Vitae

B    List of Materials Considered
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                                     EXHIBIT A
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                                            PROFESSOR JEFFREY SEDLIK
                                                   Curriculum Vitae


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  Telephone                626.808.0000 (LA) 212.447.1255 (NYC) 213.716.6627 (Cell)
  Email                    expert@sedlik.com


  About Professor Sedlik

  President & CEO of the PLUS Coalition, the international standards body for the licensing of visual artworks.
  Professional photographer, educator, publisher, forensic analyst, graphic designer, product designer, expert
  witness, fundraiser, negotiator, and consultant. Past National President of the Advertising Photographers of
  America (APA), a leading trade association in the commercial photography industry. APA Chief Advisor on
  Licensing and Copyright. 2005 Photography Industry Leadership Award, International Photography Council. 2006
  Photography Person of the Year, Photo Media Magazine. 2007 Industry Leadership Award, Advertising
  Photographers of America.

  Advises clients on industry trends, business practices, copyright and contract issues, branding, fair use, copyright
  registration validity, public domain works, moral rights, work‐made‐for‐hire, merchandising/packaging
  infringements, Creative Commons, asset identification systems, asset management systems, asset licensing
  systems, stock photography industry practices and methodologies, metadata standards, rights languages,
  valuation of photographs/photography, illustrations, graphic designs, and other visual artworks and related
  services, licensing, rights of publicity/privacy, social media technologies and terms, web project development,
  investment and acquisition opportunities, strategic partnerships, art history, historical practices and technologies
  in photography, digital and traditional photographic and design techniques and workflows, repair and restoration
  of photographic prints, forensic analysis of photographs and videos, graphic design, product design, publishing,
  photography‐related software design, patents of photography‐related technologies and procedures, and product
  manufacture. Provides expert witness and consulting services on these and other matters related to
  photography, illustration, visual art, advertising, design, and the modeling industry. Provides expert testimony
  on actual damages, statutory damages, causal nexus for disgorged profits, and other damages and liability arising
  from breach of contract, infringement of copyright, trade dress, trademark, removal/alteration/falsification of
  copyright management information, DMCA violations, rights of publicity/privacy, loss/damage/theft of visual
  artworks, image manipulation, creative expression, original authorship, substantial similarity, independent
  economic value, employment status, sale tax and other issues. Provides photogrammetric services and forensic
  analysis of images and video. Serves as a Professor at the Art Center College of Design. An accomplished and
  experienced educator, conducts advanced seminars and workshops for professionals, and teaches college‐level
  courses on copyright, licensing, advertising, design and related business practices.


  Professional Experience

  PLUS Coalition, Inc., 2005 – Present. Serves as President and CEO for the global standards body for the image
  licensing industries. A non‐profit organization, Picture Licensing Universal System (“PLUS”) is dedicated to the
  development and maintenance of international licensing standards and systems in the photography, illustration,
                                                           1
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  publishing, advertising, graphic design, museum, library, and education communities in 120 countries. Directed
  recruitment of trade organizations and other interested parties worldwide and supervised development and
  implementation of licensing standards, and development of a global rights registry.

  PLUS Coalition, LTD., 2005 – Present. Serves as President, CEO and Director of the London‐based subsidiary of
  the PLUS Coalition, Inc.

  Sedlik Productions/Sedlik Design, 1986 – Present. Serves as President of a leading commercial photography,
  design, and film production company. Also serves as Producer, Director, Photographer, and Director of
  Photography, creating photography, film and video productions for advertising agencies, graphic design studios,
  the entertainment industry, and other clients. Operates SedlikStock, a subsidiary dedicated to licensing existing
  Sedlik images for advertising, editorial and merchandizing usage via affiliates including stock photography
  agencies and publishers. Maintains relationships with major photography industry manufacturers, testing and
  demonstrating analog and digital equipment and software. Provides graphic design, advertising design and
  product design and manufacturing services.

  Partial Client List‐ Sedlik Productions/Sedlik Design

  Clients: 3m; 20th Century Fox; A&E Television Network; ABR Information Services; Alpo; AmSouth Bank; Andazia,
  Inc; Arista Records; Association of Tennis Professionals; AT&T; Avery Dennison; Bank of America; Barrington
  Music Products; BBC; Blue Cross; BMG/RCA Records; Bristol Myers Squibb; Buena Vista Pictures; Bureau of
  Census; CareAmerica; Chesebrough‐Ponds; CBS/Sony Music; Cedars Sinai; Century 21; Cherokee; Columbia
  Pictures; Computer Associates; Concord Records; Conroy's Florist; Direct TV; Disney; Doubleday; Dreyfus; Epson;
  Essilor; Farmers Insurance; Federal Express; Fitzgerald‐Hartley Co.; Ford; Gannon/Hartley; Geffen Records;
  Georgia Pacific; Great Performances; Great Western Bank; GRP Records; GTE; Guinness Museum; Hanna‐Barbera;
  Harcourt Publishers; Hopper Papers; Ikea; Infiniti Automobiles; Island Records; Janssen Pharmaceuticals; JVC
  Musical Industries; Kraft Food Products; Korg, Inc.; LaFace Records; Laura Ashley; Levi Strauss; Mark Taper Forum;
  Missouri Historical Society; MCA Records; MCA International; Metro Goldwyn Mayer; Microsoft; Motion Picture
  & TV Fund; Movieland; MSN; MTM Entertainment; MTV Networks; Navisite; NBC Television; Neenah Paper;
  Nestle’; New World Pictures; Nike; Pacific Bell; Palm Press; Paramount Pictures; Phillip Morris; Polygram Records;
  Pomegranate Books; Potlatch; Prentice‐Hall; San Diego Zoo; Schering Plough; SBC; Signature Eyewear;
  Smithsonian Institution; Sony Inc.; Southern Natural Gas; Spanish Tourism Office; Sugar Hill Records; Taco Bell;
  Telarc International; Toyota; Turner Broadcasting; U. C. Press; United Airlines; United Way; Universal Studios;
  VH‐1; Warner Brothers Records; Web TV; Windham Hill Records; Word Records; World Savings; Yamaha;
  Zellerbach; Ziff‐Davis; Zildjian

  Advertising Agencies & Design Firms: Alan Sekuler & Associates; Asher Gould; BBDO; Bozell, Brierley & Partners;
  Brooks‐Gruman Advertising; Campbell, Mithun, Esty; Cline, Davis, & Mann; Cross & Associates Design; Dailey &
  Associates; Davis, Elen; Daymark; DDB Needham, Worldwide; Deutsch; Douglas Oliver Design; DVC Marketing;
  DZN; The Design Group; East/West Network; Fitzgerald & Associates; FKQ Advertising; FP Horak Advertising;
  Foote, Cone, & Belding; GBF Ayer; Goodby Silverstein; Grey Advertising; Hill & Knowlton; Huerta Design; Ikkanda
  Design; Interbrand; J. Walter Thompson; Kang & Lee; Kaufman/Stewart; Ketchum Advertising; Klemtner
  Advertising; Kovel Kresser; Kuester Group; Lehman Millet, Inc; Lintas Campbell Ewald; Mangos; Mediatrix; Melia
  Design Group; Ogilvy & Mather; OZ Advertising; Phillips Ramsey; Poppe‐Tyson; Potter Katz & Partners; John Ryan
  Company; Saatchi & Saatchi; Seineger Advertising; Slaughter Hanson; SmithKlein Beecham; Strike Group; Team
  One Advertising; Team Creatif; Torre Lazur; Tracy‐Locke; Tribe Design; Vrontikis Design; White Rhino Advertising;
  Young & Rubicam


                                                          2
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  Editorial: American Film; Arts & Entertainment; CD Review; Cosmopolitan; Details; Downbeat; Elle;
  Entertainment Weekly; Glamour; GuestInformant; Imperial Press; In Focus; Interiors & Sources; Jazziz; Jazz Times;
  Life; Los Angeles Magazine; Los Angeles Times Magazine; Mirabella; Music Connection; Newsweek; Photo District
  News; People; Premiere; Pulse; Q Magazine; Rolling Stone; Select; Spin; Time‐Life

  Other Professional Experience

  Copyright Public Modernization Committee (CPMC) of the Library of Congress. 2021 – Present. Appointed by
  Librarian of Congress Carla Hayden to serve as her advisor on the modernization of the Copyright Office.

  Linked Content Coalition, (LCC) 2013 – Present. Serves as a Founding Director of the Linked Content Coalition
  (LCC), a UK‐based, not‐for‐profit global consortium of standards bodies and registries. LCC members are
  organizations engaged in creating and managing data standards associated with content of one or more types,
  particularly for identifiers, metadata, and messaging. The purpose of the LCC is to facilitate and expand the
  legitimate use of content in the digital network through the effective use of interoperable identifiers and
  metadata.

  American Society of Collective Rights Licensing (ASCRL), 2014 – Present. Serves as Founding Director of ASCRL,
  a non‐profit collecting society engaged in collecting and distributing foreign and domestic royalties to authors
  and copyright owners in visual works in the United States.

  Copyright Alliance (CA), 2016 – Present. Serves as Board member on the Copyright Alliance Creators Advisory
  Board and Academic Advisory Board, collaborating with leading organizations and experts in the creative
  industries on copyright‐related issues including education, legislation, advocacy, and other efforts.

  Advertising Photographers of America (APA). Served as National President , 2000 – 2002. Directed and
  supervised all operations of the largest trade organization representing advertising photographers, leading more
  than seventy volunteer board members located in all areas of the country. Advised federal and state legislators,
  and senior officials at the Small Business Administration and US Copyright Office. Serve as Chair of the Model
  Release Working Group, charged with developing international standards for model releases, communication of
  usage rights, and model release workflow. Served on the Board of Directors of the APA Los Angeles Chapter, and
  on that chapter’s Legal and Legislative Committee, Advocacy Committee and Sales Tax Committee. Serve as Chief
  Advisor on Licensing and Copyright, 2002 – 2012, and 2018 – Present.

  Beijing Intellectual Property Expertise Center of Judicature (JZSC), 2007 – Present. Advisor to Chinese
  governmental agency and the People’s Court of China on intellectual property issues in China.

  IPTC Photo Metadata Working Group, 2006 – Present. Active participant in the International Press
  Telecommunications Council (IPTC) standards body. Member of the IPTC Photo Metadata Working Group,
  charged with establishing and maintaining standards for embedded metadata in digital photographs. Co‐
  authored the IPTC Photo Metadata White Paper 2007 and the IPTC‐PLUS Photo Metadata Toolkit.

  Universal Photographic Digital Imaging Guidelines (UPDIG), 2004 – Present. Active participant in working group
  charged with developing worldwide standards in the commercial application of digital imaging technologies.

  Consultant and Expert Witness, 2000 – Present. Provide consulting services, forensic analysis and expert
  testimony on legal, business, and technical matters related to digital and traditional photography, illustration,
  marketing, and other topics.
                                                         3
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  United States Copyright Office, 2008 – Present. Advises senior staff members on topics including copyright
  registration, regulatory, re‐engineering and professional workflow issues. Alpha test consultant for online
  electronic copyright registration system.

  Adobe Photographer’s Council, 2004 – 2010. Advised Adobe Systems on matters related to Adobe products and
  services, including digital photography technologies, stock photography, and industry standards.

  Adobe Pre‐release Testing, 2004 – Present. Provides pre‐release testing services to Adobe, both alpha and BETA
  testing of Adobe products and services.

  Founder, Digital Technology Advisory Council, 2002. Founded advisory council comprised of high‐level
  representatives from each of the leading photography industry manufacturers.

  Advisory Board Member, WorkbookStock, 2000 – 2006. Served on the advisory board of WorkbookStock, a
  leading stock photography agency. Consulted on the development of a vendor contract, copyright registration
  procedures, and web interface.

  Advisory Board Member, Exactly Vertical, 1998 – 2000. Served on the advisory board of Exactly Vertical, a
  company offering interactive business management solutions for photographers. Consulted on issues including
  web interface, software design, copyright registration, merchandizing, stock licensing, photographers’
  workflows, and branding.

  Other, 1996 – Present: Numerous additional consulting engagements under NDA, including the identification
  and analysis of investment opportunities, strategic partnerships, acquisition targets, product development and
  launch strategies, advisory council recruitment, fundraising, negotiations, mediation, and deal brokering.


  Awards & Recognition

  APA Photography Industry Leadership Award, 2007. Presented by Advertising Photographers of America.

  Photography Person of the Year, 2006. Presented by Photo Media Magazine.

  ICP Photography Industry Leadership Award, 2005. Presented by the International Photography Council, a non‐
  governmental organization of the United Nations.

  Mamiya Award of Excellence in Photo Education, 1999. Recognized as a leading arts educator. Selected from all
  college‐level photography instructors, nationwide.

  The Clio Awards. Silver Clio, Director of Photography, Rich Media Advertising, 1999.

  Selected Additional Awards and Recognition: Print's Regional Design Annual. Award of Excellence, 1999; Ozzie
  Awards. Silver Ozzie for Best Photography, 1999; Art Directors Club. Excellence in Photography, 1999; Art
  Directors Club. Excellence in Photography, 1999; PDN/Nikon Award of Excellence in Self Promotion, 1998;
  Advertising Photographers of America. Best in Show, 1998; Communication Arts Award of Excellence in Editorial
  Photography, 1998; The One Show Award for Excellence in Advertising, 1997; Communication Arts Award of
  Excellence, Unpublished Work, 1997; Communication Arts Award of Excellence in Self Promotion, 1996;
  Communication Arts Award of Excellence in Advertising Photography, 1994; Communication Arts Award of
                                                        4
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  Excellence, Book Series, 1993; Art Direction Magazine Creativity Award, 1992; Communication Arts Award of
  Excellence in Editorial Photography, 1992; Communication Arts Award of Excellence in Advertising Photography,
  1991; Communication Arts Award of Excellence in Editorial Photography, 1990; Art Direction Magazine. Creativity
  Award, 1990.

  Articles Authored

  ASMP Professional Business Practices in Photography, 2008. Contributing author.

  United States House Judiciary Committee. “The Orphan Works Dilemma: Challenges & Recommendations,”
  2006. Treatise submitted to the House Judiciary Committee by invitation of the General Counsel, in relation to
  the U.S. Copyright Office “Report on Orphan Works.”

  Photo District News. Contributor to Photo District News, the photography industry’s primary trade publication.
  Authored the “Ask the Expert” column, writing on subjects of business management, licensing, copyright, and
  creativity.

  In Focus. Contributor to In Focus Magazine, the magazine of the Advertising Photographers of America, writing
  on subjects including business management, industry trends, protecting the value of photography, licensing,
  copyright, creativity.

  Wraparound. Founder and regular contributor to Wraparound Magazine, writing on legal and business topics.

  APA/LA News Magazine. Contributor to the news magazine published by the Advertising Photographers of
  America, Los Angeles Chapter.

  Photo Media. “Get Down to Business” Fall, 2000

  IPTC Photo Metadata White Paper 2007. Co‐author.


  Professional Societies

  Advertising Photographers of America (APA)

  American Institute of Graphic Arts (AIGA)

  American Society for Collective Rights Licensing (ASCRL)

  American Society of Media Photographers (ASMP)

  American Society of Picture Professionals (ASPP)

  Copyright Alliance (CA)

  Copyright Society of the United States of America (CSUSA)

  Photography Instructors Education Association (PIEA)
                                                         5
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  PLUS Coalition, Inc. (PLUS)

  Pro Imaging (PI)


  Selected Speaking Engagements

  American Photographic Artists, 2020. “Why Register Copyright?”

  United States House of Representatives, Committee on the Judiciary, 2020. Testimony on proposed
  amendments to the Copyright Act.

  United States Copyright Office, 2020. Invited speaker on the development and efficacy of Standard Technical
  Measures and Copyright Management Information under the Digital Millennium Copyright Act.

  United States Senate, Committee on the Judiciary, Subcommittee on Intellectual Property, 2020. Testimony on
  proposed amendments to the Copyright Act.

  Copyright Society of the USA, 2019. “Expert Witnesses in Copyright Matters”

  Copyright Society of the USA ‐ Copyright Technology Conference, 2019. “Rational Approaches to Online Image
  Licensing.”

  Copyright Society of the USA, 2018. “Perfect Storm: Embedding, Linking and Copyright Infringement.”

  United States Department of Commerce, 2018. “Developing the Marketplace for Copyright Works: Licensing and
  Monetization.”

  American Society of Media Photographers, 2018. “Understanding New Copyright Regulations for Group
  Registration of Photographs”

  United States Copyright Office, 2017. “Original Expression and Authorship in Photography.”

  Photo+ Expo, 2017. “They Stole My Work. Now What?”

  Copyright Society of the USA, 2017. Mid‐winter Meeting. “TMI About CMI: The Rash of Recent Claims Under
  Section 1202 Regarding Removal of Copyright Management Information.

  United States Copyright Office, 2016. “Copyright Licensing in the Visual Arts.”

  International Federation of Reproduction Rights Organizations (IFRRO), 2016. Annual General Meeting.
  “Licensing Reproduction Rights.”

  Joint Photographic Experts Group (JPEG), 2016. JPEG Committee Meeting – JPEG Privacy & Security Workshop:
  “Embedded Rights Metadata in Photographs.”

  Duke University Law School and New York University Law School, 2016. “Copyright Office for the 21st Century:
  Registration and Recordation Functions”
                                                          6
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  United States Copyright Office, 2016. California Roundtable on Section 512: “Applicable Legal Standards,”
  “Scope and Impact of Safe Harbors,” “Technological Standards and Solutions.”

  Legal Issues in Museum Administration Conference, 2015. Smithsonian Institution. “Copyright Clearance and
  Cultural Heritage.”

  International Press Telecommunications Council (IPTC) Conference, 2015. “The Application of Rights Metadata
  in Photographs.”

  Initiative for a Competitive Online Marketplace (ICOMP), 2015. “How the Digital and Creative Economies Can
  Prosper Together.”

  International Federation of Reproduction Rights Organizations (IFRRO), 2015. Annual General Meeting.
  “Measuring the Use of Visual Works.”

  United States Patent and Trademark Office, 2015. “Copyright, Culture, Art and Science in the Digital Age: Hot
  Topics in the Visual Arts. Painting, Photography and Sculpture – Toward a Copyright Hub.”

  Stanford University Law School, 2014‐2015. Copyright Practicum: “Copyright in Visual Artworks Identification,
  Metadata, Registration, Licensing.”

  United States House of Representatives Judiciary Subcommittee on the Courts, Intellectual Property, and the
  Internet, 2014. Testimony at hearing entitled “Preservation and Reuse of Copyrighted Works.”

  United States Copyright Office, 2014. “Orphan Works & Mass Digitization Round Table.”

  United States Copyright Office: 2014. “US Copyright Office Recordation Reengineering Roundtable.”

  International Confederation of Societies of Authors and Composers (CISAC). 2013. “World Creators’ Summit ‐
  Orphan Works: Balancing Access and Creator’s Rights.”

  International Press Telecommunications Council (IPTC). IPTC Metadata Conference, 2013. “Metadata
  Technology. What the Future Might Bring.”

  California Visual Resources Association Conference, 2014. Image Rights: “Leveraging Rights Metadata to
  Maximize Access and Minimize Liability.”

  United States Patent and Trademark Office. 2013. “Copyright Policy, Creativity, and Innovation in the Digital
  Economy.”

  National Association of Recording Merchandisers (NARM) Conference, 2013. “Managing Photographic and
  Video Archival Assets.”

  Advertising Photographers of America (APA), 2013. “Social Media, the PLUS system, and Strategic Licensing in
  the Internet Age.”

  Copyright and Technology Conference, 2012. Rights Registries and Copyright Hubs: “The Holy Grail, or the Enemy
  of the Good?”

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  ICON LA Illustration Conference, 2010. “Illustrators and Copyright.”

  Picture Archive Council of America, International Conference, 2004. Image Licensing in the 21st Century

  Createasphere EXPLORE Entertainment Technology Exposition, 2010. Digital Asset Management Workflows

  American Society of Media Photographers, 2010. Copyright and the New Economy: Issues Facing Visual Artists

  Photo+ Expo, 2009. “Strategic Copyright Licensing.”

  Museum Computer Network, 2009. “Copyright in the Cultural Heritage Sector.”

  Smithsonian Institution, 2009. “Beyond the Copyright Field: Current Trends in Rights and Licensing Metadata.”

  Photo Marketing Association, 2008. “Breakthroughs in Photo Archiving using Metadata”

  Picture Archive Council of America International Conference, 2008. “Copyright in the Stock Image Industry.”

  Henry Stewart DAM Symposium, 2008. “Rights, Images and PLUS: Challenges & Solutions”

  IDEAlliance XMP Open Content Metadata Summit, 2008. “Leveraging XMP to Advance Industry Standards”

  Picture Archive Council of America, 2007. “Finding Common Ground: Setting Standards in a Time of Change.”

  Library of Congress, 2007. “Image Preservation with PLUS.”

  Japan Photographer’s Union, 2007. “Photography & Copyright: International Issues.”

  Digital Library Federation, Fall Forum, 2007. “Facilitating Fair Licensing of Digital Images,Determining Copyright.”

  Museum Computer Network Conference, 2007. “Museums and Intellectual Property: Challenges and Solutions.”

  IDEAlliance XMP Open Content Metadata Summit, 2007. “Advanced Metadata Workflow Strategies.”

  American Society of Picture Professionals, Education Conference, 2006. “Strategic Licensing: The Art & Science
  of Maximizing Your Profits.”

  International Press Telecommunications Council (IPTC) Conference, 2006. “PLUS and IPTC, Collaborating on
  Rights Metadata Standardization.”

  Coordination of European Picture Agencies Press Congress (CEPIC) Conference, 2006. “Implementing
  International Standards in Image Licensing.”

  Oxford University, 2006. “Digital Object Identifiers and Copyright.”

  Miscellaneous Events and Engagements, 1977 – Present. Invited speaker/panelist at the industry’s major trade
  shows, speaking on topics including copyright, licensing, advertising, branding, design, publishing, product
  development, self‐promotion, stock image licensing and technical issues. Lectured on photography at LAUSD
                                                           8
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  Community Adult School. Speaks before groups of photographers and creatives worldwide. Wrote and produced
  the APA “Real World” seminar series on topics ranging from estimating, to licensing, to producing. Participated
  in the development of Digital Imaging for Photographers, a leading seminar series dedicated to cutting‐ edge
  digital techniques and equipment. Speaker at the “PDN on the Road” seminar series, on copyright, licensing, and
  stock photography. Speaker at the ASMP Strictly Business Workshops, ASMP Copyright Symposiums, Copyright
  & Technology Conferences, Digital Asset Management Conferences, World Copyright Summits, Copyright Office
  Roundtables, and many other events.


  Foundation, Community Service and Charitable Work

  Warren King Foundation, President, 2000–2002. Created foundation providing endowed photography
  scholarships to promising photography students. Produced a fundraising event attended by photographers,
  educators, government officials and media. Lobbied Los Angeles Unified School District to re‐launch abandoned
  arts education programs in local schools. Arranged for an arts teacher to receive a lifetime achievement award
  at the Kennedy Center.

  Other Community Service and Charitable Work. Conduct visiting lectures on the art and history of photography
  for elementary school students in the Los Angeles Unified and Pasadena Unified School Districts. Judge
  photography exhibitions at the high school, college, and amateur, and professional levels. Photograph pro‐bono
  or reduced‐fee public service campaigns for charitable organizations such as the LA Times “Reading by Nine”
  program, Jewish Family Services, Motion Picture and Television Fund, United Way, and others. Volunteered time
  to leadership in the Boy Scouts and public schools. Donated original photographic prints to each of the Focus on
  Aids annual fundraising auctions 1987‐2003, Woodcraft Rangers, Pediatric Aids Foundation, and other vital
  charitable organizations.

  Boy Scouts of America, Eagle Scout, 1972‐1977.

  Academic

  Continuing Education, 1986‐Present. Attends workshops and seminars on business, legal and technical issues
  affecting photographers, illustrators, designers, and other visual creators, with an emphasis on intellectual
  property, business management, stock photography, and digital technology courses. Consults with
  manufacturers and distributors in testing new equipment and software applications to stay abreast of the latest
  developments in digital imaging, design, and manufacturing technologies.

  Brooks Institute, 2008, MFA, HC.

  Art Center College of Design, 1986, BFA.

  University of California at Santa Barbara, 1980‐1983, Liberal Studies major with emphasis in Art, Art History,
  Economics, Business Management.




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                                     EXHIBIT B
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                                              MATERIALS CONSIDERED


          Type                                            Description                                        Reference

Complaint             First Amended Complaint
Motion                Motion to Strike
Opp                   Opposition to Motion to Strike
Reply                 Reply re Motion to Strike
Order                 Order on Motion to Strike
Answer                Answer
Produced doc          Rhapsody release fully executed                                                     CARTER0004466
Depo Transcript/exs   Kareem Biggs Burke deposition transcript and exhibits
Depo Transcript/exs   Shawn Carter deposition transcript and exhibits
Depo Transcript/exs   Jeff Kempler deposition transcript and exhibits
Depo Transcript/exs   Harold Richard Patrick deposition transcript and exhibits
Depo Transcript/exs   Leonard Santiago deposition transcript and exhibits
Rog responses         211210_001_Plaintiff's O&R to Mannion 1st Set of Rogs
Rog responses         211210_002_Plaintiff's O&R to Mannion Photography 1st Set of Rogs
RFP responses         211210_003_Plaintiff's O&R to Defs. 1st Set of RFPs.
Rog responses         211215_001_Defts' Objections and Responses to Pltf's First Set of Interrogatories
RFP responses         211215_002_Defts' Objections and Responses to Pltf's First Set of Requests for
                      Production
RFA responses         211215_003_Defts' Objections and Responses to Pltf's First Set of Requests for
                      Admission
RFA responses         220119_Pl's O&R 1st Set of RFAs
RFA responses         220127_Mannion'sAmended Responses to Pltf's RFA Nos. 13 & 16
Rog responses         220202_001_Pls Supp O&R Mannion 1st Set of Rogs
RFA responses         220211_PI Supp O&R 1st Set RFAs
Rog responses         220214_001_Defts' Suppl. Response to Interrogatory No. 1.
Rog responses         220217_001_Pltf's Second Supp Resps Mannion Rogs
Rog responses         220218_001_Defts' Second Supplemental Response to Interrogatory No. 1
RFP responses         220224_Defts' Object. & Resps. to Pltf's Second Set RFPs
RFP responses         220307_001_Defts' Object. & Responses to Pltf's Third Set of RFPs
RFA responses         220307_002_Defts' Object. & Responses to Pltf's Second Set of RFAs
Rog responses         220307_003_Defts' Object. & Responses to Pltf's Second Set of Interrogatories
RFA responses         220307_006_Pltf's O&R 2d Set of RFAs
Produced doc          Def Jam UMG invoice                                                                 MANNION001067
Produced doc          Fame Wall Tee product page                                                          MANNION000307
Produced doc          Got You All product page                                                            MANNION000329
Produced doc          Chess product page                                                                  MANNION000360
Produced doc          Yankee product page                                                                 MANNION000434
Produced doc          RD Jay-Z product page                                                               MANNION000438
Produced doc          Last Laugh product page                                                             MANNION000479
Produced doc          S. Carter usage                                                                     MANNION000863
Produced doc          Rocawear 10th Anniversary use                                                       MANNION000866
Produced doc          Collection of invoices                                                              MANNION000915
Produced doc          Spiegel Grau agmt                                                                   MANNION000938
Produced doc          Random House agmt                                                                   MANNION000940
Produced doc          BET invoice                                                                         MANNION000947
Produced doc          tour merch negotiations Ohwesnere email                                             MANNION000987
Produced doc          Revolt invoice                                                                      MANNION001159
Produced doc          email parent WAM invoice                                                            MANNION001481
Produced doc          WAM invoice                                                                         MANNION001486
Produced doc          WAM email                                                                           MANNION009232
Produced doc          WAM print purchase                                                                  MANNION009296
Produced doc          Ohneswere email                                                                     MANNION010942
Produced photo        Jay Z Special Edition Tattoo photo                                                  MANNION001140
Produced photo        misc scans Jay-Z photos1                                                            MANNION001826
Produced photo        misc scans Jay-Z photos2                                                            MANNION001827
Produced photo        misc scans Jay-Z photos3                                                            MANNION001828
Produced photo        misc scans Jay-Z photos4                                                            MANNION001832
Produced photo        Chess Not Chckers photo                                                             MANNION004334
Produced photo        Beyond a Reasonable Doubt photo                                                     MANNION005687
Produced photo        Jay-Z photo                                                                         MANNION008235
Produced photo        Jay Z Godfather photo                                                               MANNION008243
Produced photo        Vol 2 Hard Knock Life cover photo                                                   MANNION009251



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Produced photo       The Blueprint cover photo                          MANNION009252
Produced photo       Jay Z Pano Car photo                               MANNION009338
Produced doc         Mannion licensing list (2020)                      MANNION010330
Produced doc         Mannion Client List (2018)                         MANNION009676
Photo on website     Biggy Palladium Party                              NA
Photo on website     Cash Money                                         NA
Photo on website     Ice Cube                                           NA
Photo on website     Kanye                                              NA
Photo on website     Lil Wayne                                          NA
Photo on website     LL Cool J                                          NA
Photo on website     Yasiin Bey                                         NA
Photo on website     Nikki Minaj                                        NA
Photo on website     Ol Dirty Bastard                                   NA
Photo on website     Outkast                                            NA
Photo on website     Rick Ross                                          NA
Photo on website     Usher                                              NA
Photo on website     Missy Elliot                                       NA
Photo on website     Crown Royal Big Boi                                NA
Photo on website     The Game: The Documentary                          NA
Photo on website     DJ Khaled: Major Key                               NA
Photo on website     Eminem: The Eminem Show                            NA
Photo on website     Hennessy DJ Chino                                  NA
Photo on website     Beckham                                            NA
Photo on website     Ja Rule: The Last Temptation                       NA
Photo on website     BMW ad                                             NA
Produced doc         Neg log                                            NA
Photo from Mannion   Dr. Dre                                            NA
Photo from Mannion   Tony Hawk                                          NA
Photo from Mannion   Gary Clark Jr.                                     NA
Photo from Mannion   Diddy                                              NA
Photo from Mannion   Snoop Dogg                                         NA
Photo from Mannion   Diddy 2                                            NA
Photo from Mannion   Dr. Dre 2                                          NA
Photo from Mannion   Aaliyah                                            NA
Photo from Mannion   Diddy 3                                            NA
Photo from Mannion   Snoop Dogg 2                                       NA
Photo from Mannion   Travis Scott                                       NA
Photo from Mannion   DMX Flesh of my flesh photo                        NA
Photo from Mannion   Eminem 2                                           NA
Photo from Mannion   Aaliyah 2                                          NA
Photo from Mannion   Kobe Bryant                                        NA
Photo from Mannion   Bushmills Aaron Paul ad                            NA
Photo from Mannion   Crown Royal Big Boi                                NA
Photo from Mannion   Deweezy Mountain Dew                               NA
Photo from Mannion   Deweezy Mountain Dew 2                             NA
Photo from Mannion   Gucci Mane                                         NA
Photo from Mannion   Shaq                                               NA
Photo from Mannion   Drake Fader cover                                  NA
Photo from Mannion   Kanye Fader cover                                  NA
Photo from Mannion   Eminem XXL cover                                   NA
Photo from Mannion   Baby and Lil Wayne XXL cover                       NA
Photo on website     Jay-Z Vol. 1 - In My Lifetime cover                NA
Photo on website     Jay-Z The Black Album cover                        NA
Photo on website     Jay-Z The Blueprint cover                          NA
Photo on website     Jay-Z The Dynasty cover                            NA
Photo on website     Jay-Z Vol. 1 - Hard Knock Life cover               NA
Photo on website     Jay-Z Vol. 3 - Life and Times of S. Carter cover   NA
Photo on website     Jay-Z Reasonable Doubt cover                       NA
Photo on website     Got You All In Check photo                         NA
Photo on website     New Blue Yankee photo                              NA
Photo on website     Last Laugh photo                                   NA
Photo                Dynasty eye in hands photo                         NA
Photo                Dynasty photo                                      NA
Photo                Stress Magazine 1                                  NA
Photo                Stress Magazine 2                                  NA
Photo                Marcy Jay                                          NA




                                                                                        2
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Photo                 Raiders hat                                               NA
Photo                 Concert                                                   NA
Photo                 Blueprint 1 shoot                                         NA
Photo                 Blueprint 1 shoot 2                                       NA
Photo                 Hustler hoodie                                            NA
Photo                 Blueprint 1 shoot 3                                       NA
Photo                 Vol 1 cover photo                                         NA
Photo                 Vol 2 shoot                                               NA
Photo                 Marcy Jay 2                                               NA
Photo                 Fade to Black poster image                                NA
Produced doc          Neg Log                                                   MANNION005943
Produced doc          Client List Updated                                       MANNION009676
Depo Transcript/exs   Jonathan Mannion Depo Transcript and Exhibits             NA
                      Telephonic Interview of Jonathan Mannion March 10, 2022
                      Websites identified in Report




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            1                               PROOF OF SERVICE
            2 STATE OF CALIFORNIA

            3 COUNTY OF LOS ANGELES

            4       I am employed in the County of Los Angeles, State of California. I am over
              the age of 18 and not a party to the within action. My business address is 707
            5 Wilshire Boulevard, Suite 3850, Los Angeles, CA 90017.

            6          On the date below, I served the foregoing document(s), described as
            7           PRELIMINARY EXPERT REPORT OF PROFESSOR JEFFREY
                                         SEDLIK
            8

            9          By placing  the original  true copies thereof enclosed in sealed
                envelopes addressed as follows:
           10
                                       SEE ATTACHED SERVICE LIST
           11

           12  (VIA ELECTRONIC SERVICE) The document was served via electronic
                transfer upon the parties listed using their e-mail addresses as shown in the
           13   service list. I did not receive, within a reasonable time after the transmission,
                any electronic message or other indication that the transmission was
           14   unsuccessful.
           15    (FEDERAL) I declare that I am employed in the office of a member of the
                  bar of this Court at whose direction the service was made.
           16

           17         Executed on March 18, 2022, at Los Angeles, California.
           18
                Julie Contreras
           19
                (Type or Print Name)                     Signature
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                                                PROOF OF SERVICE

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            1                                 SERVICE LIST
            2           Shawn Carter, also known as Jay-Z vs. Jonathan Mannion, et al.
            3
                           USDC Central District Case No. 2:21-cv-04848-PA-KS

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                                               PROOF OF SERVICE

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                         Exhibit C
                   March 31, 2022 Rebuttal
                 Expert Report of Jeffrey Sedlik
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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
                                 WESTERN DIVISION




     SHAWN CARTER, also known
     as JAY-Z, an individual,


              Plaintiff,
                                                    Case No. 2:21-cv-04848-PA-KS
          -against-
                                                    Judge: Hon. Percy Anderson


    JONATHAN MANNION, an
    individual, and JONATHAN
    MANNION PHOTOGRAPHY LLC, a
    New York limited liability
    company,


             Defendants.




          REBUTTAL EXPERT REPORT OF PROFESSOR JEFFREY SEDLIK

                                Submitted March 31, 2022




                                     CONFIDENTIAL
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   I have been engaged by defendants Jonathan Mannion (“Mr. Mannion”) and
   Jonathan Mannion Photography LLC (“JMP”) in the above-referenced matter
   (“Matter”) brought by Plaintiff Shawn Carter (“Mr. Carter”) against Mr. Mannion and
   JMP (collectively, “Defendants”) to provide expert testimony as set forth in the
   Preliminary Expert Report of Professor Jeffrey Sedlik, dated March 18, 2022
   (“Preliminary Report”).


   I have been asked by Defendants to provide expert opinion in rebuttal to certain of
   the opinions proffered by Plaintiff’s expert Megan Mahn Miller (“Ms. Miller”) in the
   Expert Witness Report of Megan Mahn Miller (“Miller Report”) dated March 18,
   2022.


   This Rebuttal Report (“Report”) has been prepared in connection with the
   above-referenced matter. Section IV of the Report outlines my opinions. If called
   upon as a witness in this matter, I could and would provide the following testimony.


   I.      QUALIFICATIONS


   My qualifications and publication list are described in the Preliminary Report.


   II.     COMPENSATION


   My compensation is described in the Preliminary Report.


  III.     MATERIALS CONSIDERED


   In addition to my personal knowledge, my opinions are based on an independent
   examination of documents and materials listed in Exhibit A. Should additional
   relevant information come to light, I respectfully reserve the right to amend or
   supplement my opinions as necessary.


   If called upon as a witness in this Matter, I could and would provide the following
   testimony in rebuttal of the opinions expressed by Ms. Miller in the Miller Report.
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   IV.    REBUTTAL


   A.     Memorabilia and Ms. Miller


          Mr. Mannion is a photographer engaged in creating fine art portraits. His
          works are offered and sold directly and by galleries as fine art. Mr. Mannion
          operates in the fine art world.


          As described in Ms. Miller’s report, Ms. Miller has been a professional in the
          memorabilia industry for more than 16 years.1 Throughout the Miller Report,
          Ms. Miller refers to her experience in the memorabilia industry. Ms. Miller
          operates in the memorabilia world.


          Ms. Miller persistently attempts to misclassify Mr. Mannion’s photographs of
          Mr. Carter (“the Photographs”) as memorabilia, incorrectly conflating
          “memorabilia” and “fine art” as if the two terms are synonymous. This is not
          surprising, given Ms. Miller’s background, experience and training.2 But the
          actual definitions of these two terms are instructive:


          “Memorabilia” (Ms. Miller’s world) is:“objects kept or collected because of
          their historical interest, especially those associated with memorable people
          or events.””3


          “Fine Art” (Mr. Mannion’s world) is: ”creative art, especially visual art whose
          products are to be appreciated primarily or solely for their imaginative,
          aesthetic, or intellectual content; OR, an activity requiring great skill or
          accomplishment.”     4




   1
     Expert Qualifications, Megan Mahn Miller; Miller Report at ¶ 21-23.
   2
     Id.
   3
     "Memorabilia." Powered by Oxford Lexico, Lexico.com, 2022,
   www.lexico.com/en/definition/memorabilia, March 30, 2022.
   4
     "Fine Art." Powered by Oxford Lexico, Lexico.com, 2022,
   www.lexico.com/en/definition/fine_art, March 30, 2022.
                                                  2
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          In Ms. Miller’s world, the association of an object with a memorable person
          (or event) is the primary factor in establishing that an object has value.
          Examples of memorabilia offered and sold by Ms. Miller’s former employer
          Julien’s Auctions, presented below, are further instructive.5




   5
    Elvira: https://www.julienslive.com/auctions/catalog/id/371; James Brown:
   https://www.julienslive.com/lot-details/index/catalog/365/lot/158378; Stallone:
   www.julienslive.com/auctions/catalog/id/400?page=10; Robert Evans:
   www.julienslive.com/auctions/catalog/id/422


                                                3
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      In Ms. Miller’s world, market value is derived in greatest measure from the
      strength of an object’s association with a person. Elvira’s Girl Scout
      membership card, a ball signed by James Brown, Sly Stallone’s polo pants,
      and Robert Evans’ boudoir lamp are all memorabilia objects, each deriving its
      market value from the strength of its connection to a celebrity.


      In my experience, the aesthetic qualities and authorship of a memorabilia
      object are typically secondary to the identity of the celebrity with whom the
      object is associated, and the strength of the object’s association to that
      celebrity. While it is true that certain photographs may fall within the universe
      of objects that may be deemed a memorabilia object, buyers in that market
      are typically more concerned with the strength of a photograph’s connection
      to a celebrity — where the photograph depicts a celebrity, is authored by a
      celebrity, or was once owned by or autographed by a celebrity — rather than
      the aesthetic qualities of the photograph, the creative expression in the
      photograph, or the identity of the photographer. In other words, in Ms.



                                          4
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       Miller’s world of memorabilia, even the worst photographs may hold
       significant value, purely by strength of connection to a celebrity.


       Given that Ms. Miller has spent her entire career evaluating, appraising,
       offering and selling objects on the strength of their association with
       celebrities, it is unsurprising that Ms. Miller evaluates Mr. Mannion’s
       Photographs in the same manner, opining that the value of Mr. Mannion’s
       Photographs is derived from the association of those Photographs with Mr.
       Carter, not from the strength of Mr. Mannion’s creative expression in the
       Photographs. In reference to the value of Mr. Mannion’s Photographs of Mr.
       Carter at issue in this Matter, Ms. Miller opines:


                  The reason these photographs have the commercial appeal they do is
                  because they depict Jay-Z.6


                  If the celebrity aspect were removed, so too would the marketability
                  and economic value...7


                  ...members of the public purchase products such as the prints
                  depicting Jay-Z that Mannion is selling because they feel a connection
                  to the celebrity when viewing those product8


                  Their marketability and economic value are derived primarily from
                  their inclusion of Jay-Z.9


                  ...members of the public are buying these prints primarily because of
                  Jay-Z’s fame and celebrity...10




6
  Id. at ¶ 19.
7
  Id.
8
  Id.
9
  Id.
10
   Id. at ¶ 21.
                                                5
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                    …the photos he has taken are, in my opinion, primarily purchased by
                    the general public because of their subjects: celebrities.11


                    …members of the public purchase prints of photographs of Jay-Z and
                    other celebrities from Mannion’s website primarily because of the
                    fame of the celebrity depicted — not because Mannion was the
                    photographer.1 2


                    …these photographs still, in my opinion, derive their primary
                    marketability and economic value from the fame of the celebrity (or
                    celebrities) depicted.13


                    …these additional photographs of Jay-Z, like the photographs in
                    paragraph 5 above, derive their primary marketability and economic
                    value from the fame and celebrity of Jay-Z (and/or the other
                    celebrities depicted).14


          Ms. Miller’s opinions are fatally flawed by incorrect application of a
          memorabilia market valuation standard and methodology to Mr. Mannion’s
          photographs, notwithstanding that Mr. Mannion operates in the fine art
          marketplace and has never operated in the memorabilia marketplace.


          The memorabilia and fine art marketplaces are vastly different worlds, with
          different customers who have different desires and different purchasing
          criteria. For example, the legendary photographer Irving Penn is recognized
          worldwide as one of the great masters of photography. His work focused on
          portraiture and fashion. His portrait subjects included the most famous
          celebrities in the world — actors, artists, poets, authors, royalty, musicians
          and others. And yet, the record price paid at auction for a print of one of
          Penn’s works was not for a celebrity portrait. In a 2018 auction held by
          auction house Christie’s New York, a 19” x 19” print of Penn’s 1948 portrait

11
     Id. at ¶ 23.
12
     Id. at ¶ 22.
13
     Id. at ¶ 26.
14
     Id.
                                                 6
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         “Cuzco Children” brought a record price of $529,000.1 5 Below is a copy of
         that portrait, together with examples of Penn’s iconic celebrity portraits.




                                  Cuzco Children, 1948 by Irving Penn




           Miles Davis 1986    Truman Capote 1965    Robert DeNiro 1993   Pablo Picasso 1957


         While nearly all of Penn’s celebrity portrait subjects were world renowned,
         and while each of their likenesses is immediately recognizable in the
         photographs, their widespread fame and popularity was eclipsed by two
         anonymous Peruvian children in tattered clothes standing on a bare tile floor



15
     Christie’s (March 31, 2022) www.christies.com/en/lot/lot-5056795.
                                               7
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          in Cuzco. Clearly, in the fine art marketplace, pricing is not driven by the
          identity of celebrity subjects.


          In evaluating Mr. Mannion’s Photographs based on her knowledge and
          experience in the memorabilia marketplace, Ms. Miller fails to contemplate,
          recognize, and attribute the value of Mr. Mannion’s artistic original expression
          in the Photographs. Ms. Miller ignores the fact that in the fine art
          marketplace, different photographs of the same celebrity can and often do
          have different values determined in great measure by the quality of the
          original expression inherent in the depiction of that celebrity, and by the result
          of the photographer’s subjective creative decisions in making the
          photograph.


          In short, contrary to Ms. Miller’s repeated attestations, in Mr. Mannion’s
          marketplace the value of a photograph is not derived exclusively or primarily
          from the subject matter of the photograph. The value of Mr. Mannion’s
          Photographs is derived substantially from Mr. Mannion’s original expression in
          the Photographs.


B.        The Photographs Would Not Exist Without Mr. Mannion, His Creative
          Vision and Original Expression


          In reference to Mr. Mannion’s Photographs of Mr. Carter at issue in this
          Matter, Ms. Miller opines:


                    The photographs would not exist, as they do today, without the
                    albums Jay-Z recorded and without the popularity and celebrity of
                    Jay-Z.16


          Mr. Mannion exercised his creative vision and artistic capabilities to develop
          concepts, translate meanings and purposes, pre-visualize solutions, and
          make innumerable subjective decisions in the creation of the original



16
     Id. at ¶ 19.
                                                8
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          expression existing today as Mr. Mannion’s photographic depictions of Mr.
          Carter.1 7


          Mr. Mannion’s original expression in the Photographs, more fully described in
          the Preliminary Report, was not a mere literal, imitative depiction of Mr.
          Carter’s likeness. Mr. Mannion instead brought meaning, context, message,
          and character to the Photographs, translating concepts through expression
          including but not limited to storytelling and concepting; styling, sets and set
          decoration; locations; subject direction; exposure; depth of field; focal point;
          camera choice; film choice; camera position; camera angle; camera height;
          lens focal length; shift/tilt; composition; foreground, midground,
          background; artificial lighting; natural lighting; mixed lighting; color control;
          texture control; decisive moment; and post-processing.1 8 These subjective
          creative decisions are only a subset of the original authorship exercised by
          Mr. Mannion in creating the Photographs in which Mr. Carter’s likeness was
          raw material; one element among myriad elements considered, selected,
          coordinated, arranged, and synthesized by Mr. Mannion to achieve Mr.
          Mannion’s desired creative expression, which predominates over Mr. Carter’s
          contribution of likeness.

          As described in more detail in the Preliminary Report, “Mr. Mannion made
          countless subjective creative decisions in the course of authoring each
          Photograph of Mr. Carter. These decisions were guided by Mr. Mannion’s
          unique combination of training, experience, personality, aesthetic sensibility,
          memories, and other factors. Mr. Mannion planned for each shoot,
          researching and choosing the locations for their light, textures, storytelling
          potential and use as backgrounds, and selecting equipment necessary to
          achieve the Photographs he previsualized. Mr. Mannion anticipated and
          responded dynamically to the subject matter and shooting environment;
          exercised control over the visual rendition of the scene; decided which
          elements to include or exclude, and where to place those elements within


17
     Telephonic interview of Jonathan Mannion, March 10, 2022 (“Mannion Interview”).
18
     Id.
                                                9
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          the frame; determined how to juxtapose people, objects, and other
          compositional elements for desired effect; controlled the placement and
          interplay of color, tone, contrast, light, and shade; controlled perspective,
          distortion, and selective focus to guide the viewer’s eye through the
          Photograph; and selected the precise moment at which to capture the
          ultimate Photograph… The creation of each Photograph involved a series of
          subjective creative decisions, all aimed at achieving Mr. Mannion’s desired
          expression in the ultimate result. Importantly, the unique expression
          resulting from the combination of subjective decisions made by Mr. Mannion
          is embodied in the Photographs.”


          Ms. Miller’s approach defies logic, as it is irrefutable that the particular
          depictions of Mr. Carter embodied within Mr. Mannion’s Photographs would
          not exist without Mr. Mannion. Had Mr. Carter not engaged Mr. Mannion to
          create the Photographs, Mr. Carter would not be depicted in the unique
          creative contexts that Mr. Mannion conceived and realized in the
          Photographs. Further, at the time that Mr. Mannion was first engaged by Mr.
          Carter, none of the albums referenced by Ms. Miller existed. Mr. Mannion’s
          development and creation of the Photographs served (and continues to
          serve) to visually define those successive albums in the public eye, and to
          establish, develop, and promote Mr. Carter’s public persona and brands.

C.        When You Look at a Photograph, You See the Photograph


          In reference to Mr. Mannion’s Photographs of Mr. Carter at issue in this
          Matter, Ms. Miller opines:


                 …when members of the public look at these photographs, they see
                 Jay-Z...19


          In reality, anyone “looking at” one of Mr. Mannion’s Photographs of Mr. Carter
          is by definition “seeing” Mr. Mannion’s Photograph of Mr. Carter, not Mr.
          Carter himself. In “looking at” Mr. Mannion’s Photograph of Mr. Carter, the

19
     Miller Report at ¶ 17.
                                               10
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          viewer is in fact “seeing” a particular, unique depiction of Mr. Carter, created
          by Mr. Mannion, resulting from Mr. Mannion’s subjective, original expression.


          Ms. Miller apparently fails to understand that professional photographers
          don’t take pictures. They make them.



D.        Ms. Miller’s Opinions Are Founded on Flawed Examples


          Ms. Miller claims that “A number of other photographers who primarily or
          exclusively photograph celebrities have made statements supporting my
          opinions.” To support that claim, she provides quotes about the work of
          three famous photographers: Jim Marshall, Bob Gruen and Henry Diltz. In
          doing so, Ms. Miller takes quotes out of context and mischaracterizes both
          the statements quoted and the photographers’ works.


          The late Jim Marshall was my friend. The estate of Jim Marshall is my client.
          Photographers Bob Gruen and Henry Diltz are my fellow photographers and
          associates. I communicate with the Marshall estate, Mr. Gruen and Mr. Diltz in
          the course of my work in the photography industry. I am personally familiar
          with their works and writings.


          Ms. Miller provided the following quote from Mr. Marshall (emphasis added by
          Ms. Miller):


                 [W]hen someone sees a picture I’ve taken of Merle Haggard or Alice
                 Walker, I think what they see is the subject in the photograph
                 and not a ‘Jim Marshall’ signature piece … [W]hen you see my
                 pictures it’s about the person in the photograph, not me — not
                 the guy behind the lens.20


          Amelia Davis worked closely with Mr. Marshall for many years, assisting Mr.
          Marshall and running his business operations. She is the author or co-author


20
     Miller Report at ¶ 20.a.
                                              11
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       of several of Mr. Marshall’s books. Ms. Davis now owns and runs the Jim
       Marshall estate. I am in regular communication with Ms. Davis. I contacted
       Ms. Davis and asked her if Ms. Miller’s quote could be correctly interpreted as
       to indicate that the value of a photograph of a celebrity arises from the
       celebrity, not the photographer’s creative expression. Ms. Davis replied that
       Ms. Miller had truncated Mr. Marshall’s quote and used it out of context. The
       entirety of the Marshall quote reveals the exact opposite:2 1


              ...when someone sees a picture I’ve taken of Merle Haggard or Alice
              Walker, I think what they see is the subject in the photograph and not
              a “Jim Marshall” signature piece. I think my style is that I don’t have a
              style—I never do anything the same twice. When you see my
              pictures, it’s about the person in the photograph, not me—not the guy
              behind the lens. I want someone to see those people, not my picture
              of them. When I’m able to capture the essence of my subject and
              show something of what they do or reveal who this person is, then
              I've achieved what I want to do.


       Ms. Davis advised that this statement should be interpreted to mean that
       when Mr. Marshall — a master photographer and a legend in the photography
       community — was successful in applying his artistic skills to create original
       expression in a portrait, the photographer’s efforts would be transparent to a
       viewer of the resulting photograph. In other words, the Marshall quote
       chosen by Ms. Miller disproves her opinions, as it is the photographer, not the
       celebrity, who achieves the goal of creating a successful photograph.


       Ms. Davis also provided the below statement, written by actor Michael
       Douglas, excerpted by Ms. Davis from the foreward of Not Fade Away: The




21
  See Exhibit B. E-mail exchange with Amelia Davis, Owner, Jim Marshall Photography LLC,
(March 31, 2022); E-mail exchange with Bob Gruen, photographer, (March 31, 2022); E-mail
exchange with Henry Diltz, photographer, (March 31, 2022); E-mail exchange with Timothy
White, photographer and co-owner, Morrison Hotel Gallery, (March 31, 2022). (“Sedlik E-mail
Correspondence with Photographers”).
                                             12
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      Rock n’ Roll Photography of Jim Marshall, the same book quoted by Ms.
      Miller in the Miller Report:2 2


             Jim’s pictures of the music makers are extraordinary for many
             reasons. As a human being and an artist, he has never shied away
             from honesty. His style is very “in your face," and yet he inspires trust
             and confidence in the people he photographs, and the shared intimacy
             is caught in the millisecond. And there it is forever… There’s a quality
             to Marshall’s work that encapsulates an essence of “Hey, baby, we’re
             all in this together. Let's try to look after one another.” His images are
             at once larger than life and yet private and off-guard. His photographs
             genuinely remind us that the performers are human and, in many
             cases, lonely wanderers. Whether it is a glimpse of Carlos Santana
             meditating on a guitar riff in the middle of a Cinco de Mayo crowd, or
             Janis Joplin alone backstage, Jim always manages to capture the
             vulnerability of the performer.


      In the reference to the book from which Ms. Miller quoted, musician Carlos
      Santana wrote of Jim Marshall:


             In the same way that you can't separate John Coltrane or Miles Davis
             from their music, you can't separate Jim Marshall from his
             photographs. He captures the soul of each musician and immortalizes
             us in liquid light.23


      Ms. Miller provided the following quote from Bob Gruen’s website (emphasis
      added by Ms. Miller):




22
  Id.
23
    Carlos Santana, Jim Marshall Photography LLC (March 31, 2022, 12:15 AM),
https://www.jimmarshallphotographyllc.com/not-fade-away-rock-roll-photography-jim-marsh
all
                                          13
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                …he is “one of the most well-known and respected photographers in
                Rock and Roll” and that “[b]y the mid ‘70s he was already regarded as
                one of the foremost documenters of the scene…”24


         With her emphasis on “documenters” in the quote, Ms. Miller appears to
         imply that master photographers like Mr. Gruen are nothing but mindless
         drones equipped with shutter fingers. I contacted Mr. Gruen to ask if Ms.
         Miller’s quote should be understood to indicate that Mr. Gruen merely
         “documented” scenes that he encountered through the decades. Mr. Gruen
         explained that Ms. Miller’s interpretation is incorrect, and that in Mr. Gruen’s
         view, he — as the photographer — creates the original expression and value
         in the photograph through myriad subjective creative decisions. He explained
         that the value of a photograph arises from the photographer’s expression of
         the celebrity, and not from the fact that a celebrity is depicted in the
         photograph. He further explained that the text on the website (which was
         written by his publicist) should not be interpreted to indicate that Mr. Gruen
         merely recorded the scene, but should instead be interpreted to mean that
         Mr. Gruen is a visual storyteller and that collectively his photographs — each
         of which result from his substantial original expression — tell the story of our
         times.2 5


         Ms. Miller provided the following quote from Henry Diltz’s biography at the
         Morrison Hotel Gallery website (emphasis added by Ms. Miller):


                Mr. Diltz is “an extraordinary rock n’ roll photographer unlike any
                other,” “a visual historian of the last four decades of popular music,”
                and that he has “generat[ed] new and vibrant photographs that inspire
                the rock n’ roll fan in each of us.”   26




         I contacted Mr. Diltz and asked him about Ms. Miller’s quote, which is not
         attributed to him on the gallery website. I asked Mr. Diltz if he considers


24
     Miller Report at ¶ 16.b.
25
     See Exhibit B. (“Sedlik E-mail Correspondence with Photographers”)
26
     Miller Report at ¶ 19.c.
                                               14
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         himself to be a visual historian. Mr. Diltz explained that a truly successful
         photograph can create history, and that rather than merely memorializing a
         person or scene, he interacts with his subject to create a visual moment that
         would not have otherwise existed, then exercises his artistic skills to create
         original expression. Mr. Diltz emphasized to me that the value of a
         photograph is derived from and determined by the photographer’s creative
         approach in depicting the subject and scene, and not from the subject
         (celebrity or otherwise) depicted in a photograph.      27




         I then contacted Timothy White, celebrity photographer and co-owner of the
         Morrison Hotel Gallery with Mr. Diltz and others. I asked Mr. White for his
         view (as a leading gallerist) on the photographs of Mr. Marshall, Mr. Gruen,
         Mr. Diltz and Mr. Mannion. Mr. White explained that, in his view, the value of
         the work of all four photographers — as well as Mr. White’s own photographs
         — arises from the creative expression of the photographer, not from the
         person depicted in the photograph. He explained that every photograph of a
         celebrity is unique to the photographer and that the photographer’s vision
         shapes the creative result. Mr. White also confirmed that Mr. Mannion is a
         renowned and respected photographer, and advised that based on the high
         quality of Mr. Mannion’s works, he expects the value of those works to
         appreciate considerably over time.2 8


E.       Ms. Miller is Confused about the Relevance of Titles in Photography


         In reference to Mr. Mannion’s titling of Photographs of Mr. Carter at issue in
         this Matter, Ms. Miller opines:


                ...Mannion is advertising each of these photos with Jay-Z’s name as
                the first word in the title, such as “Jay-Z ‘Prayer Hands’ Print” and
                “Jay-Z ‘New Blue Yankee’ Print...”29



27
     See Exhibit B. (“Sedlik E-mail Correspondence with Photographers”)
28
     See Exhibit B. (“Sedlik E-mail Correspondence with Photographers”)
29
     Miller Report at ¶ 17.
                                               15
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                    …this type of titling or labeling helps with search-engine optimization.
                    Including a celebrity’s name in the title of the item being offered for
                    sale, as Mannion is doing, increases the likelihood that a person
                    searching for items associated with that celebrity will be directed to
                    the item being offered for sale and purchase it.30


                    …Mannion appears to have titled most of these photographic prints so
                    that the public will associate them with Jay-Z by using titles that refer
                    to Jay-Z explicitly or by referring to Jay-Z’s albums, such as the
                    “Black Album” and “Hard Knock Life V2.”31


          While sensationalist, promotional titling may be commonplace in her
          memorabilia industry, Ms. Miller apparently lacks understanding of titling
          practices in fine art photography. Photographers typically assign descriptive
          titles to their works. A photograph of a person is often titled with that
          person’s name, or a narrative title referencing the photograph’s concept,
          location captured, theme, gesture, or other subject matter references.
          Where a photograph is initially used by a particular client or in a particular
          project or body of work, a photographer may reference the names of the
          client, project, job, or body of work in the title. These titles are often derived
          for ease of reference in discussions with clients, staff, gallerists and others
          regarding the photographs, and to simplify filing of negatives, prints, proof
          sheets, files and business records.


          It is that simple. With a reasonable degree of certainty based on my
          knowledge, training and experience, any references to Mr. Carter and Mr.
          Carter’s albums in the titles of Mr. Mannion’s Photographs are descriptive,
          narrative references for practical, utilitarian purposes, and provide no
          indication that Mr. Mannion believes that the value of his Photographs is
          derived from Mr. Carter’s name or likeness. Ms. Miller’s focus on Mr.
          Mannion’s Photograph titles is misplaced.



30
     Id. at ¶ 18.
31
     Id. at ¶ 26.
                                                 16
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F.     Ms. Miller is Confused about Editions


       In reference to Mr. Mannion’s practice of offering open edition prints, Ms.
       Miller opines:


              From reviewing Mannion’s website and sales records, I understand
              that, of the prints depicting Jay-Z he has sold, they are predominantly
              “open edition” prints.32


       I understand from Mr. Mannion that this is correct.3 3


              Open edition prints are handled differently by different photographers,
              estates, and galleries.34


       I agree.


              Traditionally, open editions are unnumbered, not signed by the
              photographer, do not come with a certificate of authenticity, and the
              number that a photographer may create and sell is unlimited. Some
              outlets, however, do sign and number open editions; it appears that
              Mannion does this.35


       I disagree. Based on my experience and personal knowledge, some
       photographers number, and the vast majority of photographers sign, their
       open edition prints. Some photographers offer certificates or letters of
       authenticity when selling open edition prints. I understand that Mr. Mannion
       has signed and numbered open edition prints.3 6 Ms. Miller’s experience in her
       memorabilia industry is understandably different from Mr. Mannion’s or my
       own experience in the fine art photography business.




32
   Miller Report at ¶ 12.
33
   Mannion Interview.
34
   Miller Report at ¶ 12.
35
   Id.
36
   Matute Dep. Tr. 115:5-116:25.
                                          17
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                 Open edition prints are good for memorabilia collectors who are not
                 concerned about the artistic merit of a photo and may simply desire
                 an image of their favorite celebrity. In my experience, open edition
                 prints are often purchased by less sophisticated collectors and persons
                 who are less concerned with the re-sale value of the print.37


          I agree with Ms. Miller as to the desires and priorities of memorabilia buyers. I
          disagree with Ms. Miller as to the sophistication of collectors who purchase
          open edition prints. Many photographers and their estates do not offer
          limited edition prints, or they may offer limited edition prints of only certain
          photographs. In many cases, limited editions of prints of certain photographs
          sold out long ago and are no longer available. For these reasons, in my
          experience, even the most sophisticated buyers of fine art photography seek
          out and purchase open edition prints without hesitation.


                 Unlike open edition prints, limited edition prints have a fixed number of
                 prints from the beginning of a print run. The number of limited edition
                 prints is selected by the photographer before production, and no more
                 can be created for that specific edition after they are all sold.38


          In my experience, with respect to fine art prints, photographers do not use
          the term “print run.”That may be a term frequently employed in Ms. Miller’s
          memorabilia industry, but is not generally used in the fine art industry, except
          to refer to a press run for a book, newsletter, magazine, catalog or similar
          publications. Many photographers offer multiple, separate limited editions of
          individual photographs, varying the size, border width, printing method or
          other characteristics for each edition.




37
     Miller Report at ¶ 13.
38
     Id. at ¶ 14.
                                                18
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G.       Ms. Miller is Confused About Fine Art Photography Pricing


         Ms. Miller opines that “Fine art galleries are generally not transparent on their
         pricing, so I am unable to say, in an apples-to-apples manner, what retail
         prices are charged for prints of a certain photographer’s work.”        39




         In my experience, fine art galleries are transparent on their pricing. In my
         experience, Ms. Miller could simply call any gallerist, ask for the price at which
         the gallerist will sell a particular print, and the gallerist will gladly provide that
         pricing information. Despite this, Ms. Miller claims that she was forced to
         “look to the secondary auction market” for print pricing.4 0 While auction
         prices can be a touchpoint for evaluating fine art photography, they are in my
         experience inaccurate measures in isolation. Nearly any photography gallerist
         will confirm that auction pricing is typically significantly lower than gallery
         pricing, but that there are additional costs and risks associated with auction
         purchases. Ms. Miller erred in failing to contact galleries to obtain pricing
         information to support her analysis. Further, Ms. Miller erred in failing to seek
         out pricing for prints of photographs of Mr. Carter, as offered by various
         galleries.


         In my experience, pricing in the fine art photography marketplace is affected
         by numerous factors. As discussed at length above, unlike the pricing in the
         memorabilia marketplace, pricing in the fine art marketplace is not
         determined by the strength of the association of the photograph with a
         celebrity, and is instead determined in great measure by the aesthetic
         qualities of the photograph, and by the photographer. Market pricing for
         various photographers’ works varies widely, as does pricing for various
         works of a particular photographer.


         With respect to Mr. Mannion’s photographs, I understand from Mr. Mannion
         that he only recently began to offer prints of his works for sale.4 1 I further


39
     Id. at ¶ 24.
40
     Id.
41
     Mannion Interview
                                                19
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       understand from Mr. Mannion that he desires to make his creative works
       accessible to collectors — including to collectors with limited funds — and that
       for this reason, he elected to offer and sell prints of some of his works for as
       little as $50, in particular during the Covid epidemic.4 2 It is my further
       understanding that Mr. Mannion’s pricing for his “Saturday Edition Prints” does
       not differentiate the value of Mr. Mannion’s Photographs of Mr. Carter from
       Mr. Mannion’s photographs of other music artists.4 3


H.     Ms. Miller is Confused About Mr. Mannion’s Relative Market Position


       Ms. Miller opines at length about a number of photographers, their fame and
       recognition relative to Mr. Mannion.


       About Gordon Parks, Ms. Miller opines “Gordon Parks is an example of a
       photographer who is well respected and considered a ‘fine art’
       photographer.”   44
                             Ms. Miller is apparently unfamiliar with Mr. Parks, his life and
       work. Mr. Parks was one of the great photojournalists of our time. The fact
       that his photojournalistic and documentary work is respected and collected
       as fine art does not magically transform Mr. Parks into a ”fine art
       photographer.” Ms. Miller is confused about Mr. Parks and his work.


       Ms. Miller’s focus on pricing of the works of Mr. Parks and photographer
       Milton Greene4 5 is also misplaced. Mr. Parks’ most popular works were
       created between 60 and 80 years ago, and Mr. Greene’s most popular works
       were created 50 to 60 years ago. By contrast, most of Mr. Mannion’s works
       were created within the last 20 years, and his best work may be yet to
       come. It is common for a photographer’s works to achieve maximum
       recognition and value many decades after creation. For that reason, market
       pricing for the works of Mr. Parks and Mr. Greene is an inaccurate measure of
       the relative value of Mr. Mannion’s works.



42
   Miller Report at ¶ 21. And, Mannion Dep. 77:17–78:9, March 13, 2022.
43
   MANNION000510; MANNION000516.
44
   Miller Report at ¶ 23.
45
   Id. at ¶ 16.c.
                                              20
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          Ms. Miller suggests that Mr. Mannion is not a successful photographer
          because he is not represented by “fine art galleries,”   46
                                                                        (apparently
          overlooking his relationship with the Morrison Hotel Gallery), and because Mr.
          Mannion elects to price some of his works for public accessibility. Ms. Miller
          overlooks Mr. Mannion’s reputation as the photographer who not only
          defined the genre of hip-hop photography, but is widely acknowledged and
          respected as a master of that genre, and of interpretive portraiture in
          general.


VI.     RIGHT TO SUPPLEMENT


My opinions hereinabove are to a reasonable degree of certainty for a photography
licensing and copyright expert, based on my training, education, knowledge
experience, and review of the materials listed in Materials Considered (Exhibit A). I
understand that Mr. Carter may offer additional expert testimony to support Mr.
Carter’s claims in the Matter, and I expect that additional information and
documents may come to light subsequent to my submission of the Report. If
requested by Defendants, I may offer supplemental reports and/or additional
rebuttal testimony to the opinions expressed by Mr. Carter and Mr. Carter’s experts,
in accordance with the Court’s scheduling order.


Respectfully Submitted,




_______________________________                    March 31, 2022
Professor Jeffrey Sedlik




46
     Id. at ¶ 11.
                                              21
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A     Materials Considered

B     Sedlik Email Correspondence wtih Photographers
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                                  EXHIBIT A
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                                      #:5887

                                              MATERIALS CONSIDERED


          Type                                            Description                                        Reference

Complaint             First Amended Complaint
Motion                Motion to Strike
Opp                   Opposition to Motion to Strike
Reply                 Reply re Motion to Strike
Order                 Order on Motion to Strike
Answer                Answer
Produced doc          Rhapsody release fully executed                                                     CARTER0004466
Depo Transcript/exs   Kareem Biggs Burke deposition transcript and exhibits
Depo Transcript/exs   Shawn Carter deposition transcript and exhibits
Depo Transcript/exs   Jeff Kempler deposition transcript and exhibits
Depo Transcript/exs   Harold Richard Patrick deposition transcript and exhibits
Depo Transcript/exs   Leonard Santiago deposition transcript and exhibits
Rog responses         211210_001_Plaintiff's O&R to Mannion 1st Set of Rogs
Rog responses         211210_002_Plaintiff's O&R to Mannion Photography 1st Set of Rogs
RFP responses         211210_003_Plaintiff's O&R to Defs. 1st Set of RFPs.
Rog responses         211215_001_Defts' Objections and Responses to Pltf's First Set of Interrogatories
RFP responses         211215_002_Defts' Objections and Responses to Pltf's First Set of Requests for
                      Production
RFA responses         211215_003_Defts' Objections and Responses to Pltf's First Set of Requests for
                      Admission
RFA responses         220119_Pl's O&R 1st Set of RFAs
RFA responses         220127_Mannion'sAmended Responses to Pltf's RFA Nos. 13 & 16
Rog responses         220202_001_Pls Supp O&R Mannion 1st Set of Rogs
RFA responses         220211_PI Supp O&R 1st Set RFAs
Rog responses         220214_001_Defts' Suppl. Response to Interrogatory No. 1.
Rog responses         220217_001_Pltf's Second Supp Resps Mannion Rogs
Rog responses         220218_001_Defts' Second Supplemental Response to Interrogatory No. 1
RFP responses         220224_Defts' Object. & Resps. to Pltf's Second Set RFPs
RFP responses         220307_001_Defts' Object. & Responses to Pltf's Third Set of RFPs
RFA responses         220307_002_Defts' Object. & Responses to Pltf's Second Set of RFAs
Rog responses         220307_003_Defts' Object. & Responses to Pltf's Second Set of Interrogatories
RFA responses         220307_006_Pltf's O&R 2d Set of RFAs
Produced doc          Def Jam UMG invoice                                                                 MANNION001067
Produced doc          Fame Wall Tee product page                                                          MANNION000307
Produced doc          Got You All product page                                                            MANNION000329
Produced doc          Chess product page                                                                  MANNION000360
Produced doc          Yankee product page                                                                 MANNION000434
Produced doc          RD Jay-Z product page                                                               MANNION000438
Produced doc          Last Laugh product page                                                             MANNION000479
Produced doc          S. Carter usage                                                                     MANNION000863
Produced doc          Rocawear 10th Anniversary use                                                       MANNION000866
Produced doc          Collection of invoices                                                              MANNION000915
Produced doc          Spiegel Grau agmt                                                                   MANNION000938
Produced doc          Random House agmt                                                                   MANNION000940
Produced doc          BET invoice                                                                         MANNION000947
Produced doc          tour merch negotiations Ohwesnere email                                             MANNION000987
Produced doc          Revolt invoice                                                                      MANNION001159
Produced doc          email parent WAM invoice                                                            MANNION001481
Produced doc          WAM invoice                                                                         MANNION001486
Produced doc          WAM email                                                                           MANNION009232
Produced doc          WAM print purchase                                                                  MANNION009296
Produced doc          Ohneswere email                                                                     MANNION010942
Produced photo        Jay Z Special Edition Tattoo photo                                                  MANNION001140
Produced photo        misc scans Jay-Z photos1                                                            MANNION001826
Produced photo        misc scans Jay-Z photos2                                                            MANNION001827
Produced photo        misc scans Jay-Z photos3                                                            MANNION001828
Produced photo        misc scans Jay-Z photos4                                                            MANNION001832
Produced photo        Chess Not Chckers photo                                                             MANNION004334
Produced photo        Beyond a Reasonable Doubt photo                                                     MANNION005687
Produced photo        Jay-Z photo                                                                         MANNION008235
Produced photo        Jay Z Godfather photo                                                               MANNION008243
Produced photo        Vol 2 Hard Knock Life cover photo                                                   MANNION009251



                                                                                                                          1
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Produced photo       The Blueprint cover photo                          MANNION009252
Produced photo       Jay Z Pano Car photo                               MANNION009338
Produced doc         Mannion licensing list (2020)                      MANNION010330
Produced doc         Mannion Client List (2018)                         MANNION009676
Photo on website     Biggy Palladium Party                              NA
Photo on website     Cash Money                                         NA
Photo on website     Ice Cube                                           NA
Photo on website     Kanye                                              NA
Photo on website     Lil Wayne                                          NA
Photo on website     LL Cool J                                          NA
Photo on website     Yasiin Bey                                         NA
Photo on website     Nikki Minaj                                        NA
Photo on website     Ol Dirty Bastard                                   NA
Photo on website     Outkast                                            NA
Photo on website     Rick Ross                                          NA
Photo on website     Usher                                              NA
Photo on website     Missy Elliot                                       NA
Photo on website     Crown Royal Big Boi                                NA
Photo on website     The Game: The Documentary                          NA
Photo on website     DJ Khaled: Major Key                               NA
Photo on website     Eminem: The Eminem Show                            NA
Photo on website     Hennessy DJ Chino                                  NA
Photo on website     Beckham                                            NA
Photo on website     Ja Rule: The Last Temptation                       NA
Photo on website     BMW ad                                             NA
Produced doc         Neg log                                            NA
Photo from Mannion   Dr. Dre                                            NA
Photo from Mannion   Tony Hawk                                          NA
Photo from Mannion   Gary Clark Jr.                                     NA
Photo from Mannion   Diddy                                              NA
Photo from Mannion   Snoop Dogg                                         NA
Photo from Mannion   Diddy 2                                            NA
Photo from Mannion   Dr. Dre 2                                          NA
Photo from Mannion   Aaliyah                                            NA
Photo from Mannion   Diddy 3                                            NA
Photo from Mannion   Snoop Dogg 2                                       NA
Photo from Mannion   Travis Scott                                       NA
Photo from Mannion   DMX Flesh of my flesh photo                        NA
Photo from Mannion   Eminem 2                                           NA
Photo from Mannion   Aaliyah 2                                          NA
Photo from Mannion   Kobe Bryant                                        NA
Photo from Mannion   Bushmills Aaron Paul ad                            NA
Photo from Mannion   Crown Royal Big Boi                                NA
Photo from Mannion   Deweezy Mountain Dew                               NA
Photo from Mannion   Deweezy Mountain Dew 2                             NA
Photo from Mannion   Gucci Mane                                         NA
Photo from Mannion   Shaq                                               NA
Photo from Mannion   Drake Fader cover                                  NA
Photo from Mannion   Kanye Fader cover                                  NA
Photo from Mannion   Eminem XXL cover                                   NA
Photo from Mannion   Baby and Lil Wayne XXL cover                       NA
Photo on website     Jay-Z Vol. 1 - In My Lifetime cover                NA
Photo on website     Jay-Z The Black Album cover                        NA
Photo on website     Jay-Z The Blueprint cover                          NA
Photo on website     Jay-Z The Dynasty cover                            NA
Photo on website     Jay-Z Vol. 1 - Hard Knock Life cover               NA
Photo on website     Jay-Z Vol. 3 - Life and Times of S. Carter cover   NA
Photo on website     Jay-Z Reasonable Doubt cover                       NA
Photo on website     Got You All In Check photo                         NA
Photo on website     New Blue Yankee photo                              NA
Photo on website     Last Laugh photo                                   NA
Photo                Dynasty eye in hands photo                         NA
Photo                Dynasty photo                                      NA
Photo                Stress Magazine 1                                  NA
Photo                Stress Magazine 2                                  NA
Photo                Marcy Jay                                          NA




                                                                                        2
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Photo                       Raiders hat                                                                        NA
Photo                       Concert                                                                            NA
Photo                       Blueprint 1 shoot                                                                  NA
Photo                       Blueprint 1 shoot 2                                                                NA
Photo                       Hustler hoodie                                                                     NA
Photo                       Blueprint 1 shoot 3                                                                NA
Photo                       Vol 1 cover photo                                                                  NA
Photo                       Vol 2 shoot                                                                        NA
Photo                       Marcy Jay 2                                                                        NA
Photo                       Fade to Black poster image                                                         NA
Produced doc                Neg Log                                                                            MANNION005943
Produced doc                Client List Updated                                                                MANNION009676
Depo Transcript/exs         Jonathan Mannion Depo Transcript and Exhibits                                      NA
                            Telephonic Interview of Jonathan Mannion March 10, 2022
                            Websites identified in Report
(documents cited by Albert- Re Reasonable Doubt Shoot                                                          CARTER0002524
Levy)
(documents cited by Albert- Adams SC Work for Hire Agreement- Final fully executed (002)(6746927.1).pdf        CARTER0004365
Levy)
(documents cited by Albert- Brand Campaign Agreement Jay Z FINAL Fully Executed Tiffany(6746929.1).pdf         CARTER0004372
Levy)
(documents cited by Albert- Executed BRAND AMBASSADOR AGREEMENT Project Red(5584281.1).pdf                     CARTER0004400
Levy)
(documents cited by Albert- Guest Appearance Contract (Jay-Z) (FE) letterman SC(6746934.1).pdf                 CARTER0004423
Levy)
(documents cited by Albert- No sig - SC Branding LLC fso Shawn Carter pka Jay-Z - Overall - Certificate of     CARTER0004432
Levy)                       Engagement - FE.pdf
(documents cited by Albert- SC Branding PUMA Creative Services Agreement 1.11.21_Fully executed(6746786.1).    CARTER0004436
Levy)                       pdf
(documents cited by Albert- Santiago email                                                                     CARTER0004492
Levy)
(documents cited by Albert- Santiago email                                                                     CARTER0004496
Levy)
(documents cited by Albert- Santiago/Davidov texts                                                             MANNION000870
Levy)
(documents cited by Albert- Edition 50_Chess Not Checkers .xlsx                                                MANNION001107
Levy)
(documents cited by Albert- 0001756.MSG                                                                        MANNION001510
Levy)
(documents cited by Albert- 0002758.MSG                                                                        MANNION001557
Levy)
(documents cited by Albert- DOC000281589.pdf                                                                   MANNION001656
Levy)
(documents cited by Albert- DOC000281596.pdf                                                                   MANNION001661
Levy)
(documents cited by Albert- Jay Z sales_2019-06-15_2022-01-19.csv                                              MANNION001711
Levy)
(documents cited by Albert- Biggs Notes.docx                                                                   MANNION002651
Levy)
(documents cited by Albert- sales_2015-01-19_2022-02-18.csv                                                    MANNION003547
Levy)
(documents cited by Albert- DOC000013011.pdf                                                                   MANNION010093
Levy)
(documents cited by Albert- sales_2016-03-01_2022-02-09 recd from MM 20220209.csv                              MANNION010104
Levy)
(documents cited by Miller) Reasonable Doubt Shoot Notes.jpg                                                   MANNION000013
(documents cited by Miller) 8579416S-shop-jonathanmannion-com-2021-11-30-22-22-10.pdf                          MANNION000360
(documents cited by Miller) 8579484S-shop-jonathanmannion-com-2021-11-30-22-30-08.pdf                          MANNION000434
(documents cited by Miller) 8579487S-shop-jonathanmannion-com-2021-11-30-22-30-33.pdf                          MANNION000438
(documents cited by Miller) 10ae7.eml                                                                          MANNION000998
(documents cited by Miller) Jay Z sales_2019-06-15_2022-01-19.csv                                              MANNION001711
(documents cited by Miller) C-11 160711 20 Years Later_ Behind the Lens of Jay Z’s Reasonable Doubt I News I   MANNION001719
                            BET - www.bet.com.pdf
(documents cited by Miller) Jay Magnet.eps                                                                     MANNION001862
(documents cited by Miller) Biggs Notes.docx                                                                   MANNION002651
(documents cited by Miller) sales_2016-03-01_2022-02-09 recd from MM 20220209.csv                              MANNION010104
cited by Miller and Albert- Deposition of Davidov with exhibits                                                NA
Levy
cited by Miller and Albert- Deposition of Fleishman with exhibits                                              NA
Levy




                                                                                                                               3
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cited by Miller and Albert-   Deposition of Perez with exhibits                                                NA
Levy
cited by Miller and Albert-   Deposition of Burke vol 2 with exhibits                                          NA
Levy
Interview                     Telephonic Interview of Timothy White
Interview                     Telephonic Interview of Amelia Davis
Interview                     Telephonic Interview of Henry Diltz
Interview                     Telephonic Interview of Bob Gruen
Correspondence                Email Correspondence with Photographers (See Exhibit B)
Website                       https://www.juliensauctions.com/
Reports                       Plaintiff Shawn Carter's Initial Disclosure of Expert Witnesses with exhibits
Document                      Printout of "Saturday Edition Prints" from shop.jonnathanmannnion.com (page 1)   MANNION000510
Document                      Printout of "Saturday Edition Prints" from shop.jonnathanmannnion.com (page 2)   MANNION000516
Deposition                    Deposition of Marjoriet Matute with exhibits




                                                                                                                               4
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 From:            AMELIA DAVIS
 To:              expert@sedlik.com
 Subject:         Re: Jim Marshall quote
 Date:            Thursday, March 31, 2022 12:59:09 PM


 Hi Jeff

 Yes, the below email accurately represent our telephone discussion.
 Thanks

 Amelia


        On Mar 31, 2022, at 11:51 AM, Professor Jeff Sedlik <expert@sedlik.com>
        wrote:

        Thanks Amelia!

        Below are my notes from our call, in narrative form.


                         [W]hen someone sees a picture I’ve taken of Merle Haggard
                         or Alice Walker, I think what they see is the subject in
                         the photograph and not a ‘Jim Marshall’ signature
                         piece … [W]hen you see my pictures it’s about the
                         person in the photograph, not me — not the guy
                         behind the lens.

               Amelia Davis worked closely with Mr. Marshall for many years,
               assisting Mr. Marshall and running his business operations. She is
               the author or co-author of several of Mr. Marshall’s books. Ms.
               Davis now owns and runs the Jim Marshall estate. I am in regular
               communication with Ms. Davis. I contacted Ms. Davis and asked
               her if Ms. Miller’s quote could be correctly interpreted as a
               statement indicating that the value of a photograph of a celebrity
               arises from the celebrity, not the photographer’s creative
               expression. Ms. Davis advised that Ms. Miller truncated the quote
               and used it out of context, and that the statement should be
               interpreted to mean that when Mr. Marshall — a master
               photographer and a legend in the photography community — was
               successful in applying his artistic skills to create original expression
               in a portrait, the photographer’s efforts would be transparent to a
               viewer of the resulting photograph. In other words, the Marshall
               quote chosen by Ms. Miller disproves her opinions, as it is the
               photographer, not the celebrity, who achieves the goal of creating
               a successful photograph.

               In the reference to the book from which Ms. Miller quoted, musician
               Carlos Santana wrote of Jim Marshall:

                         In the same way that you can't separate John Coltrane or
                         Miles Davis from their music, you can't separate Jim

                                                                                    Exh B: Page 1
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                          Marshall from his photographs. He captures the soul of each
                          musician and immortalizes us in liquid light.

      ----
      Can you please respond to confirm that my notes accurately represent our
      telephone discussion. Please advise of any incorrect information or revisions
      needed.

      Thanks Again!
      Jeff



      From: AMELIA DAVIS <ameliadavis1@mac.com>
      Sent: Thursday, March 31, 2022 11:35 AM
      To: Jeffrey Sedlik <jeffsedlik@gmail.com>
      Subject: Re: Jim Marshall quote

      Hi Jeff

      I just found two more paragraphs from “Not Fade Away” Forward by Michael Douglas
      that are very relevant. Here they are below.

      Amelia

      “Jim’s pictures of the music makers are extraordinary for many reasons. as a human
      being and an artist, he has never shied away from honesty. his style is very “in your
      face," and yet he inspires trust and confidence in the people he photographs, and the
      shared intimacy is caught in the millisecond. And there it is forever.

      There’s a quality to Marshall’s work that encapsulates an essence of “Hey, baby, we’re
      all in this together. Let's try to look after one another.” His images are at once larger
      than life and yet private and off-guard. His photographs genuinely remind us that the
      performers are human and, in many cases, lonely wanderers. Whether it is a glimpse of
      Carlos Santana meditating on a guitar riff in the middle of a Cinco de Mayo crowd, or
      Janis Joplin alone backstage, Jim always manages to capture the vulnerability of the
      performer."



                On Mar 27, 2022, at 11:09 AM, AMELIA DAVIS <ameliadavis1@mac.com>
                wrote:

                Hi Jeff

                Thank you for the call.


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           The opposing counsel has taken a quote from Jim Marshall out of context
           from Jim’s book, “ Not Fade Away”. Please see the whole quote below
           from his Introduction.

           “I like to photograph people when they’re doing what they do best. I think
           a few times I’ve acted like the asshole superstar photographer and lost
           some gigs and clients. But when someone sees a picture I’ve taken of
           Merle Haggard or Alice Walker, I think what they see is the subject in the
           photograph and not a “Jim Marshall” signature piece. I think my style is
           that I don’t have a style—I never do anything the same twice. When you
           see my pictures, its about the person in the photograph, not me—not the
           guy behind the lens. I want someone to see those people, not my picture
           of them. When I’m able to capture the essence of my subject and show
           something of what they do or reveal who this person is, then I've achieved
           what I want to do. It's such an elusive thing, and sometimes I feel like a
           sniper waiting for that shot or moment to happen. It's the same discipline
           —steady, aim, focus, squeeze done jerk. Ive never had any formal
           training, and I don’t like theatrics in photography, but I've asked a lot of
           questions from other photographers like Joe Rosenthal, Jerry Stoll, Peter
           Breinig—a lot of guys. I'm not afraid to ask when I don’t know, and I’ve
           made a lot of mistakes.”

           Thank you.

           Amelia



           AMELIA DAVIS
           Jim Marshall Photography LLC
           www.jimmarshallphotographyllc.com
           ameliadavis1@mac.com

           Follow us on Instagram, Facebook
           Twitter

           <PastedGraphic-6.tiff>




                                                                                          Exh B: Page 3
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                                  #:5895

 From:              Bob Gruen
 To:                expert@sedlik.com
 Subject:           Re: Confirming our telephone discussion
 Date:              Thursday, March 31, 2022 12:53:20 PM


 yes, this is an accurate representation of my call....
 thanks
 Bob

 Bob Gruen Studio
 55 Bethune Street - A202
 New York, NY 10014
 212 691 0391
 bobgruen01@aol.com


 -----Original Message-----
 From: Professor Jeff Sedlik <expert@sedlik.com>
 To: bobgruen01@aol.com
 Sent: Thu, Mar 31, 2022 3:48 pm
 Subject: Confirming our telephone discussion

 ~~~
 Hi Bob, thanks for the call. Great catching up!

 Here is the quote discussed

 …he is “one of the most well-known and respected photographers in Rock and Roll” and that
 “[b]y the mid ‘70s he was already regarded as one of the foremost documenters of the
 scene…”

 And here are my notes from my call with you, in narrative form:

 ----
 I contacted Mr. Gruen to ask if Ms. Miller’s quote should be understood to indicate that Mr.
 Gruen merely “documented” scenes that he encountered through the decades. Mr. Gruen
 explained that Ms. Miller’s interpretation is incorrect, and that in Mr. Gruen’s view, he — as
 the photographer — creates the original expression and value in the photograph through
 myriad subjective creative decisions. He explained that the value of a photograph arises from
 the photographer’s expression of the celebrity, and not from the fact that a celebrity is
 depicted in the photograph. He further explained that the text on the website (which was
 written by his publicist) should not be interpreted to indicate that Mr. Gruen merely recorded
 the scene, but should instead be interpreted to mean that Mr. Gruen is a visual storyteller and
 that collectively his photographs — each of which result from his substantial original
 expression — tell the story of our times.

 ----


                                                                                      Exh B: Page 4
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 Can you please respond to confirm that my notes accurately represent our telephone
 discussion. Please advise of any incorrect information or revisions needed.

 Thanks Again Bob!
 Jeff
 213 716 6627




                                                                                  Exh B: Page 5
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                                  #:5897

 From:            Henry Diltz
 To:              expert@sedlik.com
 Subject:         Re: confirming phone discussion
 Date:            Thursday, March 31, 2022 1:48:25 PM


 Hello Jeff,

 The notes you sent me from our phone call represent exactly what I said and reflect accurately
 my views.

 Henry Diltz


        On Mar 31, 2022, at 1:02 PM, Professor Jeff Sedlik <expert@sedlik.com> wrote:



        Hi Henry, thanks for the call.




        Here is the quote discussed




                        Mr. Diltz is “an extraordinary rock n’ roll
                        photographer unlike any other,” “a visual historian
                        of the last four decades of popular music,” and that
                        he has “generat[ed] new and vibrant photographs
                        that inspire the rock n’ roll fan in each of us.”

        And here are my notes from our call, in narrative form.

               I contacted Mr. Diltz and asked him about Ms. Miller’s
               quote, which is not attributed to him on the gallery
               website. I asked Mr. Diltz if he considers himself to be a
               visual historian. Mr. Diltz explained that a truly successful
               photograph can create history, and that rather than merely
               memorializing a person or scene, he interacts with his
               subject to create a visual moment that would not have
               otherwise existed, then exercises his artistic skills to create
               original expression. Mr. Diltz explained that even where
               two photographers stand shoulder to shoulder while
               creating photographs of a celebrity, their respective
               creations can be – and often are – substantially different,
               resulting from each photographer’s original expression and
               desired creative outcome. Mr. Diltz emphasized to me that
               the value of a photograph is derived from and determined

                                                                                      Exh B: Page 6
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                                  #:5898

             by the photographer’s creative approach in depicting the
             subject and scene, and not from the subject (celebrity or
             otherwise) depicted in a photograph.




      Can you please respond to confirm that my notes accurately represent our
      telephone discussion. Please advise of any incorrect information or revisions
      needed.




      Thanks Again Henry

      Jeff

      ~~~




                                                                                      Exh B: Page 7
Case 2:21-cv-04848-PA-KS Document 157 Filed 06/17/22 Page 132 of 154 Page ID
                                  #:5899

 From:            Timothy White
 To:              expert@sedlik.com
 Subject:         Re: Confirming discussion
 Date:            Thursday, March 31, 2022 2:42:10 PM


 Confirmed. This quote is from our conversation.

 Sent from my iPhone


        On Mar 31, 2022, at 2:41 PM, Professor Jeff Sedlik <expert@sedlik.com> wrote:



        Hi Timothy, thanks for the call.

        Here are my notes from my call with you, in narrative form:

        ----

               I then contacted Timothy White, celebrity photographer
               and co-owner of the Morrison Hotel Gallery with Mr. Diltz
               and others. I asked Mr. White for his view (as a leading
               gallerist) on the photographs of Mr. Marshall, Mr. Gruen,
               Mr. Diltz and Mr. Mannion. Mr. White explained that, in his
               view, the value of the work of all four photographers — as
               well as Mr. White’s own photographs — arises from the
               creative expression of the photographer, not from the
               person depicted in the photograph. He explained that
               every photograph of a celebrity is unique to the
               photographer and that the photographer’s vision shapes
               the creative result. Mr. White also confirmed that Mr.
               Mannion is a renowned and respected photographer, and
               advised that based on the high quality of Mr. Mannion’s
               works, he expects the value of those works to appreciate
               considerably over time.

        ----
        Can you please respond to confirm that my notes accurately represent our
        telephone discussion. Please advise of any incorrect information or revisions
        needed.

        Thanks Again,
        Jeff
        ~~~
        213 716 6627


                                                                                        Exh B: Page 8
Case 2:21-cv-04848-PA-KS Document 157 Filed 06/17/22 Page 133 of 154 Page ID
                                  #:5900




                      Exhibit D
    Excerpts from the March 7, 2022 Deposition
                 of Kareem Burke
Case 2:21-cv-04848-PA-KS Document 157 Filed 06/17/22 Page 134 of 154 Page ID
                                  #:5901

1                       UNITED STATES DISTRICT COURT
2                       FOR THE DISTRICT OF CALIFORNIA
 3
 4
 5
                                               )
 6     SHAWN CARTER,        also known )
       as JAY-Z,                       )
 7                                             )
                      Pl aintiff,              )
 8                                             )
           vs.                                 )   Civil Action No.
 9                                             )   2:21-cv-04848-PA-KS
       JONATHAN MANNION,                       )
10     et al. ,

11                    Defendants.

12
13
14
15                 VIDEOTAPED DEPOSITION OF KAREEM BURKE
16                         Monday, M arch 7, 2022
17                               Volume II
18
19
20
21
22     Reported by:
       LORI M. BARKLEY
23     CSR No. 6426
24     Job No. 5104651
25     PAGES 191 - 225

                                                                 Page 1

                               Veritext Legal Solutions
                                    866 299-5127
Case 2:21-cv-04848-PA-KS Document 157 Filed 06/17/22 Page 135 of 154 Page ID
                                  #:5902

 1     everyone else can see.                                      09:14:58

 2              MR. STRUBLE:     Yes.   Let's just do a screen     09:14:59

 3     share, that will be quicker.                                09:15:01

 4              And what exhibit number is it, Dylan?              09:15:02

 5              MR. BONFIGLI:     24.                              09:15:04

 6              MR. STRUBLE:    All right.      So I am            09:15:05

 7     introducing an exhibit previously marked as                 09:15:10

 8     Exhibit 24, which is the complaint in this action.          09:15:12

 9     And Dylan will pull it up on screen and navigate to         09:15:19

10     the photo, this photo.                                      09:15:25

11         Q.   So you recognize this photo as one of the          09:15:41

12     photos taken during the photo shoot for Reasonable          09:15:43

13     Doubt, correct?                                             09:15:46

14         A.   Yes.                                               09:15:46

15         Q.   All right.     Who is responsible for selecting    09:15:49

16     the clothing that Mr. Carter wore at the Reasonable         09:15:50

17     Doubt photo shoot?                                          09:15:54

18         A.   I mean, I think he -- he picked out his            09:15:56

19     clothes, but I took them shopping to a store, one of        09:15:59

20     my favorite stores, to get all the clothes, so              09:16:03

21     Take 6, I believe it's closed down now.         It was on   09:16:07

22     First Avenue and 60 something street, but I took them       09:16:11

23     there to get all the clothes.      I still have the hat,    09:16:15

24     my hat from the photo shoot.                                09:16:18

25         Q.   When you responded "he picked out the              09:16:24

                                                                   Page 12

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                                  #:5903

 1     clothes," were you referring to --                             09:16:25

 2           A.     Jay-Z, Jay-Z picked out his own clothes for       09:16:27

 3     it, but I took them to the store.           So I would have    09:16:30

 4     picked out my suit.        I'm sure Jay would have picked      09:16:32

 5     out his own, and Dame would have picked out his own            09:16:35

 6     as well.                                                       09:16:41

 7           Q.    And when you referenced still having the           09:16:44

 8     hat, are you referring to the hat that's in the photo          09:16:45

 9     that we're looking at here in Exhibit 24?                      09:16:47

10           A.    No.     The hat that I wore at the photo shoot.    09:16:49

11           Q.     I see.                                            09:16:54

12                  What kind of store was Take 6?                    09:16:55

13           A.     It might have been appointment only, but it       09:17:02

14     was        it was a luxury store that made suits.              09:17:06

15           Q.    And I think you referenced going to Take 6         09:17:12

16     with them --                                                   09:17:14

17           A.     Jay-Z -- I'm sorry.     Cut you off.              09:17:16

18                  Jay-Z and Damon.                                  09:17:17

19           Q.     Was Mr. Mannion with you when you all went        09:17:29

20     to Take 6?                                                     09:17:32

21           A.     I don't remember that.      He could have been,   09:17:34

22     but I don't believe          I don't know.                     09:17:36

23           Q.     Do you see in the photo in Exhibit 24 that        09:17:46

24     Mr. Carter is wearing a pinky ring?                            09:17:49

25           A.     Yes.                                              09:17:51

                                                                      Page 13

                                     Veritext Legal Solutions
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Case 2:21-cv-04848-PA-KS Document 157 Filed 06/17/22 Page 137 of 154 Page ID
                                  #:5904

 1         Q.   What do you know about that pinky ring?          09:17:54

 2         A.    I designed it.                                  09:17:57

 3         Q.   Were you a jewelry designer at the time?         09:18:00

 4         A.   No.    But I designed all the jewelry that we    09:18:03

 5     wore around that time, the bracelets, rings, might        09:18:06

 6     have been a chain.                                        09:18:17

 7         Q.   Did Mr. Mannion have any involvement in          09:18:17

 8     designing that pinky ring?                                09:18:19

 9         A.   No, not at all.                                  09:18:21

10         Q.   And so the suit that Mr. Carter is wearing       09:18:27

11     in this photo, is that a suit that would have been        09:18:34

12     purchased at Take 6?                                      09:18:37

13         A.   Yes.                                             09:18:38

14         Q.    Earlier I asked you if Mr. Mannion was with     09:18:54

15     you when you all went to Take 6 and you responded         09:18:56

16     along the lines of:    I don't remember him being         09:18:59

17     there.   He could have been, but I don't believe -- I     09:19:01

18     don't know.                                               09:19:05

19               I want to clarify your answer.        Is it     09:19:05

20     correct that you have no memory of Mr. Mannion being      09:19:07

21     present with you, Damon Dash, and Jay-Z at Take 6 to      09:19:11

22     purchase clothes for the Reasonable                       09:19:15

23         A.   Yes, I have no memory.                           09:19:17

24         Q.   You have no memory of him being there?           09:19:21

25         A.   No memory of him.                                09:19:23

                                                                  Page 14

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Case 2:21-cv-04848-PA-KS Document 157 Filed 06/17/22 Page 138 of 154 Page ID
                                  #:5905

 1     photograph and the document there.                         09:21:52

 2         A.   Yes.                                              09:21:55

 3         Q.   Do you recognize that photo?                      09:21:57

 4         A.   Yeah.                                             09:21:59

 5         Q.   Okay.    Was this photo taken in connection       09:22:00

 6     with the Reasonable Doubt photo shoot?                     09:22:03

 7         A.   Yes.                                              09:22:08

 8         Q.   Do you see that there is a -- do you              09:22:08

 9     recognize the individuals in this photo?                   09:22:13

10         A.   Yes.                                              09:22:19

11         Q.   Who are they?                                     09:22:19

12         A.   Myself and Damon Dash.                            09:22:20

13         Q.   Okay.    And you see a pile of cash in that       09:22:23

14     photo?                                                     09:22:27

15         A.   Yes.                                              09:22:28

16         Q.   To whom -- I'm sorry.                             09:22:33

17              Whom did that cash belong?                        09:22:34

18         A.   To us.                                            09:22:39

19         Q.   Okay.    That was your cash that you had at       09:22:39

20     the photo shoot that day?                                  09:22:41

21         A.   Yeah.                                             09:22:42

22         Q.   Do you remember whose idea it was to take a       09:22:45

23     photo with the pile of cash?                               09:22:46

24         A.   Damon.                                            09:22:49

25              MR. STRUBLE:    Okay.   Let's look at the other   09:23:02

                                                                  Page 16

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Case 2:21-cv-04848-PA-KS Document 157 Filed 06/17/22 Page 139 of 154 Page ID
                                  #:5906

 1                      I declare under penalty of
2                   perjury under the laws of the State
3                   of California that the foregoing is
 4                  true and correct.
 5                       Executed on _____________, 2022, at
6
 7

8
 9

10
11                            SIGNATURE OF WITNESS
12
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                                                              Page 221

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Case 2:21-cv-04848-PA-KS Document 157 Filed 06/17/22 Page 140 of 154 Page ID
                                  #:5907

 1     STATE OF CALIFORNIA                  ss.
 2     COUNTY OF LOS ANGELES
 3
 4                 I, Lori M. Barkley, CSR No. 6426, do hereby
 5     certify:
 6                 That the foregoing deposition testimony
 7     taken before me at the time and place therein set
 8     forth and at which time the witness was administered
 9     the oath;
10                 That the testimony of the witness and all
11     objections made by counsel at the time of the
12     examination were recorded stenographically by me, and
13     were thereafter transcribed under my direction and
14     supervision, and that the foregoing pages contain a
15     full, true and accurate record of all proceedings and
16     testimony to the best of my skill and ability.
17                 I further certify that I am neither counsel
18     for any party to said action, nor am I related to any
19     party to said action, nor am I in any way interested
20     in the outcome thereof.
21                 IN WITNESS WHEREOF, I have subscribed my
22     name this 10th day of March, 2022.
23
24
25                   LORI M. BARKLEY, CSR No. 6426

                                                              Page 222
                               Veritext Legal Solutions
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Case 2:21-cv-04848-PA-KS Document 157 Filed 06/17/22 Page 141 of 154 Page ID
                                  #:5908




                      Exhibit E
            Excerpts from the March 13, 2022
             Deposition of Jonathan Mannion
Case 2:21-cv-04848-PA-KS Document 157 Filed 06/17/22 Page 142 of 154 Page ID
              CONFIDENTIAL UNDER #:5909
                                   THE TERMS OF PROTECTIVE ORDER

1      **CONFIDENTIAL UNDER THE TERMS OF PROTECTIVE ORDER**
2
                        UNITED STATES DISTRICT COURT
 3
                      FOR THE DISTRICT OF CALIFORNIA
 4
 5
 6
                                          )
 7     SHAWN CARTER, also known )
       as JAY-Z,                )
 8                                        )
                    Plaintiff,            )
 9                                        )
           vs.                            )   Civil Action No.
10                                            2:21-cv-04848-PA-KS
       JONATHAN MANNION,                  )
11     et al.,
                                          )
12                  Defendants.
                                          )
13
14
15
16             VIDEOTAPED DEPOSITION OF JONATHAN MANNION
17                      Jersey City, New Jersey
18                      Sunday, March 13, 2022
19                             Volume I
20
21
22     Reported by:
       LORI M. BARKLEY
23     CSR No. 6426
24     Job No. 5131261
25     PAGES 1 - 300

                                                                 Page 1

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                                    866 299-5127
Case 2:21-cv-04848-PA-KS Document 157 Filed 06/17/22 Page 143 of 154 Page ID
              CONFIDENTIAL UNDER #:5910
                                   THE TERMS OF PROTECTIVE ORDER

 1     circle of family and friends?                                12:55:12

 2         A.      I would.                                         12:55:14

 3         Q.      Okay.    Do you think people would buy it with   12:55:14

 4     the same frequency if it were not of Jay-Zbut were           12:55:15

 5     of just this alter ego unknown person who works in a         12:55:19

 6     clothing store in Brooklyn?                                  12:55:25

 7         A.      It's hard to tell.      I think, you know,       12:55:29

 8     people have different         sorry.     People have         12:55:33

 9     different ways that they enjoy photographs, right.           12:55:40

10     Some take it purely just because it's a gorgeous             12:55:42

11     photograph.                                                  12:55:45

12                 So I think there's a percentage that would       12:55:46

13     absolutely buy this image if it was some guy from a          12:55:48

14     Brooklyn clothing store.       You know --                   12:55:52

15         Q.      Not my question, though, that was not my         12:55:55

16     question.                                                    12:55:58

17                 Would they buy it with the same frequency        12:55:58

18     that they buy it because it's Jay-Z?                         12:56:00

19         A.      Maybe.                                           12:56:04

20         Q.      The image of Jay-Zin the Jay-Z Reasonable        12:56:07

21     Doubt album cover photo that we're looking at here,          12:56:18

22     that's Jay-Zin the photo, right?                             12:56:24

23         A.      It is Jay-Zin the photo.                         12:56:26

24         Q.      And that's what he looked like when he was       12:56:30

25     standing in front of your camera, correct?                   12:56:33

                                                                Page 196

                                 Veritext Legal Solutions
                                      866 299-5127
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              CONFIDENTIAL UNDER #:5911
                                   THE TERMS OF PROTECTIVE ORDER

1             A.   It feels like an odd question, but yes, that         12:56:39

2      is -- that is what was in front of my lens after                 12:56:42

3      guidance was given to him of how to present himself.             12:56:46

4             Q.   Right --                                             12:56:49

5             A.   And he oddly didn't like, so -- but yes,             12:56:50

6      that's what he looked like in front of my lens.                  12:56:53

7                  MR. SCHWARTZ:   Okay.     Let's take a look at,      12:56:56

8      Dylan, if we could go to tab 67.         I'm sorry, tab 66.      12:57:21

9                  Oh, you know what?      I think -- yeah.   I         12:57:25

10     apologize.     We can just scroll -- maybe we can,               12:57:28

11     tab 66, I think it's Exhibit 60, apologies.                      12:57:31

12                 MR. BONFIGLI:   So tab 66 is what you want?          12:57:45

13                 MR. SCHWARTZ:   Correct.     I think it's part       12:57:47

14     of -- it was previously marked as Exhibit                        12:57:48

15                 MR. BONFIGLI:   Yeah.     We already had it,         12:57:51

16     yes.                                                             12:57:53

17                 MR. SCHWARTZ:   Sorry about that.                    12:57:53

18                 MR. BONFIGLI:   I'm tracking it now.                 12:57:54

19                 (Technology discussion.)                             12:58:21

20                 MR. SCHWARTZ:   I guess it's the complaint,          12:58:30

21     is that Exhibit 24?     I just really wanted you to go           12:58:31

22     back to the complaint and go to the next page.         There     12:58:35

23     we go.                                                           12:58:37

24            Q.   See the image of Jay-Z Beyond a Reasonable           12:58:39

25     Doubt at the top of this page?                                   12:58:41

                                                                     Page 197

                                Veritext Legal Solutions
                                     866 299-5127
Case 2:21-cv-04848-PA-KS Document 157 Filed 06/17/22 Page 145 of 154 Page ID
              CONFIDENTIAL UNDER #:5912
                                   THE TERMS OF PROTECTIVE ORDER

 1         A.    I do.                                              12:58:43

 2         Q.    And this -- the person in that photograph is       12:58:43

 3     Jay-Z, right?                                                12:58:49

 4         A.    Yes, it is.                                        12:58:52

 5         Q.    And that's what he looked like when he stood       12:58:53

 6     in front of your camera and you took his photograph,         12:58:56

 7     right?                                                       12:58:59

 8         A.    Again, I think it dumbs it down, yes, that         12:59:01

 9     is what he looked like.       But, you know, the posing      12:59:04

10     composition and all that, you know, it's fair that           12:59:06

11     it's more complex than, yes, this is the person in           12:59:09

12     front of my lens.    Yes, this is what I captured in         12:59:13

13     front of my lens.                                            12:59:17

14         Q.    Right.                                             12:59:18

15               And you have not digitally or physically           12:59:18

16     altered Jay-Z's image, or I should say, you did not          12:59:21

17     digitally or physically alter the appearance or -- of        12:59:26

18     Jay-Z's image in this photograph, did you?                   12:59:31

19         A.    I did actually.                                    12:59:34

20         Q.    In what ways?                                      12:59:35

21         A.    He had a small blemish on his cheek that I         12:59:39

22     thought would be more flattering if it was removed.          12:59:42

23         Q.    Other than removing the small blemish on his       12:59:46

24     cheek, you have not otherwise digitally or physically        12:59:48

25     altered this image, correct?                                 12:59:53

                                                                 Page 198

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-04848-PA-KS Document 157 Filed 06/17/22 Page 146 of 154 Page ID
              CONFIDENTIAL UNDER #:5913
                                   THE TERMS OF PROTECTIVE ORDER

 1            A.      January 8, 1999, yeah.        You have a larger      13:14:53

 2     image than I do.                                                    13:14:59

 3            Q.     And that's the -- that's the photograph or a          13:15:00

 4     photograph, I should say, of Jay-Z that you took?                   13:15:04

 5            A.      It is.                                               13:15:07

 6            Q.     And this is, you sell prints of this                  13:15:08

 7     photograph on your website, correct?                                13:15:12

 8            A.     Yeah.                                                 13:15:14

 9            Q.     And it says Jay-Z above his left shoulder,            13:15:16

10     or whatever, left arm, correct?                                     13:15:21

11            A.      It does.                                             13:15:24

12            Q.     And when you took this photograph, this is            13:15:25

13     what Jay-Z looked like when he stood in front of your               13:15:27

14     camera, correct?                                                    13:15:31

15            A.     Definitely.                                           13:15:33

16            Q.     And it's a depiction, a literal depiction of          13:15:35

17     Mr. Carter as he appeared at the time you took the                  13:15:42

18     photo, right?                                                       13:15:45

19            A.      If you dumb it down to that, I would say             13:15:52

20     yes.        But certainly there's a lot more photographic           13:15:56

21     considerations that I would offer happening in order                13:15:59

22     for this image to be achieved, but this is what he                  13:16:04

23     looked like in front of my lens.                                    13:16:07

24            Q.     Got it, okay.      Thank you.                         13:16:09

25                   And when you were hired for the photo shoot           13:16:10

                                                                        Page 209

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                                          866 299-5127
Case 2:21-cv-04848-PA-KS Document 157 Filed 06/17/22 Page 147 of 154 Page ID
               CONFIDENTIAL UNDER #:5914
                                   THE TERMS OF PROTECTIVE ORDER

 1     bottle, correct?                                                   13:35:31

 2           A.   He does.                                                13:35:32

 3           Q.   Do you know anything about any of the kids              13:35:33

 4     that are surrounding him in the photograph?                        13:35:36

 5           A.   So they were kids that were -- when we did              13:35:40

 6     the photo shoot for In My Lifetime Vl, those kids                  13:35:46

 7     were around.       I believe some of them are actually his         13:35:50

 8     nephews or sons of perhaps some of his friends.                    13:35:53

 9                So some might have just been kids that were             13:36:00

10     just hanging about, and then the others I think were               13:36:03

11     known by Jay's crew.                                               13:36:07

12           Q.   That's all I have on this.          Actually hang       13:36:18

13     on.    The image that we see in this photo of Jay-Z,               13:36:21

14     that's his image, right?                                           13:36:25

15           A.   Jay-Z appears in this image.          That is what      13:36:29

16     he looked like when he was in front of my lens, but                13:36:32

17     certainly there's plenty of considerations that make               13:36:35

18     this image a special one beyond his presence.                      13:36:38

19           Q.   Now, you were involved at an event that took            13:36:45

20     place at the Prophecy gallery that celebrated one of               13:36:51

21     the anniversaries of the release of Reasonable Doubt,              13:36:54

22     correct?                                                           13:36:57

23           A.   Yeah.     I put on that event.                          13:37:06

24           Q.   And that event was in 2016, correct?                    13:37:07

25           A.   That's correct.     To celebrate his 20-year            13:37:10

                                                                       Page 215

                                 Veritext Legal Solutions
                                      866 299-5127
Case 2:21-cv-04848-PA-KS Document 157 Filed 06/17/22 Page 148 of 154 Page ID
              CONFIDENTIAL UNDER #:5915
                                   THE TERMS OF PROTECTIVE ORDER

1                       I declare under penalty of
2                   perjury under the laws of the State
3                   of California that the foregoing is
 4                  true and correct.
 5                       Executed on _____________, 2022, at
6
 7

8
 9

10
11                            SIGNATURE OF WITNESS
12
13
14
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25

                                                              Page 296
                               Veritext Legal Solutions
                                    866 299-5127
Case 2:21-cv-04848-PA-KS Document 157 Filed 06/17/22 Page 149 of 154 Page ID
              CONFIDENTIAL UNDER #:5916
                                   THE TERMS OF PROTECTIVE ORDER

 1     STATE OF CALIFORNIA                  ss.
 2     COUNTY OF LOS ANGELES
 3
 4                 I, Lori M. Barkley, CSR No. 6426, do hereby
 5     certify:
 6                 That the foregoing deposition testimony
 7     taken before me at the time and place therein set
 8     forth and at which time the witness was administered
 9     the oath;
10                 That the testimony of the witness and all
11     objections made by counsel at the time of the
12     examination were recorded stenographically by me, and
13     were thereafter transcribed under my direction and
14     supervision, and that the foregoing pages contain a
15     full, true and accurate record of all proceedings and
16     testimony to the best of my skill and ability.
17                 I further certify that I am neither counsel
18     for any party to said action, nor am I related to any
19     party to said action, nor am I in any way interested
20     in the outcome thereof.
21                 IN WITNESS WHEREOF, I have subscribed my
22     name this 15th day of March, 2022.
23
24


25                 LORI M. BARKLEY, CSR No. 6426

                                                              Page 297
                               Veritext Legal Solutions
                                    866 299-5127
Case 2:21-cv-04848-PA-KS Document 157 Filed 06/17/22 Page 150 of 154 Page ID
                                  #:5917




                      Exhibit F
             Excerpts from the March 4, 2022
               Deposition of Shawn Carter
Case 2:21-cv-04848-PA-KS Document 157 Filed 06/17/22 Page 151 of 154 Page ID
                                CONFIDENTIAL
                                  #:5918

 1                  UNITED STATES DISTRICT COURT
 2                CENTRAL DISTRICT OF CALIFORNIA
 3
 4


 5     SHAWN CARTER, also known as
       JAY-Z, an individual,
 6
                  Plaintiff,
 7                                            Case No. 2:21-cv-04848-PA-KS
            vs.
 8

       JONATHAN MANNION, an
 9     individual, and JONATHAN
       MANNION PHOTOGRAPHY LLC, a
10     New York limited liability
       company,
11
                  Defendants.
12
13
14
15                        ** CONFIDENTIAL **
16                REMOTE VIDEOTAPED DEPOSITION OF
17                          SHAWN C. CARTER
18                       Friday, March 4, 2022
19                              Volume I
20
21
22     Reported by:
       NADIA NEWHART
23     CSR No. 8714
24     Job No. 5107613
25     PAGES 1 - 222

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 1     tough question to ask me.

 2        Q    This is a photo of you, correct?

 3        A    Yes, yes.

 4        Q   And this photo appears on Ms. Kwon website?

 5        A    I don't know.   I've never been to Ms. Kwon's           08:15:18

 6     website.

 7        Q   Are you generally aware that it's common for

 8     photographers to use photographs they took on their

 9     websites?

10        A    I don't know what photographers do.        I'm not      08:15:31

11     a photographer.

12        Q    Do you have any awareness of how

13     photographers use photographs that they took in

14     terms of promoting themselves?

15        A    Promoting themselves with your photos?                  08:15:45

16        Q    Yes.   Do you have awareness of how

17     photographers typically use photographs of

18     themselves to promote their work?

19        A    I don't know what they typically do.        I don't

20     know what -- I can't say whether -- I'm not an                  08:15:55

21     expert to say what a photographer typically does.

22        Q   Are you aware that photographers use

23     photographs of you on their websites?

24        A    I'm not.

25        Q    Do you know who owns the copyrights of this             08:16:17

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 1
 2
 3
 4                 I, SHAWN C. CARTER, do hereby declare under
 5     penalty of perjury that I have read the foregoing
 6     transcript; that I have made any corrections as
 7     appear noted, in ink, initialed by me, or attached
 8     hereto; that my testimony as contained herein, as
 9     corrected, is true and correct.
10                 EXECUTED this                day of
11     20 -- t at
                                  (City)                      (State)
12
13
14
15
                         SHAWN C. CARTER
16                       Volume I
17
18
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 1                 I, the undersigned, a Certified Shorthand
 2     Reporter of the State of California, do hereby
 3     certify:
 4           That the foregoing proceedings were taken
 5     before me at the time and place herein set forth;
 6     that any witnesses in the foregoing proceedings,
 7     prior to testifying, were administered an oath; that
 8     a record of the proceedings was made by me using
 9     machine shorthand which was thereafter transcribed
10     under my direction; that the foregoing transcript is
11     a true record of the testimony given.
12          Further, that if the foregoing pertains to the
13     original transcript of a deposition in a Federal
14     Case, before completion of the proceedings, review
15     of the transcript [] was [] was not requested.
16           I further certify that I am neither financially
17     interested in the action nor a relative or employee
18     of any attorney or any party to this action.
19         IN WITNESS WHEREOF, I have this date subscribed
20     my name.
21

22     Dated: March 5, 2022
23
24

                NADIA NEWHART
25              CSR NO. 8714

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